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               EXHIBIT 11
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NO.     X06-UWY-CV-XX-XXXXXXX-S               :       SUPERIOR COURT

ERICA LAFFERTY, ET AL.                        :       COMPLEX LITIGATION DOCKET

V.                                            :       AT WATERBURY

ALEX EMRIC JONES, ET AL.            :     AUGUST 24, 2021
____________________________________________________________________________

NO.     X-06-UWY-CV18-6046437-S               :       SUPERIOR COURT

WILLIAM SHERLACH                              :       COMPLEX LITIGATION DOCKET

V.                                            :       AT WATERBURY

ALEX EMRIC JONES, ET AL.            :     AUGUST 24, 2021
_____________________________________________________________________________

NO.     X06-UWY-CV-XX-XXXXXXX-S               :       SUPERIOR COURT

WILLIAM SHERLACH, ET AL.                      :       COMPLEX LITIGATION DOCKET

V.                                            :       AT WATERBURY

ALEX EMRIC JONES, ET AL.                      :       AUGUST 24, 2021

                        MOTION FOR SANCTIONS BASED ON
                  THE JONES DEFENDANTS’ FAILURE TO PRODUCE
                  WEB AND SOCIAL MEDIA DATA AND ANALYTICS

        “An order of the court must be obeyed until it has been modified or successfully challenged,

and the consequences for noncompliance may be severe indeed.” Lafferty v. Jones, 336 Conn. 332,

381 (2020) (quoting Fox v. First Bank, 198 Conn. 34, 40 n.3 (1985)), cert. denied, 2021 WL

1240941 (U.S. Apr. 5, 2021). For two and a half years, the Jones defendants have been under a

court order to produce sales, marketing, and web-analytics data, including Google Analytics data.

The Court set a “final” deadline for production of the “already overdue supplemental compliance”

for June 28, 2021. Order, Dkt. 348.10, June 2, 2021. It expressly warned that “[f]ailure to comply

with this order may result in sanctions including but not limited to a default.” Id. The Jones



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defendants violated that order and did so based on inaccurate and incomplete representations

concerning the supposed difficulty of producing the requested information.

       In addition, for more than two and a half years, the Jones defendants have been under a

court order to produce all communications or documents concerning social media marketing and

analytics. For years, they represented that they possessed none. The deposition of

                                   came and went. Then, during a




       This conduct continues the pattern of “continuing misconduct” that “demonstrates a

deliberate disregard for the court’s orders.” Lafferty, 336 Conn. at 380–81 (quoting approvingly

Emerick v. Town of Glastonbury, 177 Conn. App. 701, 737 (2017)’s justification for affirming a

sanction of dismissal). The Jones defendants’ noncompliance is prejudicial and requires the entry

of the most serious possible sanction.

I.    FACTUAL AND PROCEDURAL BACKGROUND

       A. The Orders Requiring the Jones Defendants to Produce Web and Social Media
          Marketing and Analytics Data and the Jones Defendants’ Previous Refusal to
          Produce Them

       More than two and a half years ago, this Court ordered the Jones defendants to produce

materials responsive to the plaintiffs’ Requests for Production Nos. 15, 16, and 17, which covered

marketing, sales, and web-analytics data. Order, Dkt. 148.00, Jan. 10, 2019; Defs.’ Obj. to

Plaintiffs’ Rev. Disc. Requests, Dkt. 146.00, Jan 9, 2019.

       The Court specifically addressed the Jones defendants’ nonproduction of Google or other

web analytics data on March 22, 2019. Ex. A, 3/22/19 Hrg. Tr. 19. After addressing it repeatedly

with no result, it finally held that the “print out produced in response to production requests 15-17



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is simply not full and fair compliance.” Order, 255.10, June 10, 2019. It found that court-ordered

“depositions confirm[ed] that the Google Analytics account is accessed and utilized by some

employees of the defendants.” Id. It warned that it would “consider appropriate sanctions for the

defendants’ failure to fully and fairly comply should they not produce the data within one week.”

Id.

        They did not produce it. The Court sanctioned the Jones defendants for failure to produce

that data, and for “repeatedly ignored court deadlines and continued to challenge the underlying

merits of discovery, even after the court found the requisite good cause to allow discovery.”

Lafferty, 336 Conn. at 376. Based on this pattern of “obfuscation and delay,” including on the

discovery of web analytics, and other litigation misconduct, this Court imposed sanctions. Id.

Those sanctions were affirmed by the Supreme Court. Id.

        Even after sanctions were affirmed, the Jones defendants did not produce in response to

the Court’s orders. After contacting the Jones defendants’ counsel requesting compliance with the

long-outstanding discovery—and receiving no response—the plaintiffs moved re-compel it yet

again. Mot. to Re-Compel Compliance, Dkt. 309.00, Nov. 12, 2020. During a telephonic meet-

and-confer three days later, the Jones defendants took the position that they had no obligation to

comply with existing discovery. Aff. of Meet & Confer ¶ 15, Dkt. 313.00, Nov. 18, 2020. The next

day, the Jones defendants noticed removal for the second time in this case. Not. of Removal, Dkt.

312.00, Nov. 16, 2020.

        The federal district court rejected that removal and remanded the case to this Court again

on March 5, 2021. Remand, Dkt. 316.00, Mar. 5, 2021. The case was returned to this Court for the

third time. The Jones defendants had been under court order to produce sales, marketing, and web-

analytics data for more than two years. Rather than do so, they argued that this Court’s sanctions



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order—which had been based in large part on their refusal to produce exactly these still-

outstanding materials—“necessarily terminated” their production obligations. Defs.’ Mem. in

Opp. to Mot. 1–2, Dkt. 332.00, May 5, 2021. They also argued, yet again, that the original

discovery ordered by this Court was “excessive.” Id. at 2. On May 14, 2021, the Court rejected

their arguments, finding that “[t]he obligation of the defendants to fully and fairly comply with the

discovery requests at issue was not extinguished.” Order, Dkt. 339.10. Finally, it ordered set a

“final” deadline of June 28, 2021 for production of the “already overdue supplemental

compliance,” including Google and any other web analytics. Dkt. 348.10. It expressly warned the

Jones defendants that their failure to produce the analytics by the final deadline of June 28, 2021

“may result in sanctions including but not limited to a default.” Id.

       B. The Jones Defendants’ Continued Refusal to Provide Court-Ordered Information

           1. Google Analytics

       June 28 was a Monday. On the Thursday afternoon before production was due, counsel for

the Jones defendants sent the plaintiffs’s counsel a letter representing that the Google Analytics

data “cannot be produced as an export,” and therefore could not be provided. Ex. B, Letter from

Jay Wolman to Christopher Mattei, et al., June 24, 2021. Instead, for the first time, 1 the Jones

defendants proposed a “sandbox approach,” where the plaintiffs would be allowed to access the

Jones defendants’ Google Analytics accounts and “inspect the dataset” for a limited period of time

under the supervision of the Jones defendants. Id. The plaintiffs rejected this proposal, noting that

they disagreed with the representation that the Analytics “cannot be produced” and that this




       1
         Although Attorney Wolman’s letter represents that he made this proposal at the June 2,
2021 hearing, the transcript of that hearing does not appear to have any reference to it. 6/2/21 Hrg.
Tr. Plaintiffs’ counsel have no memory of it being mentioned in a prior telephone conversation.
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position was “not consistent with the information [the Jones defendants] provided to the Court.”

Ex. C, Letter from Christopher Mattei, et al., to Jay Wolman, June 25, 2021.

       The Jones defendants’ counsel responded that “there is no inconsistency,” and that “to

export the raw data, one must be an Analytics 360 member, i.e. a premium member.” Ex. D, Letter

from Jay Wolman to Chris Mattei, June 25, 2021. “Free Speech Systems is not an Analytics 360

member,” they continued. “[T]herefore it is impossible for it to export the data.” Id. Defense

counsel reiterated his position that, to obtain the discovery, the plaintiffs should pay $150,000 for

the Jones defendants to obtain a premium Google Analytics membership. Id. In a meet-and-confer

telephone call on July 13, 2021, counsel for the Jones defendants reaffirmed this statement. Pls.’

Meet & Confer Aff. ¶ 10, Dkt. 426.00, July 26, 2021. He was asked: “So you’re telling me that

what data you do have access to through their Google Analytics platform, they cannot download

or export?” Id. He responded: “Yes. Google does not allow it for non-Analytics 360 members, [the

Jones defendants] do not have a 360 membership, ergo, it cannot be produced.” Id.

       2. Social Media Analytics

      In addition to the analytics discussed above, the Court’s order of January 10, 2019 ordered

the production of:

      All communications and/or documents concerning marketing data or analytics
      concerning you, Infowars, or the other Jones Defendants, and/or any other medium,
      including radio, on which you or the Jones Defendants broadcast, either to, from, or
      concerning:

      a. Alphabet Inc., or any subsidiary or property thereof
      b. Facebook, Inc., or any subsidiary or property thereof
      c. Twitter, Inc., or any subsidiary or property thereof
      d. Oath Inc., or any subsidiary or property thereof
      e. Snap Inc., or any subsidiary or property thereof
      f. Apple Inc., or any subsidiary or property thereof

Defs.’ Obj. ¶ 17, Dkt. 146.00; Dkt. 148.00. By including subsidiaries, this Request included



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documents and communications concerning not only named social-media platforms like Facebook

and Twitter, but also Instagram (owned by Facebook), Google (owned by Alphabet), and YouTube

(owned by Alphabet).

      The Jones defendants never produced any discovery materials regarding their social media

data or analytics. The defendants responded to the plaintiffs’ interrogatories regarding social media

analytics by stating, “All responsive documents have been provided to plaintiff’s counsel.” Dkt.

218.00–222.00. During a subsequent hearing, the Jones defendants were asked explicitly about

marketing and analytics, and responded, “[W]e have provided everything.” Ex. E, 5/7/19 Hrg. Tr.

14:26–15:15.

      After the sanctions against them were affirmed and the case returned to this Court, the Jones

defendants still produced no such documents.




      A month later,




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             To this date, the plaintiffs have not received these reports through formal discovery.

II.     LEGAL STANDARD

        Practice Book § 13-14 authorizes the Court to impose sanctions for a party’s failure to

comply with discovery orders. Pract. Book § 13-14(a). Section 13-14(b) sets forth a non-

exhaustive list of potential penalties, including entry of non-suit, the award of fees associated with

enforcement of court orders, evidentiary restrictions, etc. The Court also has inherent power to

order sanctions. Evans v. Gen. Motors Corp., 277 Conn. 496, 522–24 (2006); Millbrook Owners

Ass’n, Inc. v. Hamilton Standard, 257 Conn. 1, 14 (2001).

        “[A] court may, either under its inherent power to impose sanctions in order to compel

observance of its rules and orders, or under the provisions of [Practice Book] § 13–14, impose

sanctions[.]” Evans, 277 Conn. at 522-24 (quoting Millbrook Owners Ass’n, Inc., 257 Conn. at

14). The decision “to enter sanctions . . . and, if so, what sanction or sanctions to impose, is a

matter within the sound discretion of the trial court.” Evans, 277 Conn. at 522-24. “[T]he court’s

discretion should be exercised mindful of the policy preference to bring about a trial on the merits

of a dispute whenever possible and to secure for the litigant his day in court[.]” Id. (quoting

Millbrook Owners Ass’n, Inc., 257 Conn. at 14). “The design of the rules of practice is both to

facilitate business and to advance justice[.]” Id. (quoting same).

        The standard for imposing and reviewing sanctions for violation of discovery orders

requires that (1) “the order to be complied with must be reasonably clear”; (2) “the record must



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establish that the order was in fact violated”; and (3) “the sanction imposed must be proportional to

the violation.” Millbrook Owners Ass’n, Inc., 257 Conn. at 17–18; Giblen v. Ghogawala, 111

Conn. App. 493, 497–98 (2008). “In determining the proportionality of a sanction to a violation,

we have in the past considered the severity of the sanction imposed and the materiality of the

evidence sought . . . whether the violation was inadvertent or wilful . . . and whether the absence

of the sanction would result in prejudice to the party seeking the sanction.” Giblen, 111 Conn.

App. at 497–98 (quoting Forster v. Gianopoulos, 105 Conn. App. 702, 711 (2008)).

III.     ARGUMENT

         This Court issued multiple applicable orders that were “reasonably clear.” Millbrook

Owners Ass’n, Inc., 257 Conn. at 17–18. The record establishes “that the order[s] [were] in fact

violated.” Id. The Jones defendants’ noncompliance is prejudicial to the plaintiffs: the relevant

discovery is highly material, and the Jones defendants’ refusal to produce it has compromised the

plaintiffs’ ability to use it in the discovery process. This Court warned the Jones defendants that

“[f]ailure to comply with this order may result in sanctions including but not limited to a default.”

Order, Dkt. 348.10. Default is the appropriate sanction.

         A. The Court’s Orders Were Crystal Clear

         In order for sanctions to issue, “the order to be complied with must be reasonably clear.”

Millbrook Owners Ass’n, Inc., 257 Conn. at 17–18. The orders at issue at issue here were crystal.

In its original order two and a half years ago, the Court ordered the Jones defendants to produce

materials responsive to the plaintiffs’ Requests for Production Nos. 15, 16, and 17, which covered

marketing, sales, and web-analytics data. Dkt. 148.00. Request for Production No. 15 asked for

“[a]ll marketing data, web analytics, sales analytics, and/or other web traffic data concerning you,

Infowars, and/or any website, social-media, or other internet-based profile that you or the Jones



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Defendants own and/or control.” Pls.’ First Spec. Req. for Prod’n ¶ 15. Request for Production

No. 16 demanded “[a]ll marketing data or analytics concerning you, Infowars, or the other Jones

Defendants, and/or any other medium, including radio, on which you or the Jones Defendants

broadcast.” Id. ¶ 16. Request for Production No. 17 requested “[a]ll communications and/or

documents concerning marketing data or analytics concerning you, Infowars, or the other Jones

Defendants, and/or any other medium, including radio, on which you or the Jones Defendants

broadcast, either to, from, or concerning” all the major social media platforms. Pls.’ First Spec.

Req. for Prod’n ¶ 17. The Jones defendants’ production obligations regarding social media and

web analytics were clear.

       On June 16, 2021, this Court sanctioned the defendants in part because of their repeated

failure to produce Google Analytics. Lafferty, 336 Conn. at 376. In May, after the case’s return to

Connecticut Superior Court, this Court rejected their arguments against production and of analytics

and held “[t]he obligation of the defendants to fully and fairly comply with the discovery requests

at issue was not extinguished.” Dkt. 339.10. In another follow-on order, the Court set a “final”

deadline for production of the “already overdue supplemental compliance,” including Google and

any other web analytics, for June 28, 2021. Dkt. 348.10. It noted that it “decline[d] the Jones

defendants’ invitation to address, again, the scope of appropriate discovery” and that “the

outstanding discovery responses were due over two years ago.” Id. This order expressly warned

the Jones defendants that their failure to produce the analytics by the final deadline of June 28,

2021 “may result in sanctions including but not limited to a default.” Id.




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        A. The Jones Defendants Violated the Court’s Orders

        Another requirement for sanctions is that “the record must establish that the order was in

fact violated.” Millbrook Owners Ass’n, Inc., 257 Conn. at 17–18. There is no question that the

Court’s orders were violated here.

            1. The Jones Defendants Violated the Court’s Orders to Produce Google
               Analytics Data

        The Jones defendants did not produce the Google Analytics data by June 28, 2021. They

still have not produced it. This is an unexcused violation of the Court’s order, and it requires the

imposition of sanctions.

            2. The Jones Defendants Continued Their Pattern of Obfuscation and Delay with
               this Violation

        The Jones defendants did not produce the Google Analytics data as ordered. As the Court

has repeatedly said, a court-set deadline must be complied with, or a motion directed to that

deadline needs to be filed and adjudicated before the deadline passes. The Jones defendants chose

not to file that motion. Rather, they again chose unexcused disobedience of a Court order, forcing

the plaintiffs to bring the violation to the Court’s attention.

        To excuse their noncompliance, moreover, the Jones defendants chose to rely on the notion

that production would be very costly, an argument that the Court had already rejected. In support

of their excuse, the Jones defendants made inaccurate and incomplete representations concerning

the capabilities of their Google Analytics account. This began in argument before the Court on

June 2, 2021. During that argument, the Jones defendants represented that utilizing the Google

Analytics “export method” required “a premier membership” that “would cost at least $150,000.”

Ex. H, 6/2/21 Hrg. Tr. 15:10–16. (They maintained “this cost should be borne by [the plaintiffs].”

Id. at 17:16–17.) They then argued that the data should not be produced at all, contending that “the



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amount of labor . . . required is not proportionate to the needs of the case.” Id. at 17:19–18:6. This

Court rejected these arguments and ordered the Jones defendants to produce the data by June 28,

2021. Order, Dkt. 348.10, June 2, 2021 (noting that it “decline[d] the Jones defendants’ invitation

to address, again, the scope of appropriate discovery” and that “the outstanding discovery

responses were due over two years ago”).

       Ignoring the fact that the Court had already rejected the argument, the Jones defendants

raised this excuse again in their June 25 letter to counsel: “to export the raw data, one must be an

Analytics 360 member, i.e. a premium member.” Wolman Letter, June 25, 2021. “Free Speech

Systems is not an Analytics 360 member,” they continued. “[T]herefore it is impossible for it to

export the data.” Id. Free Speech Systems repeated this statement in its Notice of Compliance. It

further represented that “Free Speech Systems does not possess, have custody, or control the

Google Analytics dataset in a manner that would permit export.” Dkt. 377.00 at 2, June 28, 2021.

       These representations were inaccurate and misleading. The plaintiffs retained a Google

Analytics expert to assess what export capabilities an ordinary Google Analytics account has, and

submit his affidavit in support of this Motion. “Like all Google Analytics users, the users of the

Infowars.com Google Analytics account have access to the Export function.” Ex. I, Affidavit of

Jordan Campbell ¶ 9. Indeed, the “EXPORT button is clearly visible on” the very screenshots the

Jones defendants provided as an exhibit to their motion for a protective order on May 30, 2021.

Id. This export function allows the user to export the Google Analytics data in 4 different formats:

PDF, Google Sheets, XLSX and CSV.” Id. ¶ 8. “Exporting in those formats keeps the data

organized and allows it to be manipulated by the recipient, as the original user could do.” Id. Using

an expert protocol, the data ordered by the Court could be exported using this basic EXPORT




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function. 2 Id. ¶ 10. The Jones defendants’ claim that an expensive Google 360 membership is

required to comply with the Court’s order is inaccurate and misleading: “[I]t is not true that ‘to

export the dataset, one must be a Google Analytics 360 user.’” Id. ¶ 11.

       Relying on the Analytics 360 excuse, the Jones defendants refused to produce the required

Google Analytics data. Instead, they proposed a “sandbox approach” four days before the deadline.

Wolman Letter, June 24, 2021. As the Jones defendants’ letter itself admitted, this was not

production, but an offer of inspection. Id. (noting proposal would allow the plaintiffs to “inspect

the data set”). This approach, moreover, “would allow the Jones defendants to observe, surveil,

and/or record all the plaintiffs’ actions within the Google Analytics account, including any

searches or other analysis that the plaintiffs or their experts might perform on the data while

they had access to it.” Campbell Aff. ¶ 16; Defs.’ Notice of Compliance 2 n.3, Dkt. 377.00

(noting that the approach “would necessarily require supervision by Free Speech Systems”). This

would be a clear invasion of the work-product doctrine. See Barksdale v. Harris, 30 Conn.

App. 754, 760 (1993) (“The work product doctrine protects an attorney’s . . . ‘mental impressions,

personal beliefs and countless other tangible and intangible [items].’” (quoting Hickman v. Taylor,

329 U.S. 495, 511 (1947))); Conn. Practice Book § 13-3 (codifying work-product privilege). 3



       2
          Exporting this data in this manner would require neither technical expertise nor an
inordinate amount of labor. “[U]sing the free export function described above, a user of the
relevant account could easily export complete, accurate and readily useable data as Excel (xlsx)
files.” Campbell Aff. ¶ 10. “[E]xporting the data would take a computer literate user following a
simple protocol under a week to complete the exports and possibly would require even less time.”
Id. (noting that “a computer literate user” means “someone with simple data entry skills”). “The
development of an appropriate export approach” would take “approximately 30 minutes.” Id.
Implementation of such a “step-by-step protocol . . . would be a simple process.” Id.
       3
         When plaintiffs’ counsel raised these defects during the parties’ meet-and-confer
call of July 13, 2021, the Jones defendants acknowledged them but argued they were
immaterial to it being sufficient production. Aff. of Attempt to Resolve Discovery Objection
¶ 9, Dkt. 426.00, July 26, 2021.
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           3. The Jones Defendants Violated the Court’s Orders Regarding Social Media
              Data and Analytics

       Likewise, for roughly two and a half years, the Jones defendants were under a court order

to produce all available analytics for social media accounts under their control. They produced

none. Meanwhile, they repeatedly represented that they had made all responsive production. See

Dkt. 218.00-222.00.




They still have not been formally produced in discovery. Even if they were, there is no indication

that they would constitute complete production under the relevant requests for production. The

Jones defendants violated the Court’s order in failing to produce these documents for two and a

half years—and potentially continuing to improperly withhold others.

           4. Given the History of the Jones Defendants’ Conduct, Default is the Only
              Appropriate Sanction

        “[T]he sanction imposed must be proportional to the violation.” Millbrook Owners Ass’n,

Inc., 257 Conn. at 17–18. Default and dismissal are the severest sanctions. 4 In general, Connecticut

“practice does not favor the termination of proceedings without a determination of the merits of

the controversy where that can be brought about with due regard to necessary rules of procedure.”

Millbrook Owners Ass’n, Inc. v. Hamilton Standard, 257 Conn. 1, 16 (2001). But “‘where a party

[has] show[n] a deliberate, contumacious or unwarranted disregard for the court’s authority,’”

dismissal or default “of the entire case may constitute an appropriate sanction.” MacCalla v. Am.


       4
         There exist more Connecticut cases addressing sanctions of dismissal than default.
However, our courts seem to deal with them interchangeably. There is no indication that a sanction
of default must meet a test different from that for one of dismissal. For this reason, while this
Motion emphasizes default cases, it refers at times to dismissal cases as well.
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Med. Response of Connecticut, Inc., 188 Conn. App. 228, 239 (2019) (quoting Emerick v.

Glastonbury, 177 Conn. App. 701, 736 (2017) and affirming sanction of dismissal for attorney’s

improper behavior in deposition). Under such circumstances, the ultimate sanction “serves not

only to penalize those whose conduct warrants such a sanction but also to deter those who might

be tempted to such conduct in the absence of such deterrent.” Pavlinko v. Yale-New Haven Hosp.,

192 Conn. 138, 145 (1984) (citation omitted).

       In determining the proportionality of a sanction of default, Connecticut courts have

“considered the severity of the sanction imposed and the materiality of the evidence sought . . .

whether the violation was inadvertent or wilful . . . and whether the absence of the sanction would

result in prejudice to the party seeking the sanction.” Forster v. Gianopoulos, 105 Conn. App. 702,

711 (2008) (internal citations omitted); Spatta v. American Classic Cars, LLC, 150 Conn. App.

20, 27 (2014) (noting the “trial court may consider not only the presence of mistake, accident,

inadvertence, misfortune or other reasonable cause . . . factors such as [t]he seriousness of the

default, its duration, the reasons for it and the degree of contumacy involved . . . but also, the

totality of the circumstances, including whether the delay has caused prejudice to the nondefaulting

party”).

       First, after two and a half years, multiple court orders, a litigation sanction confirmed by

our Supreme Court, and express warning that “[f]ailure to comply with this order may result in

sanctions including but not limited to a default,” Order, Dkt. 348.10, there can be no doubt that the

Jones defendants’ failure to comply is “deliberate” and “contumacious.” MacCalla, 188 Conn.

App. at 239; Spatta, 150 Conn. App. at 27.

       Moreover, the materials sought here are significant to important aspects of the plaintiffs’

case, and their deprivation is prejudicial. The plaintiffs’ complaint alleges that “Jones has



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deliberately employed [] false narratives about the Sandy Hook shooting, the victims, and their

families as part of a marketing scheme that has brought him and his business entities tens of

millions of dollars per year.” Sherlach Compl. ¶ 11. It alleged that “the Jones defendants concoct

elaborate and false paranoia-tinged conspiracy theories because it moves product and they make

money . . . not because they are eager to educate or even to entertain their audience.” Id. ¶ 103. It

alleged that “[t]he false claim that the Sandy Hook shooting was a government-sponsored hoax

designed to lead to gun control was therefore a prime narrative for attracting, augmenting, and

agitating Jones’s audience.” Id. ¶ 98. These allegations are significant to the plaintiffs’ Connecticut

Unfair Trade Practices Act claims. Id. ¶¶ 465–474 (alleging that the Jones defendants “unethically,

oppressively, immorally, and unscrupulously developed, propagated, and disseminated outrageous

and malicious lies about the plaintiffs and their family members, and they did so for profit,” a

“deceptive practice and offended public policy”). Web-analytics and social media data for the

Jones defendants’ websites and social media profiles is potentially key for demonstrating these

points.

          Additionally, the Jones defendants’ motivations for their actions are highly relevant not

only for assessing what punitive damages are appropriate, but also in evaluating the intentionality

of their actions, and/or whether their broadcasts were done with actual malice. Web and social

analytics are relevant and could be material to these claims. Courts have held that “pressure to

produce sensationalistic or high-impact stories with little or no regard for their accuracy would

be probative of actual malice.” Tavoulareas v. Piro, 817 F.2d 762, 796-97 (D.C. Cir. 1987) (en

banc) (emphasis in original). Likewise, “evidence that a defendant conceived a story line in

advance of an investigation and then consciously set out to make the evidence conform to the

preconceived story is evidence of actual malice, and may often prove to be quite powerful



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evidence.” Harris v. City of Seattle, 152 Fed. App’x 565, 568 (9th Cir. 2005). The Jones

defendants’ analytics are therefore potentially highly relevant to proving how these claims are

borne out in the Jones defendants’ business practices.

       Moreover, the Jones defendants themselves have taken the position that the Google

Analytics data is highly material. They claimed that their “records show that, at most, they made

$342.55 from article and page referrals that contained the term ‘Sandy Hook’ out of a total of $10.6

million in overall sales generated from site traffic.” Defs.’ Emerg. Mot. 3, Dkt. 348.00. They

argued that that amount contradicted “the whole theory of the case,” which according to them, “is

that [the Jones defendants] are somehow motivated to do Sandy Hook stories to get money.” 6/2/21

Hrg. Tr. 17:19–18:6 (emphasis added). They “want[ed] to highlight” the data because, according

to them, it “[s]eems like this is a loser of a story in terms of moneymaking.” Id. In doing so, they

were asking the Court simply to take their word that the data does not bear out the plaintiffs’

“whole theory of the case”—and decide no one needs to see it at all. Whatever the illogic of this

argument, it acknowledges that the data is highly material. 5

       This was not the first time the Jones defendants had argued this information is material. On

June 12, 2019, the Jones defendants broadcast an episode of the Alex Jones Show entitled

“GOOGLE’S ANALYTICS PROVE INFOWARS HAS NO SANDY HOOK MARKETING:

Specialist destroys MSM agenda.” Ex. J, Alex Jones Show, Google’s Analytics Prove Infowars

Has No Sandy Hook Marketing, Infowars.com (June 12, 2019). In it, FSS IT manager Michael

Zimmerman joined Jones “to show and prove how, contrary to Democrat attorneys and judges,



       5
         Notably, for these representations to be true, the Jones defendants must have enabled the
e-commerce function of Google Analytics back in 2012, and they must have “very significant” e-
commerce data that they have failed to provide the plaintiffs. Campbell Aff. ¶ 15. If they did not
have this function enabled—and they do not have that data—then their representation cannot
establish what it purports to establish, id., and is misleading.
                                                16
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Infowars has no alleged ‘Sandy Hook marketing’ and makes no money from Sandy Hook video

views, which happen to be less than 1% of all views.” Id.

        Lastly, the refusal to produce this information is prejudicial because it materially impedes

discovery. The plaintiffs should have received this information years ago. They should have been

able to depose the Jones defendants’                                     regarding the performance

of their social media. They should have been able to plan their approach to discovery based on a

thorough analysis of both the withheld Google Analytics data and the late-produced and partial

social media analytics.

        For all these reasons, the Jones defendants’ refusal to produce this information is highly

prejudicial.

IV.     CONCLUSION

        For all the foregoing reasons, the plaintiffs’ motion should be granted. The plaintiffs ask

that the Court find as follows:

        1. The Google Analytics data was not produced;

        2. The non-production was deliberate and unexcused;

        3. In an order to delay or avoid production, the Jones defendants presented misleading,

           inaccurate and incomplete information concerning the capabilities of their Google

           Analytics account;

        4. The noncompliance is highly prejudicial;

        5. The late and only partial production of social media analytics is also unexcused and

           prejudicial.




                                                 17
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       The plaintiffs request that the Court consider this conduct in combination with the

additional sanctionable conduct committed by the Jones defendants to date in determining that the

only proportional sanction is default.

                                                    THE PLAINTIFFS,

                                            By:     /s/ Christopher M. Mattei
                                                    CHRISTOPHER M. MATTEI
                                                    ALINOR C. STERLING
                                                    MATTHEW S. BLUMENTHAL
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                                               18
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                                       CERTIFICATION

       This is to certify that a copy of the foregoing has been emailed and/or mailed, this day,
postage prepaid, to all counsel and pro se appearances as follows:

For Alex Emric Jones, Infowars, LLC, Free Speech Systems, LLC, Infowars Health, LLC and
Prison Planet TV, LLC:
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                                                     /s/ Christopher M. Mattei
                                                     CHRISTOPHER M. MATTEI
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               EXHIBIT A
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                                                                              1


     NO: XO6 UWY CVlS-6046436-S:           NO: XO6 UWY CVlS-6046437-S

     ERICA LAFFERTY                        WILLIAM SHERLACH

     V                                     V

     ALEX EMRIC JONES                      ALEX EMRIC JONES

     *    *   *   *    *   *   *   *   *

     NO: XO6 UWY CVlS-6046438-S:           SUPERIOR COURT

     WILLIAM SHERLACH                      JUDICIAL DISTRICT OF WATERBURY

     V                                     AT WATERBURY

     ALEX EMRIC JONES                      MARCH 22, 2019

     *    *   *   *    *   *   *   *   *



     BEFORE:

                      THE HONORABLE BARBARA N. BELLIS,

                                                       Judge

     APPEARANCES :


         Representing the Plaintiffs:

              ATTORNEY ALINOR C. STERLING
              Koskoff Koskoff & Bieder
              350 Fairfield Avenue
              Bridgeport, Connecticut 06604

         Representing the Defendant, Alex Jones:

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              ATTORNEY KEVIN M. SMITH
              Pattis & Smith
              383 Orange Street
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         Representing the Defendant, Midas Resources:

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.)            Stamford, Connecticut 06901
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                                                                             2


      Representing the Defendant, Cory Sklanka:

          ATTORNEY KRISTAN JAKIELA
          Regnier Taylor Curran & Eddy
          100 Pearl Street
          Hartford, Connecticut 06103



                                         Recorded and Transcribed By:
                                         Patricia Sabol
                                         Court Monitor
                                         400 Grand Street
                                         Waterbury, Connecticut 06702




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                                                                              3


 1                THE COURT:     Good afternoon.     Please be seated.

 2                We're here on the Lafferty and related matters.

 3           If you could please identify yourselves for the

 4          record.

 5                ATTY. STERLING:      Yes, your Honor.     Alinor

 6          Sterling, Koskoff Koskoff & Bieder, for the

 7          plaintiffs.

 8                ATTY. BROWN:      Good afternoon, your Honor.

 9          Stephen Brown from Wilson Elser on behalf of Midas

10          Resources.

11                ATTY. JAKIELA:      Good afternoon, your Honor.

12          Kristan Jakiela on behalf of Cory Sklanka.

13                ATTY.   PATTIS:    Good afternoon,   Judge.    Norm

14           Pattison behalf of the Jones defendants.

15                ATTY. SMITH:      Kevin Smith, also on behalf of the

16           Jones defendants, your Honor.

17                THE COURT:     All right.    Just give me one moment.

18                So I'm sure plaintiffs' counsel and co-defense

19          counsel has seen the motion for extension of time that

20          was filed yesterday?

21                ATTY. STERLING:      Yes, your Honor.

22                THE COURT:     And there were also some RFA's that

23          the plaintiff filed yesterday.

24                So I'll hear both sides, but I actually just had

25          a question just to clarify.        When I read the March

26           21st Jones defendant motion,      there was a statement on

27          page 3, Attorney Pattis, that said the defendants were
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                                                                               4


 1           under the impression that their compliance had been

 2           tendered.       And I'm wondering if you could explain

 3           that.     Also,    I did have a question for both sides.     If

 4          memory serves, when I was addressing what limited

 5          discovery there would be,        I thought we had

 6           interrogatories and requests for production.

 7                   ATTY.   PATTIS:   I do have an explanation.    It will

 8          take a few moments, and I'd ask you to bear with me.

 9           I've had -- I have discussed with Mr.        Jones and I have

10          his consent to relate the following.         And with your

11          permission,        I'd also tender several affidavits today.

12          This is the history of -- I will take responsibility

13          for my side of the aisle.         I am counsel of record and

14          going forward I will be sole counsel of record.            Some

15          of the things that have occurred and for which the

16          Court appears prepared to act I don't think are the

17          fault of either my client or myself.         And I'm asking

18          you to reconsider the denial of the motion to extend

19          and here's why.        And I will get to the point you

20          raised .

21                   THE COURT:    Can we get to it sooner rather than

22          later?

23                   ATTY.   PATTIS:   I'll get to it right now.

24          Initially, counsel was Mark Randazza and the Rondazza

25          firm.      Jay Wolman is the Randazza firm's

26          representative in Connecticut.         He was not counsel of

27          choice for Mr. Jones.
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                                                                                   5



     1                  THE COURT:     Can I just stop you there, Attorney

     2           Pattis?     Attorney Wolman was the one who filed his

     3          appearance.

     4                  ATTY.    PATTIS:   Understood.    I'm trying to explain

     5          what -- I really am being responsive to your question.

     6                  THE COURT:     Okay.

     7                  ATTY.    PATTIS:   Mr. Randazza was not permitted to

     8          enter.      Barnes surfaced.       He is a close --

     9                  THE COURT:     I'm sorry.     I didn't hear that.   Mr .

    10

    11                  ATTY.    PATTIS:   Randazza was not permitted to

    12          appear pro hac vice.           Barnes had Mr. Jones' ear.

    13          Apparently they are -- these two knew one another

    14          before this case.          This is where I've been given

    15          permission to waive the attorney-client privilege as

    16          to Barnes by Mr. Jones.           Barnes persuaded Jones that

    17          he had viable privilege claims that Mr. Wolman did not

    18          support.        In particular, a claim that under Griswold

    19          versus Connecticut, you can claim the right to privacy

    20          as a privilege with respect to some of these discovery

    21          responses.       Mr. Wolman wouldn't sign on t o that, and

    22          there was a breakup.

    23                  At that point, Barnes contacted me some time in

    24          late February.        And I filed an appearance under the

    25          representation that I would be moving him in pro hac

    26          vice.      As I represented to you earlier,      I thought I
)
    27          was going to be working under his direction.           And he
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                                                                              6


 1           represented to me that he was going to manage Mr.

 2           Jones' legal disputes related to these claims in

 3          several jurisdictions.

 4                When I was -- to get to the only question you've

 5          asked, Alex Jones was under the impression and had

 6          been told by Barnes that full compliance -- he had the

 7          material to fully comply in late February.           And Jones

 8          did not learn until apparently this week that that was

 9          not the case.

10                THE COURT:     So let me just -- I apologize because

11          I want to make sure I'm understanding this.           So you're

12          telling me that Mr. Jones relied on the advice of

13          counsel who doesn't represent him in this case?

14                ATTY. PATTIS:     I am telling you that Mr. Barnes

15              correct.    Correct.    And so I will take

16          responsibility for that.       Okay.    I came in and I

17          represented to you last time we were here that I

18          expected Barnes to appear pro hac vice, and I was

19          going to file that motion.        I was informed shortly

20          thereafter that he would not be appearing.           And at

21          that point I turned up the heat and said,         I need

22          discovery compliance.      And I received materials from

23          Barnes late on the day of March 20th.

24                THE COURT:    Because when you filed your motion

25          one of your motions for extension of time, the one

26          that I denied, the motion had said that you hadn't

27          received or reviewed any documents yet.
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                                                                                7


 1                  ATTY.    PATTIS:   Not -- if I said none,   I

 2           overstated it.       I had received several inches worth.

 3                  THE COURT:     I think you said that you had, on

 4           March 18th, on that motion for extension of time, that

 5           you had not been given any documents to review or

 6           produce.       That was what you said in your March 18th

 7           because I really --

 8                  ATTY.    PATTIS:   I am going to correct that.     I was

 9           given about two inches of documents, and I didn't seek

10          an order to do rolling discovery because I had -- and

11           I was given those documents on or about March 6th.             I

12          was also given some interrogatory responses on March

13           6th.    Those interrogatory responses were not

14          satisfactory to my way of thinking.         And I took steps

15          to get them amended.        I don't have them at this point.

16          But in terms of the bulk of documents,         there are nine

17          point three --

18                  THE COURT:     Let me just interrupt you~ Attorney

19          Pattis, and I apologize, and I'm going to give you

20          honestly as much time as you need.         So I'm just trying

21          to figure out the March 21st motion that you filed

22          that I read very carefully that Mr.        Jones was under

23          the impression that full compliance had been tendered,

24          I'm just trying to understand how he could be under

25          that impression if he hadn't signed off under oath on

26          the interrogatory responses.        So you wouldn't be

27          mistaken.       Regardless of what anyone told you,      four
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                                                                                       8


     1           lawyers are involved now.          All right.    So four

     2           different lawyers.        If you haven't signed

     3           interrogatory answers under oath, how can you believe

     4           that full compliance had been tendered?            It doesn't

 5               seem to be a reasonable belief,         if I accept that

 6               version.

 7                      ATTY.   PATTIS:    Well,   I'm representing,   as your

 8               officer, the facts as I know them to be.

 9                      THE COURT:    I am not -- Attorney Pattis,          I am not

10               in any way shape or form casting aspersions.               I accept

11              your representations as an officer of the Court.                But

12              your representation is what his impression was, what

13              he believed.       And that's why I started out asking

14              about interrogatory answers.          You can't -- how could

15              your client be under the impression that full

16              compliance had been tendered if he had never signed

17              the interrogatories under oath?

18                      ATTY.   PATTIS:   He had signed the interrogatori~s,

19              but not the requests for production.             I don't know if

20              I shared with you,        I shared with co-counsel, that the

21              interrogatories, that responses came with some

22              handwritten material on it, confidential and subject

23              to protective order, which I recognize to be Mr.

24              Jones'    handwriting.     And then he signed on the last

25              page.     That's meaningless to me.        I'm not going to

26              tender a document that's meaningless.

27                      THE COURT:    So you have in front of you a set of
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                                                                               9


 1          interrogatory answers that you're not satisfied with

 2          that he signed under oath?

 3                ATTY. PATTIS:     Right, I do.

 4                THE COURT:     On that date.

 5                ATTY. PATTIS:     March 6, 2019.     That was the day I

 6          believe they were due.       At that point,    I was operating

 7          on the assumption, Judge, that I was his -- I was

 8          local counsel for someone who had yet to appear.            They

 9          were prepared over my signature.         I wasn't prepared to

10          sign off on them because I had had no opportunity to

11          do any due diligence.       And that was the reason for

12          seeking a continuance.

13                As to the request for production, here's the

14          backdrop on that:      The database that must be searched

15          here is composed of somewhere between nine point three

16          and nine point six million emails.         The request for

17          individual searches is extremely time-consuming.            For

18          example, in one of the

19                THE COURT:     I accept that.     I accept what you're

20          saying that it's time-consuming, but not all of the

21          production requests were for emails.          There was

22          marketing information.       These were not all an e-mail

23          search.     So, for example, there would be, if I looked

24          at them       I don't have them in front of me -- I'm

25          sure there are some production requests that are not

26          burdensome to respond to and no substantial compliance

27          was made.    And I'm not -- you are representing the
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                                                                              10


 1           Jones defendants, but they are -- it's their

 2           obligation to comply.      And I'm dealing with Attorney

 3           Wolman's original representation with his first motion

 4           for extension of time that there was going to be

 5           significant document production by the initial

 6           deadline, which didn't happen.        I think part of the

 7          problem --

 8                ATTY.   PATTIS:   I can explain what happened there.

 9                THE COURT:     I think part of the problem is that

10           your clients are maybe tying their own lawyers' hands

11          by getting other lawyers involved so that nobody knows

12          what anyone else is doing.        That would be the most

13           favorable light.

14                ATTY.   PATTIS:   I understand that, but I don't

15          think --

16                THE COURT:     The least favorable light would be

17          manipulation.

18                ATTY.   PATTIS:   I don't think it was willful.

19          With respect to the interrogatory responses,            every

20          single answer that I see -- and they prepared this for

21          my signature.      I will not tender this.      Every single

22          answer was -- and this is,      I think,   a misapprehension

23          of law which you may recall you went out of your way

24          to correct when last we were here.         Every single

25          answer -- this is March 6,      2019 -- all responsive

26          unprivileged documents will be provided.          All

27          privileged documents will be logged and provided on a
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                                                                                  11


     1          privilege log.     Now, he was operating under the

     2          assumption, which you corrected last time we were

     3          here, that privilege logs can be tendered after

     4          compliance.     At that point, Judge,     from my

     5          perspective, I'm local counsel.         I'm going to advise

     6          him about the law.      I advise him about the law, and I

     7          tell him we need compliance.        I warned my client's

     8          in-house counsel, for lack of a better word, that the

     9          Court has made clear on the record that a consequence

    10          of noncompliance could be loss of a motion to dismiss.

    11          I write a letter urgently to that lawyer late last

    12          week saying, look, we've got to (indiscernible) this

    13          stuff.     I don't know what's going to happen.

    14                I have since spoken with Jones, met with personal

    15          representatives and spent more hours this week than I

    16          had to spend to try to get to the bottom of what

    17          happened.     And here is what I am told.       And this is

    18          based on interviews with my client, this is based on

    19          interviews with the IT person who's culling through

    20          his emails, this is based on interviews with personal

    21          representatives of his, this is based on interviews

    22          with Wolman, and this is based -- and I can, if

    23          necessary, get an affidavit from Attorney Barnes.

    24          This is from conversations and communications with all

    25          of them.

    26                Mr. Jones was told by Mr. -- Mr. Jones' IT
~

    27          person -- and I have an affidavit from him -- named
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                                                                                    12


     1           Jeff Zimmerman, gave Barnes sixty thousand or so

     2           documents in late February.       Barnes told my client

     3           that this was full compliance and that it would be

     4           tendered.    No one told Jones until Tuesday of this

 5               week      I don't recall the date, maybe the 19th.           The

 6               19th is Tuesday.     Nobody told Jones until the 19th of

 7               this week that that didn't happen.        At that point --

 8               and I have authorization to tell you this -- I was

 9               going to withdraw or make a motion to withdraw today

10               unless something else had happened because I cannot

11              defend an empty chair.

12                      Now, Mr. Barnes has been eased out of the picture

13              and will no longer be involved in the case.           I have an

14              affidavit from Jones indicating to you that I've been

15              given sole authority and responsibility for the

16              management of discovery in this case.          The decision

17              not to tender partial discovery, that is entirely mine

18              because my view was, if I could seek an extension

19              until I could review it all,       I would do so.     I have

20              not been local counsel enough in cases where I'm going

21              to sign --

22                      THE COURT:   I understand that.     Can I just

23              interrupt you for one second?        And you can sit if you

24              want, whatever you're most comfortable with.           Does

25              anybody have either an extra copy or one copy -- and

26              I'll have Mr. Ferraro make a copy of it             of the

27              interrogatories and production requests so that I can
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                                                                              13


 1           look at them?

 2                 ATTY. STERLING:     I have them.

 3                 THE COURT:    Is that an extra set?

 4                 ATTY. STERLING:     I don't have,   unfortunately, an

 5           extra set.

 6                 ATTY.   PATTIS:   Judge, to advance things,      I can

 7           give you a copy of the signed ones.        I brought copies

 8           for everybody because I knew that this might come up

 9           today.   So I'll just tender a copy to everyone to look

10          at.

11                 THE COURT:    But these are the ones that you

12          didn't want to submit because you didn't feel they

13          were   (indiscernible).

14                 ATTY.   PATTIS:   I had an opportunity -- when I

15           first got involved in this case,       I put a call in to

16          Attorney Sterling, who is known to me for many years

17          as a reasonable person and, frankly,        a friend.    And it

18          was made clear to me at this point there were some

19          reservations about my client's correspondence.            I

20          don't recall if it was with Ms. Sterling or Mr.

21          Mattei, but on March 6th when I received these things,

22          I discussed what the answers were.         I told them what

23          they were.     And somebody,   I don't recall who it was

24          and I'm sorry, Alinor -- that one of the answers

25          didn't satisfy them.       The question is, name all the

26          business entities and officers.         And then the claim

27          is, well, these entities don't exist anymore.            I think
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                                                                                    14

     1           the good faith answer is they're not asking at this

     2           point who it is, but at the time relevant to the

 3               lawsuit.

     4                   THE COURT:     Here's the thing, Attorney Pattis:          I

 5               was told,       not by you, but by the defendant Jones

 6               through his first counsel that there was going to be

 7               significant compliance even though they needed an

 8               extension.        I'm struggling to find any good faith.

 9               You're new to the game and I accept what you tell me,

10               truly I do, but any good faith on the part of the

11               defendant.       It's the defendant's discovery obligations

12               here.     So,   for example,    I'm just looking at the first

13               few interrogatories.        Even if some of the

14              interrogatories had been answered properly under oath

15              and then with the "to be provided", you know,

16              something that was properly responsive to the

17              interrogatories or production requests, not every one

18              of the production requests requires a search through

19              nine million or however many emails.

20                       ATTY.   PATTIS:   That is my call, and I am solely

21              responsible for that.           My view was,   I was going to

22              respond once and then be done with it rather than get

23              involved in rolling discovery, which is difficult to

24              manage.      I did not consult with my client on that.          I

25              made that decision.        If there should be sanctions in

26              that regard,       they should be directed toward me and not

27              -- me personally and not toward the client because I
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                                                                              15


 1           made that decision.

 2                  Frankly,   from my perspective, Judge, my state of

 3           mind was, you know,      I've learned nine point three

 4           million -- for example, one of the search terms was

 5           give us every email that you have about the Sandy Hook

 6           families or family members.       When you identify the

 7           plaintiffs, you identify their family members,         it

 8           comes to over a hundred people.        Each search of the

 9           nine point three database takes about twelve hours.

10                  THE COURT:    So if we just look at these.      This is

11          an easy one.       So the fifth interrogatory, identify any

12          witnesses you may call at a hearing on a special

13          motion to dismiss.        What's the answer to that under

14          oath?

15                  ATTY.   PATTIS:   The plaintiffs and Alex Jones.

16          That's satisfactory as far as I'm concerned.

17                  THE COURT:    What about the first one, business

18          organizations?       Is that answered satisfactorily?

19          That's a pretty straightforward one.          I'd take about

20          two minutes to figure that.

21                ATTY.     PATTIS:   After discussing with -- I don't

22          recall whom, but I tell you I did.         The second one,

23          the answer is one that doesn't satisfy my adversaries.

24          No employees are assigned the duties of marketing,

25          data research, analytics concerning Infowars.           The

26          only analytics are conducted by a third party Google

27          Analytics and Google Ad Manager.         No marketing
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                                                                                     16


     1          analytics were ever done related to Sandy Hook.            I

     2          discussed that and the question was, well, can you

     3          guys get the material from Google?         I'm told the

     4          letter has been written to Google.         I've asked for it.

     5           I don't yet have it.      So that's the answer, but I've

     6          been informed that's an unsatisfactory answer.            And,

     7          hence, the request for more time.

     8                THE COURT:     What about the other interrogatories?

     9                ATTY. PATTIS:     As to three, again, it may vary

    10          I don't think it varies.       I'd have to check.      There

    11          were five sets.

    12                THE COURT:     I'm not even looking at the

    13          production requests .      I'm just looking at the

    14          interrogatories.

    15                ATTY. PATTIS:     No employees were assigned the

    16          duties of investigating any matter concerning Sandy

    17          Hook on behalf of the case defendants.          That's the

    18          answer.

    19                THE COURT:    What about the fourth one?

    20                ATTY. PATTIS:     This may vary on the entity.           Two

    21          domain names are used and owned by Free Speech Systems

    22          to disseminate content concerning -- it's not a

    23          complete sentence.      Two domain names are used by Free

    24          Speech Systems to disseminate content concerning this

    25          matter.    And they are Infowars dot com and Prison

    26          Planet dot com.      That's it.
)
    27                THE COURT:    All right.     So when you look at the
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                                                                              17


 1          production requests, it looks like some of the

 2          objections were sustained.         I'm not --

 3                ATTY.   PATTIS:   As to the financial matters and

 4          tax returns, yes.

 5                THE COURT:     Just roughly, let's say,      just

 6          roughly, there's probably, say, sixteen that they have

 7          to respond to,     just roughly.    So there have to be some

 8          that you don't have the documents on.           For example,

 9          number eleven -- and I don't have in front of me the

10          rulings.

11                ATTY. STERLING:      Your Honor, the rulings -- those

12          were done after the rulings.        So there's a couple

13          notations where an objection was sust~ined in its

14          entirety, but otherwise the language is the language

15          that the Court approved.       So that's fine.

16                THE COURT:     That would have taken around three

17          minutes to comply with.

18                ATTY.   PATTIS:   I actually have compliance.        There

19          are no documents in my possession.         These are Court --

20          the Court ordered these documents sealed, and they are

21          placed in the lawyer's custody.         So that is the

22          answer.    And, again, this is a problem that I have

23          about the adequacy of the compliance, whether we need

24          to seek a Court order, but I called and made a phone

25          call because I remember reading something in the press

26

27                THE COURT:     It's possession or control, right?
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                                                                              18


 1                 ATTY.   PATTIS:     Well, but the claim -- and I don't

 2           know this as your officer and before I start flashing

 3           documents around,       I want to know it, but what I'm told

 4           is the divorce transcripts were sealed and can only be

 5           released with a Court order.        Now, what's paradoxical

 6           to me about that is the proceedings were nonetheless

 7           open to the public because I recall reading about it.

 8                THE COURT:        So you're suggesting that even though

 9           I've ruled this is the discovery in this case, that

10          Court order doesn't satisfy the ability to get the

11          transcript from his attorney?

12                ATTY.    PATTIS:     I'm telling you that when I moved

13          for a continuance on March 6th,          it was because

14          precisely of things like this,        and I was unwilling to

15          put my name on it.         I'm just not.     And I don't think

16          that's unreasonable on my part.

17                THE COURT:        So were there any of the production

18          requests at all that you're in a position that you

19          feel that you have proper compliance at this point?

20                ATTY.    PATTIS:    As of today,     yes.   And I am told

21              I'd like to bring this -- I appreciate your

22          indulgence.      Jeff Zimmerman -- so here's what I have

23          done since -- before you denied my motion for

24          extension.      I've reached out to a data analytics firm

25          and described the universe of items that need to be

26          searched.      I have

27                THE COURT:        I read that in your most recent
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                                                                              19


 1          motion.

 2                   ATTY.   PATTIS:     I didn't know you denied my

 3          motion.      I came back from an early day in court

 4          yesterday,       so I had to get something out in a hurry.

 5                   THE COURT:       (Indiscernible) data analytics.

 6                   ATTY.   PATTIS:     Whether my client will bear that

 7          expense or whether the plaintiffs will bear that

 8          expense, it's going to cost ninety to a hundred

 9          thousand dollars to have that information system by

10          this firm go through the nine point three million

11          emails and sort them.           Mr. Zimmerman has done plenty.

12          And he has completed under production request number

13          one        I have the following notes and I have received

14          documents,       Judge,    in my office late Wednesday that

15           I've not had a chance to review, but I'm told that lA

16          through N are completed, 2A through J,           3A through B,

17           4A through G,      7A through O,    8A through N.   17A through

18           F.

19                   THE COURT:       What about 18?   That should be pretty

20           easy.

21                   ATTY.   PATTIS:     I'm told those are completed, but

22          here's what I would like you to know and I have an

23           affidavit if you need it.          This young man, Mr.

24           Zimmerman, has been involved in this search for weeks.

25          To do a literal search of every term that the

26          plaintiffs request would not be completed until April

27           15, 2019.       I didn't know that when I made my motion
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                                                                              20


 1          for April 3rd, but one of the things that's occurred

 2          is the Texas -- the same kid is generating data for

 3          Texas.    And that case has been based on priority

 4          because of the expedited schedule down there.

 5                 I'm also told, and I confirmed this this morning

 6          in a conversation -- forgive me for not recalling his

 7          name, the lawyer for Mr. Jones in Florida - - excuse

 8          me,   in Texas -- that today they've turned over twelve

 9          thousand five hundred emails.        They are under an

10          order -- and I can get those and turn them over.            They

11          are under an order to complete discovery and/or face

12          fairly significant sanctions, and they're hoping to

13          have thousands more on Monday.

14                THE COURT:     Does he have      Attorney Pattis, does

15          he have a different lawyer in the Texas case than

16          it's not Mr. Wolman,     it's not Mr. Barnes, it's not Mr.

17          Randazza?     It's somebody else?

18                ATTY.   PATTIS:   No.   Here's what's going on in

19          Texas.    And, again,   it's awkward to put on the record,

20          but I have authorization to do so.         Mr. Barnes has

21          apparently succeeded in being admitted pro hac vice in

22          Texas.    And, therefore

23                THE COURT:    Who's the local counsel there?

24                ATTY.   PATTIS:   Mark Enoch (phonetic spelling)

25                THE COURT:     So that's a different lawyer?

26                ATTY.   PATTIS:   Right.    Enoch is local counsel in

27          Texas to the Jones defendants,       and Mr. Barnes is pro
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                                                                                  21


     1           hac vice counsel.     And there's been a struggle there.

     2           Candidly, Judge, what blew this into crisis mode for

     3           me and led me to consider withdrawing is I received a

     4           phone call and had my first communication with Texas

     5           counsel on Monday.     And I had described a certain

     6           email I had written to Barnes last week and the

     7           failure to get a response to it.        And that email I'm

     8           not prepared to share, but it warned of dire

     9           consequences.     Three days passed and I didn't get a

    10           response.    So I sent another email to Barnes saying,

    11           you know, what's up?      Did you get my earlier email?

    12          And I began to get responses.        And then my phone rang

    13          off the hook with people in the Jones organization who

    14          apparently did not know and then who had not been

    15          shown my communication with Barnes.         And in those

    16          communications, Jones learned for the first time that

    17          although he believes that Barnes had a lot of

    18          material, perhaps sixty thousand documents or emails

    19          or whatnot since at least the end of February, which

    20          is why Zimmerman thought he could turn them over and

    21          Barnes had not done so.

    22                THE COURT:    If I could backtrack a little bit.

    23          So how many documents have been produced to date

    24          roughly in the Texas action?        Just roughly, roughly.

    25                ATTY. PATTIS:     I don't think a lot.      I think

    26          twelve and a half thousand as of this morning.           There
)
    27          was a glitch yesterday where Texas thought they sent a
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                                                                              22


 1           file, but three thousand of the pages were blank and

 2          this has led to more recriminations.         They intend to

 3           send some thirty thousand more over the weekend or so

 4           I'm told.     I was on a teleconference this morning

 5          where arrangements were made to bring in four lawyers

 6          over the weekend to produce.

 7                And, Judge, what's more, I have been given

 8          assurances that I will be given everything that is

 9           tendered in Texas to tender here.        The problem is the

10           requests here are broader than the Texas requests.

11                THE COURT:     All right.    So if we can, if you

12          don't mind, can you just go through the

13           interrogatories and production requests that you

14          believe you are prepared to comply with at this point?

15                ATTY.    PATTIS:   At this point I think I've made a

16           significant error and poorly served the Jones

17          defendants by not doing rolling discovery.           If I had

18           it to do again --

19                THE COURT:     Well, if you don't mind,      just humor

20          me.   Can we just go through them and just identify

21          which ones you believe -- and I'm not holding you to

22           these exactly, but which ones you believe -- because

23          we're going to be together again on Tuesday.

24                ATTY. PATTIS:      I wanted to seek relief on that,

25          but I'm on trial, Mr. Smith and I, on a jury case.              We

26          were hoping we could be together to discuss this case

27           on the 2nd.     I know you need somebody to cover
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                                                                              23


 1          Halbig's motions on the

 2                  THE COURT:     I do.     I cannot go forward on that

 3          case without somebody -- I just don't want to put

 4          myself in that position.

 5                  ATTY. PATTIS:     I will have an associate here to

 6          be a    (indiscernible), but only Mr. Smith and I really

 7          understand this issue.           So if you need to see us again

 8          on discovery issues, we would request the 2nd.           One or

 9          the other of us can be here.           We expect a verdict by

10          then.

11                  THE COURT:     If you could just run through which

12          interrogatories first.           So there's five

13          interrogatories.        You already told me the answer to

14          number five.     So what about one, two, three and four

15          in the interrogatories?

16                  ATTY. PATTIS:     I will give one --

17                  ATTY. STERLING:        I'm sorry to interrupt, your

18          Honor.     I just want to see which defendant we're

19          talking about.

20                  ATTY. PATTIS:     All five defendants.

21                  ATTY. STERLING:        So all five.   Okay.

22                  ATTY PATTIS:     I will tender all five and then

23          wait for the other side to tell me they think it's

24          insufficient and what I need to do to correct it.

25          That's the error I made.           I thought I should get it

26          all done at once.        I don't typically engage in motion

27          practice.
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                                                                              24


 1                THE COURT:     Well, you're telling me that you,

 2           already looking at them can

 3                ATTY.    PATTIS:   I think it's a waste of time to

 4          waste the Court's time on discovery disputes.           One is

 5           sufficient on its face as worded.        I think it's worded

 6          poorly.     Identify all business in which you have

 7          ownership and/or control.         That speaks to today.       I

 8          don't really think they asked about today.           I think

 9          they meant to ask about a reach-back later.           So my

10          answer is facially satisfactory, but too cute for

11          words.    So I will tender it and let them say, no, we

12          meant later.

13                As to two, there is no one responsible for

14          marketing data, and we stand by that answer.           I'm

15          asking for the information that suggests that they

16          were in touch with Google Analytics.         At this point I

17          don't have it.      I spoke to a person in personnel this

18          week about that.

19                Three,    as to employees, there are none.       I'm

20          prepared to tender that.       The domain names or the URL,

21          whatever they are, those are in here and I can tender

22          that and the answer to witnesses is the same for each.

23          So I can offer those today.

24                THE COURT:     All right.    And the production

25          requests,     out of the sixteen or so,    can you just

26          you don't have to        can you just identify which ones

27          that you would be able to make partial compliance to?
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                                                                                   25


      1                 ATTY. PATTIS:     Yes.   May I have a moment, Judge?

      2                 THE COURT:    Take your time.

      3                 Attorney Sterling, do I have your only copy?

      4                 ATTY. STERLING:     You do.    It's --

      5                 THE COURT:    I'm going to give it back to you.        I

      6          can have

      7                 ATTY. STERLING:     Obviously I have more back at

      8          the office, but it's -- I'm managing.           It's okay.

      9                 ATTY. PATTIS:     Judge, we have received this week

     10          late in the day on the 20th what I was told were sixty

     11          thousand emails.       We've had some difficulty

     12          downloading them that has crashed our system, but as

     13          of this moment,     I have thirty-seven thousand of them

     14          on a hard drive.       There are two issues.      One    well,

     15          there are three issues.         Whether any serious claims of

     16          journalistic privilege are going to be interposed or

     17          not.    But the pressing issue is the attorney-client

     18          privilege.     I was on the phone with Texas counsel.

     19          They are scrubbing to make sure there's nothing

     20          privileged in here.       What we're trying to get them to

     21          do is give us information from the so-called tip line

     22          or confidential informant line.         I'm told that's some

     23          fifty to sixty thousand emails.         And we should be able

     24          to get those and produce them quite quickly.

     25                 As to the topics in one, Sandy Hook is what

     26          crashed our system.       However, there are emails that
_)
     27          are responsive to Newtown, to Adam Lanza, to crisis
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                                                                              26


 1          actors.    There are about eight -- I guess you won't

 2          find it hard to believe.        There are about eighty-nine

 3          hundred of them or more that relate to Wolfgang

 4          Halbig.    And so we've got a number of them.

 5                THE COURT:    Are there any production requests

 6          that you can fully comply with at this point?

 7                ATTY.   PATTIS:   By --

 8                THE COURT:     Except for 18.    I think you told me

 9          18 you were all set on, the communications with any

10          other plaintiffs.

11                ATTY.   PATTIS:   To be honest with you, Judge,       I

12          didn't get what I got from Barnes until Wednesday

13          afternoon.     I was in a court trial until midday

14          yesterday.     It settled abruptly.      And so I have not

15          had a chance to look at what he sent me.          But I know

16          that I'm sitting on at least thirty-seven thousand

17          emails.    And I discussed an additional ten or twelve

18          thousand more.     So I believe that by Monday I can make

19          a showing of thirty to forty thousand emails.

20                The issue that came up in a conference call this

21          morning is whether there are attorney-client

22          privileges.     And because of the exigency in Texas

23          where there's a mandatory timeline, there was a

24          literal discussion about whether to waive the

25          attorney-client privilege so as to comply.           And no one

26          is comfortable with that.        So a series of lawyers are

27          being brought into the Texas firm to at least scan the
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                                                                                27


 1          documents to make sure they're not turning over

 2          privileged material.         So I think I'm close, but the

 3          downside is, if Mr.        Zimmerman --

 4                 THE COURT:    Attorney Pattis, isn't that usually

 5          how it's done in these kind of cases, that there are a

 6          team of young associates or young lawyers or whoever

 7          on the document production --

 8                 ATTY.   PATTIS:    And there has been.         I've spoken

 9          to a young man who spent six days at Mr. Jones'

10          facility

11                 THE COURT:    Early on, though, before your

12          involvement.

13                 ATTY.   PATTIS:    Correct.   And so my -- I have two

14          people who are working full time on this matter right

15          now.    And I can't work on what I'm not given.             So my

16          contention is and my firm belief is, while I'm not

17          happy to be responsible for a file where there is no

18          compliance, but I'm hard-pressed to know what more I

19          could have done.         Perhaps I should not have appeared

20          or I should have waited to file an appearance together

21          with the pro hac vice counsel.            I didn't.     I relied on

22          him.    I know who he is.       I've seen him around.        I've

23          heard about him.         He represented and I was told that

24          he had the client's confidence.           What more should I

25          have done?      I tried to extend a professional courtesy

26          to someone who was apparently less than candid with

27          the client and sandbagged me.
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                                                                                  28


     1                THE COURT:     So besides the search of the emails,

     2          what other document search is ongoing?

     3                ATTY. PATTIS:     I called a person who is involved

     4          in -- so I'm led to believe that the Jones defendant

     5          and related entities employed as many as 75 people,

     6          maybe 77.     I've heard two estimates.      So I have asked

     7          for organizational charts that would help me

     8          understand the difference between one entity and the

     9          other and the relationship.        And I'm told they are

    10          largely -- it's largely informally managed.

    11                One of the issues that remains in dispute, and I

    12          don't know if it's too late to object, they don't want

    13          to give a list of all their employees like janitors,

    14          this and that and everything else because Mr. Jones is

    15          concerned about retaliation against people close to

    16          him for political --

    17                THE COURT:     Well, the objections were already

    18          dealt with, and there is a process in place for

    19          confidentiality issues.       So I suppose with something

    20          like janitors' names,      I got to think that you and

    21          Attorney Sterling could probably reach an agreement as

    22          to how not to publicize those names.

    23                ATTY. PATTIS:     So I have spoken to a human

    24          resources person to begin to get that data together.

    25          I have met with individuals as recently as this

    26          morning close to the Jones organization to try to get
)
    27          to the bottom of all this.        I've been invited down to
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                                                                                       29


     1           do what I need to do,       if I'm given time and need to go

     2           down.     I don't know what more I could have done.          I

     3           genuinely believed that Mr. Barnes had Mr. Jones'

     4           confidence.      It was represented to me by Barnes and

     5           others that he was brought in to manage the litigation

     6           in the various courts.           And I did what a pro hac vice

 7               counsel, or what a person sponsoring counsel does.                I

 8               stood by and took a subordinate role .

 9                       Last week when it was clear that was working to

10              the client's detriment,           I'll be candid,   I consulted my

11              lawyer, who's Willie Dow .          And I described the

12              situation to try to find out what my ethical

13              obligations were.         And he basically said that I was in

14              a very precarious situation.            So I took the steps that

15              I needed to take to protect myself.            And the result is

16              that Mr. Barnes is no longer in the picture, and I am

17              it.     And I'm told I have full responsibility .

18                       THE COURT:   You had mentioned sanctioning you,

19              which I've never done a sanction in sixteen years and

20              I'm sure not going to start now.            But this discovery

21              obligation is not your obligation.            It's the

22              defendant's obligation.           That is -- it's not what you

23              know,    it's not what you don't know.         It is the party's

24              obligation to fully and fairly comply with requests

25              for disclosure and production.           So any sanctions would

26              be to the party here and not to you.

27                      ATTY.   PATTIS:   Well,    except I did err .    I could
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                                                                              30


 1          have done rolling discovery and I regret it now.

 2          That's been the approach in Texas.           Of course, it

 3          hasn't stopped things from --

 4                 THE COURT:    Has that motion to dismiss been

 5          adjudicated yet?

 6                 ATTY.   PATTIS:    No.     My understanding is that a

 7          decision -- and Attorney Sterling can correct me if

 8          I'm wrong -- a decision has to be tendered by June

 9          2nd,   I believe.

10                 THE COURT:    Has it been argued?

11                 ATTY.   PATTIS:    No.     It will be argued in May.

12                 ATTY. STERLING:      No,    your Honor.

13                 THE COURT:    So they're still doing their

14          discovery.

15                 ATTY. STERLING:      They're doing rolling

16          production.      There's a holdup with discovery there, as

17          I understand it.         There was a ruling on the reporter's

18          privilege in which the privilege claim was largely

19          rejected.      And the plaintiffs in that case chose to go

20          forward with Mr. Jones' deposition and the deposition

21          of the corporate designees without documents, which

22          has now become a basis for a motion for sanctions in

23          that case, with them claiming they're prejudiced by

24          having to go forward, which they had to do because the

25          Texas timeline was so tight.

26                 THE COURT:    So, Attorney Sterling,      I've given

27          Attorney Pattis the entire floor the whole time and,
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                                                                              31


 1           of course,     I will give you equal time, but I have to

 2           just tell you what I'm considering at this point so

 3           you can respond to it and Attorney Pattis can respond

 4           to it, as well.      I would like to -- I don't want to

 5           wait until April 2nd.       I would like to address the

 6           issue of whether your motion should be granted with

 7           regard to precluding the motion to dismiss, whether

 8          Attorney Pattis' motion for reconsideration on the

 9          extension of time, whether the Court should reconsider

10          that.     But I would like to see if the landscape is

11          going to change.       If we were to come back Monday or

12          Tuesday and you were to tell me, well,         I got the

13          twelve thousand five hundred documents today and the

14          other thirty thousand documents that were expected

15          over the weekend,      so on Monday I had forty-two

16          thousand five hundred documents and I got the

17          interr o gatory answers under oath and I got production

18          18 and whatever other production requests can be

19          satisfied, that, to me, would change the landscape a

20          little bit, perhaps.        So I think I would rather give

21          the defendants an opportunity to do that and then

22          address your moti o n and address Attorney Pattis'

23          motion.     It doesn't make a difference if it's heard

24          today or heard next week.

25                  ATTY.   STERLING:   Of course, your Honor,    if that's

26          the Court's preference, that's what we'll do.           I mean,

27          I do have some responses to what's been said here
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                                                                              32


 1          today.     I think that there's been a lot of indications

 2          that Attorney Barnes was a bad actor.          I think if the

 3          Court looks back down the timeline, though, December

 4          10th is the date that the Court determined that

 5          discovery would be permitted.        January 10th is the

 6          date that the Court determined the content of the

 7          interrogatories and request for production.           After

 8          January 10th, we were in court on January 23rd,

 9          January 31st, February 14th, and February 21st, and on

10          none of those days did defendant's counsel, who was

11          then Attorney Wolman, say anything about difficulties

12          in meeting a February 25th production date.

13                  THE COURT:   Actually, the deadline was the 23rd,

14          right?

15                  ATTY . STERLING:   I may be mis

16                  THE COURT:   I think you rounded it off.       But

17          that's not a court filing.        That's just discovery

18          responses.     So as far as I'm concerned it was the

19          23rd.

20                  ATTY. STERLING:    Yes.

21                  THE COURT:   Attorney Pattis,     I know you're not

22          responsible for that because that was before you were

23          in the case, but you can see how it's troublesome to

24          the Court because nobody in this room wants to be

25          manipulated.     But when we have a February 23rd

26          deadline and the Jones defendant's counsel is in the

27          courtroom two days before we address,         I believe, the
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                                                                              33


 1           confidentiality order protective order and whatever

 2           other issues were brought to me and I always ask, is

 3           there anything else?       There was never a mention from

 4           the Jones defense counsel that, in fact,        there wasn't

 5           going to be compliance.       So that's the problem.      That

 6          would have been the time .         So can you respond to that?

 7           I know that you're answering for somebody else, but

 8          that's still what the case -- what's been going on,

 9          that's the history.

10                  ATTY.   PATTIS:   So here's all I know based on the

11          interviews that I conducted this week:          Apparently Mr.

12          Zimmerman was not made aware of this data request

13          until sometime well after it was initially tendered.

14          This would have been sometime in January.           Zimmerman

15          has told others that he gave Jones what he had late in

16          February so that when Wolman appeared here on February

17          25th,    I believe he knew that Jones was coming into the

18           (indiscernible), that Barnes was coming into the case,

19          but they were having this dispute about what to do

20          about privacy.       And Wolman would not sign on to the

21          Griswold claim.       And I can't say I blame him.

22                  THE COURT:    All right.

23                  ATTY.   PATTIS:   But I understand what Attorney

24          Sterling says.       The thing that floored me this week,         I

25          requested an affidavit from Zimmerman,         and I was told

26          for the first time this week that strict compliance

27          with everything requested couldn't be done until April
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                                                                              34

 1           15th.     And I had previously requested until April 3rd

 2           myself thinking all this was done.         Now, it may be

 3           that Attorney Sterling and I can work on what she

 4           really means by family members and related people

 5           because if you do the family members and related

 6           people, they've actually searched the web to find out

 7           who these are, that's like four hundred people.            And

 8           if it's going to take twelve hours per search, where

 9           are we going to be and when are we going to get there?

10           I can only tell you what I know.

11                   THE COURT:   All right.     Sorry I interrupted you,

12          Attorney Sterling.         I'm sorry.

13                   ATTY. STERLING:     Just a few more things.    All

14          with the mindset that we're trying to do expedited

15          discovery, and we have pushed hard on our side to be

16          available for expedited discovery.          The Court knows

17          how many times we've been back.          So this is just

18          turning into not expedited discovery, which means that

19          the discovery stay remains in place indefinitely.

20                The other -- and I'm really trying -- I have no

21          interest in casting stones at Attorney Pattis.             I know

22          the Court doesn't either.          So I would like my comments

23          to be understood in that regard.          It was on March 7th

24          that the Court warned both orally and in writing that

25          failure to produce on the 20th would potentially

26          result in denial of the anti-SLAPP.

27                On March 13th, we were back in court and Attorney
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     1           Pattis had indicated that he had advised people who

     2           need to know of the Court's observations.          But not

     3           only that, it was a Court order.        So it was out there

     4           for all to see.     So that is just in and of itself

 5               extremely problematic and the fact that things were

 6              not provided to Attorney Pattis until March 18th.

 7                    The other thing that came up in the course of

 8              this hearing, and, obviously,       I haven't seen any of

 9              the documents that have been referenced by Attorney

10              Pattis, is that Mr. Jones apparently signed his

11              affidavit on March 6th.       The representation from

12              Attorney Wolman was that compliance could be provided

13              on February 25th,     including those interrogatories.

14                    So I'm not in a position to reconcile all these

15              difficulties.      What I can do is point to them and say

16              to the Court,    I understand Attorney Pattis is casting

17              this in the absolute rosiest light, but the record

18              doesn't look rosy.      So I will say one thing about the

19              sanction, and then I understand the Court's preference

20              to proceed on Tuesday, which is that the sanction that

21              we're asking for, which is denial of the anti-SLAPP on

22              a summary basis isn't a sanction on the merits.           It

23              just allows the case to proceed to the merits.           It

24              allows us to do full discovery.        From everything

25              that's been represented, trying to do this discovery

26              on an expedited basis isn't working very well.           This

27              is apparently a production of substantial numbers of
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 1          documents,   if they materialize.      But our case law is

 2          concerned with making sure that a determination on the

 3          merits is what happens, and that denying the

 4          anti-SLAPP would actually help us get to that point

 5          because at this point we're just stalled.

 6                THE COURT:     I'm not going to address that now,

 7          but I've said many times now that that special motion

 8          to dismiss is in jeopardy, but I wouldn't be denying

 9          it.   I would be precluding it.       I wouldn't address the

10          merits of it.

11                But I do want to interrupt you because I would

12          like to address this to Attorney Pattis, as well.            One

13          of Attorney Pattis' comments, which I accept, that he

14          had originally asked for in his extension of time,           I

15          think,   for April 1st now, but when you checked with

16          the person who was doing the forensic examination, or

17          whatever you call it, that that wouldn't even be

18          possible.     It would be April 15th.      So, basically,

19          what the representation is is that it -- it sounds

20          like a solid month to do that forensic audit, or

21          whatever you call it, of the emails.          So I guess what

22          I'm saying in a way that that's probably more

23          difficult and more of a burden than was anticipated

24          that was ever mentioned by anyone at any point,

25          Attorney Wolman, and so forth.        So it might have been

26          impossible -- if it had been done properly, it might

27          have been impossible for the Jones defendant to have
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 1          met that first deadline, given the number of emails

 2          and such.

 3                ATTY. STERLING:      Possible, although, your Honor,

 4          then the question arises, but if they were actually

 5          attempting to do this, why didn't we hear about it

 6          sooner?     It's the first thing I would say if I was

 7          under a deadline like that.        And also with the focus

 8          in this case on how hard we worked to set expedited

 9          deadlines.

10                So I don't really have a response to that at this

11          point, your Honor.      It's very difficult from where I

12          sit because I don't have anything to review.              I don't

13          have a basis to know what's being produced.           I

14          don't -- the representations about what's being

15          searched have shifted over the course of the discovery

16          process.      I just -- is there another way to ask that

17          question of me, your Honor?        I'm not giving a good

18          answer, but I'm not quite sure what the Court's

19          concern is.

20                THE COURT:    Attorney Pattis, can I ask you, what

21          is the like -- you also mentioned the cost involved of

22          doing it.     To be honest, would you like me to be

23          straightforward here?

24                ATTY.   PATTIS:   Yes.

25                THE COURT:    The Jones defendants at this point

26          are coming from a position of weakness.          They've blown

27          past the Court's deadlines.        There hasn't been a
     Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 59 of 190

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 1           single piece of paper or interrogatory answered.               And

 2          now they're saying it's too costly.             Wouldn't the

 3          better approach            or that who's going to pay the

 4          ninety thousand dollars, or whatever it was that you

 5          said.     Wouldn't a better approach be to turn over

 6          immediately the twelve thousand plus documents

 7                  ATTY. PATTIS:       Yes, I intend to.

 8                  THE COURT:     The thirty thousand documents over

 9          the weekend, pay the costs of having your forensic

10          examination of the emails instead of suggesting at

11          thi~ point that the plaintiff should bear that cost,

12          answer the interrogatories that you identified the

13          production requests that you can -- and then change

14          the landscape in a way so there's some good faith.

15          This would be the first step.

16                  ATTY.   PATTIS:    That is entirely on me.      And I

17          wanted to comply fully because, candidly,            I'm busy and

18          I don't want to be involved on a piecemeal basis.

19          That's my personal preference, but I'm not going to

20          get my way here.          So I think you're right.

21                  As to the --

22                  THE COURT:     I'm going to interrupt you again.

23          You are getting your way because nothing were to stop

24          me from ruling on that motion and precluding the

25          special motion to dismiss and just moving on with the

26          case.     So as far as I'm concerned, you did yeoman's

27          work in --
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 1                  ATTY.   PATTIS:   Can I order that piece of the

 2          transcript?

 3                  Can I just respond to one thing?       I think it's

 4          important to notice here that it was the plaintiffs

 5          who have filed this action, and they sat on their

 6          claims for years until it was convenient for them to

 7          strike.     And then we had thirty days      (indiscernible)

 8          We had to file our motion in response.          There's no

 9          case law about the scope of discovery here.           But I

10          don't think the Court really expected that there would

11          be nine point three million emails to search and that

12          searching each data firm one at a time was going to

13          take upwards of six to twelve hours.          So the Jones

14          defendants contend, not that I've seen it with my own

15          eyes,    I'm making representations to you, that they've

16          been at this for weeks.        It's my recommendation that

17          they go to the data firm.        But here's the problem with

18          the data firm:       The data firm can only segregate and

19          locate items.       It can't do a privilege analysis.         So

20          there were several people in my office today.           We were

21          on the phone with people down in "Jonesville", as it

22          were,    trying to identify by rule of thumb items in

23          which there could be no conceivable claims of

24          privilege.      And those should be things that came in

25          through a so-called tip line or attorney-client

26          privilege because at that point that's all I'm focused

27          on.     So I think there are ways to provide it, and I'd
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 1          be happy to do so if given permission.

 2                THE COURT:     I think it's unfortunate that -- and,

 3          again,   I'm not laying blame on your feet because you

 4          weren't even involved, but I went along with the

 5          deadline.     The deadline that I ordered was the

 6          deadline that Attorney Wolman had requested.             So I

 7          gave him what he wanted.         It sounds like you pretty

 8          handily, without much of a struggle, was able to

 9          determine that this was going to be an expensive

10          search, and it was going to involve a lot of

11          documents.     If Mr.   Jones'   first attorney had done what

12          you're doing,    I would have been back probably with

13          everyone maybe on January 30th, at which point I would

14          have been told this is going to be -- it's going to

15          take longer,    it's nine million, or however many

16          emails, but instead what happened -- and I don't want

17          to beat a dead horse -- is that the deadlines were

18          missed and they were like moving targets.           This is

19          It's just --

20                ATTY. PATTIS:     That may explain why there's been

21          a change in counsel.

22                THE COURT:     True.

23                ATTY. STERLING:        Your Honor,   just a few things.

24          Two changes in counsel - - three.          But one is,   I would

25          ask that with regard to the affidavits that Attorney

26          Pattis mentioned today, could we have those submitted?

27                ATTY.   PATTIS:    Yes.
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 1                  ATTY. STERLING:     And with regard to the

 2          plaintiffs and the time we chose to file our

 3          complaint,      I really think this is not the time to try

 4          to turn this on us.

 5                  ATTY.   PATTIS:   Well, it bears noting that - -

 6                  THE COURT:    No colloquy.     Thank you.

 7                  All right.    What else?     Anything today?    So

 8          here's what I don't want to do:            I want to put these

 9          issues to rest one way or the other.           And I had

10          intended to do it today.         I'm happy -- and since I'm

11          the one that actually wanted that, we can do it next

12          week.     But I understand you're not available, Attorney

13          Pattis, on the 26th?

14                  ATTY.   PATTIS:   Well, here's the story:      Mr. Smith

15          and I are trying a case.         The jury has been picked.

16          We do not want to be perceived as dogging this file.

17          Attorney Smith indicates tha he'll be here on Tuesday.

18          I would prefer that he not,        since

19                  THE COURT:    Are you on trial on Monday?

20                  ATTY.   PATTIS:   Yes, all week.

21                  THE COURT:    Monday, too.     Every day?

22                  ATTY.   PATTIS:   Yes.

23                  THE COURT:    Can I ask what town?

24                  ATTY.   PATTIS:   Yes, Middletown.      The case is

25          State vs. Cuson (phonetic spelling).            We expect the

26          case, however, to end that week.            So the following

27          week is easy for us because it only takes one person
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     1          to monitor a jury.         I would prefer to have Mr. Smith

     2          with me, but he'll be here Tuesday if you need him.

     3                THE COURT:     Well,    I think I originally intended

     4          to just deal with Mr. Halbig's issues, but it would be

     5          helpful if we could maybe even do it at nine o'clock

     6          first thing and then you can get right on the road and

     7          get to Middletown.        Quite frankly,   I don't know if you

     8          want to do it here or in Bridgeport, whatever will be

     9          quicker for you.         But I just want to be able to

    10          address at that point to see if there's some consensus

    11          if the landscape has changed at all.          For example,

    12          forty-three thousand documents were given and

    13          interrogatory answers under oath.          I don't want to get

    14          into a situation -- I don't want to get into ex parte

    15          problems.

    16                ATTY.    PATTIS:    Would you consider calling Judge

    17          Suarez in Middletown and ask for an eleven o'clock

    18          start date on Tuesday?         I'd like to be here myself.

    19          I'm the one who's made factual representations to you.

    20          And Mr. Smith will do a great job, but I've taken

    21          responsibility for this.

    22                THE COURT:     Let me just see what time -- so it's

    23          nine o'clock on Tuesday.

    24                Ron,    is that here or in Bridgeport.

    25                THE CLERK:     It's scheduled in Bridgeport.

    26                THE COURT:     All right.     I will do that, but it's
)
    27          in Bridgeport and here's the problem:          I can't really
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 1          change the Tuesday date because I'm concerned about

 2          notice to Mr. Halbig.       And I don't want him going to

 3          the wrong court and the notice said Bridgeport.            So,

 4          you know,     I'm an early bird.    I can -- well,    I can't.

 5           I can't get anybody on the record .       This has to be on

 6          the record, and I can't get a monitor before nine,

 7          but

 8                ATTY.    PATTIS:   We're happy to go to what we refer

 9          to as the devil's backyard or the home court for

10          Koskoff Koskoff & Bieder.

11                Judge,    I have a copy of the affidavits.       I think

12          there was a request that they be filed.

13                THE COURT:     Can you just give me one moment, if

14          you don't mind?

15                ATTY.    PATTIS:   I'm also handing to counsel the

16          March 6th interrogatory responses, expecting to hear

17          back from them.

18                THE COURT:     Your start time with Judge Suarez

19          would otherwise have been ten,       right?

20                ATTY.    PATTIS:   That's my understanding, yes.

21                THE COURT:     So I'm sending this to him right now.

22          So just give me a moment.

23                ATTY. STERLING:      Your Honor, counsel has handed

24          me interrogatory responses that have handwritten on

25          them "confidential'' and "subject to protective order".

26          Is that -- are you claiming them subject to protective

27          order?
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 1                  ATTY. PATTIS:     No.     I'm simply giving -- I'm not

 2          making claims as to this document.           I'm complying with

 3          rolling discovery.        There may be issues as to a

 4          protective order I'm not up to speed on.              What's more,

 5          Judge,    these are facially defective for two reasons.

 6          Mr. Jones signed them, but there's no attestation that

 7          he signed them.       I'll be happy to correct that, as

 8          well.     There's a wrong certification date on it.

 9          These were prepared for my signature without my

10          reviewing them.       But I want to give the other side the

11          information I have and I'll cure these.           But I'm

12          simply giving them what I have to try to tilt the

13          playing field.

14                  ATTY. STERLING:     But I'm asking just a very

15          specific question, which is, are you claiming they are

16          subject to the protective order because they say

17          confidential and subject to protective order.              That

18          affects whether I can file them in court under seal or

19          not.

20                  THE COURT:    My client wishes that they be so,           so

21          I'm making that claim,          yes, on his behalf.

22                  ATTY. STERLING:     Okay.

23                  ATTY.   PATTIS:   But with reservations.        I'd prefer

24          to wait until I had a chance to get to the bottom of

25          it myself, but I don't want to (indiscernible) .

26                  ATTY. STERLING:     So the claim --

27                  THE COURT:    These are just the interrogatories
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 1          you're talking about.

 2                ATTY. STERLING:     Yes, your Honor.

 3                THE COURT:     I think what I was anticipating when

 4          I saw you on Tuesday was hopefully new answers under

 5          oath with proper -- answers that fully and fairly

 6          comply with the interrogatories.

 7                ATTY.   PATTIS:   I'll take care of that.

 8                ATTY. STERLING:     So I'm handing them back to

 9          counsel.      I don't have them now.

10                THE COURT:     All right.

11                ATTY.   PATTIS:   I have retrieved them.       Thank you

12          for the courtesy, Attorney Sterling.

13                THE COURT:     All right.    So I'm sure Judge Suarez

14          will get back to me, unless he's out today.           As soon

15          as he does,     I will tell Mr. Ferraro and he will let

16          you know, but hopefully we can go that way.           I think

17          if it works out, we can start right at nine.           We'll

18          make it our business to be done in a half an hour.

19          Mr. Ferraro tells me that Mr. Halbig has indicated to

20          him that he doesn't plan on attending.          So I'm still

21          going to go forward with the disqualification conflict

22          issue.     So it probably will not take long with respect

23          to Mr. Halbig's motions.       So it will probably just be

24          addressing this, but I don't want to get into Mr.

25          Halbig's case at all because I don't want to be

26          getting into any of the substance,        just the

27          scheduling.
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 1                ATTY. STERLING:     Yes.   With regard to scheduling,

 2          your Honor,     since we understand that Mr. Halbig

 3          intends not to be present, or at least that's the

 4          representation now, would the Court want argument on

 5          the plaintiff's side -- I assume not -- with regard to

 6          the motion to dismiss and motion for change of venue?

 7                THE COURT:     I'm not going to address any of his

 8          motions if he's not there.        I placed it down for the

 9          hearing on the conflict disqualification,         and that I

10          need to do for the record.        So that's what I plan on

11          doing on that date.

12                Okay.     Anything else today?     So I will see you

13          hopefully Tuesday at nine and have a wonderful

14          weekend.      And we are adjourned.

15                 (Court was adjourned.)

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                                                                         47


NO: XO6 UWY CVlS-6046436-S:          NO: XO6 UWY CVlS-6046437-S

ERICA LAFFERTY                       WILLIAM SHERLACH

V                                    V

ALEX EMRIC JONES                     ALEX EMRIC JONES

*   *    *   *   *   *   *   *   *

NO: XO6 UWY CVlS-6046438-S:           SUPERIOR COURT

WILLIAM SHERLACH                      JUDICIAL DISTRICT OF WATERBURY

V                                    AT WATERBURY

ALEX EMRIC JONES                     MARCH 22, 2019

*   *    *   *   *   *   *   *   *

                         C E R T I F I C A T I O N



        I hereby certify the foregoing pages are a true and

correct transcription of the audio recording of the

above-referenced case, heard in the Superior Court, Judicial

District of Waterbury, at Waterbury, Connecticut, before the

Honorable Barbara N. Bellis, Judge, on the 22nd day of March,

2019.

        Dated this 27th day of March, 2019, in Waterbury,

Connecticut.




                                            Patricia Sabol

                                            Court Monitor
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               EXHIBIT B
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                                                                        Jay Marshall Wolman, JD
                                                                     Licensed in CT, MA, NY, DC




                                                                                24 June 2021

Via Email Only

Christopher Mattei
<cmattei@koskoff.com>

Matthew Blumenthal
<mblumenthal@koskoff.com>

Alinor Sterling
<asterling@koskoff.com>


       Re:       June 28, 2021 | Deadline for Production of Google Analytics

Dear Counsel,

As discussed today, and as you are aware, the deadline for production of the Google
Analytics is on June 28, 2021. The full dataset cannot be produced as an export, which
thus means the only method of production is by live access to the dataset for your
inspection. And, the Court previously declined to order us to provide you with a log-in. As
a result, the only method for your inspection is the sandbox approach referenced during
today's deposition. I recall previously making this offer to you, either during a telephone
conversation or during the June 2 hearing (the transcript of which we are requesting to
verify), but was not memorialized in writing and which Attorney Mattei did not recollect.

This method of inspection is akin to traditional paper discovery, where the requesting party
is let into the storeroom of documents organized as kept in the ordinary course of business.
You will have full liberty to run whatever searches Google Analytics permits and have full
access to inspect the dataset. We envision two possible ways for this sandbox approach-
-we can provide you with a TeamViewer access to a Free Speech Systems computer
connected to the Google Analytics or we can meet you at an agreed-upon location with
a clean, new computer, where we will log-in the computer during the period of your
inspection.

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                  100 Pearl Street, 14th Floor, Hartford, Connecticut 06103
                            jmw@randazza.com | 702.420.2001
Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 71 of 190
Randazza Legal Group
Page 2 of 2




Let us know which approach you prefer so that we can know if we are to meet up with
you on or before the 28th.

Thank you for your attention to this matter.

                                               Sincerely,



                                               Jay M. Wolman
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               EXHIBIT C
    Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 73 of 190




                             KOSKOFF KOSKOFF & BIEDER PC
June 25, 2021

Jay Marshall Wolman, Esq.
100 Pearl Street, 14th Floor
Hartford, CT 06103

       Re:      Erica Lafferty, et al. vs. Alex Emric Jones, et al.

Attorney Wolman:

I write in response to your letter, dated June 24, 2021, concerning data contained in your client’s
Google Analytics software application.

Dming yesterday’s deposition of Free Speech Systems’ corporate designee, you raised for the first
time that your client is not prepared to produce its Google Analytics data by June 28 as the Court
directed. You had not previously raised this issue with anybody in our office.

As it stands, your client is required to produce that long overdue data by June 28 in accordance
with the Court’s Order, dated June 2, 2021 (DN 348.10).

We do not agree with your statement that the Google Analytics “cannot be produced as an export.”
Your position is not consistent with information you provided to the Court on June 2, 2021, nor is
it consistent with our understanding of Google Analytics’ capability.

Finally, your proposal is not acceptable in any way. You propose to retain sole possession of the
data the Court has ordered produced. You propose to permit us to view the data for a limited period
of time under conditions you set. You propose to observe us dming the period of time we have
access to the data in a manner that would allow you to retain a record of our activity.

You proposed this on the evening of Thursday, June 24, and ask that we make ourselves available
on or before Monday, June 28.

We expect complete production of the Google Analytics data in compliance with the Court’s
orders.

Sincerely,



        1
Christopher M. Mattel
                  350 Fairfield Avenue, Bridgeport, CT 06604 | 203.336.4421   www.koskoff.com
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               EXHIBIT D
Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 75 of 190


                                                                         Jay Marshall Wolman, JD
                                                                      Licensed in CT, MA, NY, DC




                                                                                 25 June 2021

Via Email Only

Christopher Mattei
<cmattei@koskoff.com>

       Re:       Lafferty v. Jones | Google Analytics

Dear Attorney Mattei:

To be clear, there is no inconsistency. As set forth on June 2, to export the raw data, one
must be an Analytics 360 member, i.e. a premium member. Free Speech Systems is not an
Analytics 360 member, therefore it is impossible for it to export the data. As further offered
on June 2, if Plaintiffs wish to make Free Speech Systems an Analytics 360 member, they
have been welcome to do so. This offer was made on the record. Plaintiffs have declined
this manner of production so far.



                                               Sincerely,



                                               Jay M. Wolman



cc:    mblumenthal@koskoff.com, asterling@koskoff.com




                   100 Pearl Street, 14th Floor, Hartford, Connecticut 06103
                             jmw@randazza.com | 702.420.2001
Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 76 of 190




               EXHIBIT E
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   NO: UWY-CV18-6046437 S               :   SUPERIOR COURT
   SHERLACH, WILLIAM                    :   JUDICIAL DISTRICT
                                            OF FAIRFIELD
   v.                                   :   AT BRIDGEPORT, CONNECTICUT
   JONES, ALEX, ET AL.                  :   MAY 7, 2019
   NO: UWY-CV18-6046438 S               :   SUPERIOR COURT
   LAFFERTY, ERICA, ET AL.              :   JUDICIAL DISTRICT
                                            OF FAIRFIELD
   v.                                   :   AT BRIDGEPORT, CONNECTICUT
   JONES, ALEX EMRIC, ET AL.            :   MAY 7, 2019
   NO: UWY-CV18-6046436 S               :   SUPERIOR COURT
   SHERLACH, WILLIAM, ET AL.            :   JUDICIAL DISTRICT
                                            OF FAIRFIELD
   v.                                   :   AT BRIDGEPORT, CONNECTICUT
   JONES, ALEX EMRIC, ET AL.            :   MAY 7, 2019


               BEFORE THE HONORABLE BARBARA N. BELLIS, JUDGE

   A P P E A R A N C E S :
      Representing the Plaintiffs:
           ATTORNEY CHRISTOPHER MATTEI
           ATTORNEY ALINOR STERLING
           Koskoff, Koskoff & Bieder, PC
           350 Fairfield Avenue
           Bridgeport, CT 06604
       Representing the Defendants Alex Jones; Infowars, LLC; Free
       Speech Systems, LLC; Infowars Health, LLC; and Prison Planet
       TV, LLC:
           ATTORNEY KEVIN SMITH
           Pattis & Smith, LLC
           383 Orange Street
           1st Floor
           New Haven, CT 06511

       Representing the Defendant Cory Sklanka:
           ATTORNEY KRISTAN JAKIELA
           Regnier, Taylor, Curran & Eddy
           100 Pearl Street
           14th Floor
           Hartford, CT 06103
       Representing the Defendant Midas Resources, Inc.:
           ATTORNEY COLLEEN VELLTURO
           Wilson Elser Moskowitz Edelman & Dicker
           1010 Washington Boulevard
           Stamford, CT 06901


                                        Recorded By:
                                        Colleen Birney
                                        Transcribed By:
                                        Colleen Birney
                                        Court Recording Monitor
                                        1061 Main Street
                                        Bridgeport, CT 06604
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                                                                          1


1                 THE COURT:     Lafferty v Jones.

2                 ATTY. MATTEI:     All here, Your Honor.

3                 THE COURT:     All right.    Just why don’t you come

4            on up and identify yourselves for the record, please.

5                 ATTY. STERLING:     Good morning, Your Honor;

6            Alinor Sterling, Koskoff, Koskoff & Bieder, for the

7            plaintiffs.

8                 ATTY. MATTEI:     Good morning, Your Honor; Chris

9            Mattei for the plaintiffs.

10                ATTY. JAKIELA:     Good morning, Your Honor;

11           Kristan Jakiela, Regnier Taylor, on behalf of Cory

12           Sklanka.

13                ATTY. SMITH:     Good morning, Your Honor; Kevin

14           Smith for the Jones defendants.

15                ATTY. VELLTURO:     Good morning, Your Honor;

16           Colleen Vellturo for Midas Resources.

17                THE COURT:     All right.    So tell me what motions

18           need to be adjudicated today.       And I do want to just

19           state for the record what is probably clear to

20           everyone at this point.      I had said a few times that

21           I thought that there was substantial enough

22           compliance.    So in effect I have really extended --

23           had extended the deadlines for the defendant to

24           comply.    So that would be my ruling, just for the

25           record, on the issue of the additional time to

26           comply.    I understand it’s not necessarily 100

27           percent complete compliance, but I think I’ve seen
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1            enough of it at this point to afford the defendants

2            the opportunity to pursue their special motion to

3            dismiss.

4                 So tell me what needs to be adjudicated today,

5            which filings.

6                 ATTY. MATTEI:     Okay.    Your Honor, we have docket

7            entry 223.     These, I believe, are from the Lafferty

8            docket.    223, that is the Jones defendants’ motion to

9            compel compliance, which I think we can deal with

10           pretty quickly.     The 227, which is our motion to

11           compel compliance.     I believe the Court addressed 234

12           at the last hearing.        We filed 235, which is ready

13           for adjudication.     And we also filed 236, which I

14           think given the Court’s ruling that you just stated

15           and your ruling on 234, we probably have resolved the

16           issues there.

17                THE COURT:     So why don’t we take up first the

18           issue -- 223 and the privilege log issue.

19                ATTY. SMITH:     Yes, Your Honor.     Your Honor, we

20           provided a privilege log to the plaintiffs and I

21           believe that Attorney Mattei and Attorney Pattis had

22           a discussion this morning that I was told about on my

23           way here, which I think resolves the issue, if I

24           understand the agreement.

25                THE COURT:     Okay.

26                ATTY. MATTEI:     Yes, Your Honor.     Attorney Pattis

27           and I spoke.     He agreed, and I hope this is what he
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1            conveyed to Attorney Smith, that the motion to compel

2            compliance can be -- is now moot.         They submitted a

3            privilege log.    To the extent the plaintiffs wish to

4            claim a waiver, it would be now on us to file a

5            motion to compel disclosure.

6                 THE COURT:     All right.    Okay.   So I can cross

7            that off the list.

8                 ATTY. SMITH:     That’s my understanding, Your

9            Honor.

10                THE COURT:     All right.    Then what’s the next

11           matter that’s ready to be adjudicated?         227 is it?

12                ATTY. MATTEI:     That’s correct, Your Honor.

13                THE COURT:     And is there a corresponding

14           objection?

15                ATTY. MATTEI:     I believe that was filed last

16           night.

17                ATTY. SMITH:     Yes, Your Honor.     Attorney Pattis

18           filed last evening a response to --

19                THE COURT:     That’s 239, right?

20                ATTY. SMITH:     Yes.

21                THE COURT:     And plaintiffs have had an

22           opportunity to read that?

23                ATTY. MATTEI:     Yes, Your Honor.

24                THE COURT:     And have you had an opportunity to

25           have any discussions after the filing of Attorney

26           Pattis’s objection last night?

27                ATTY. MATTEI:     I spoke with Attorney Pattis in -
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1            - in general about it.      My understanding as far as

2            the metadata issue, which I thought we had resolved

3            last week.    I defer to Kevin Smith on whether they’re

4            renewing the objection to that.       But as I understood

5            it, Attorney Pattis said that if the Court is

6            inclined to require them to produce metadata

7            associated with the documents they’ve already

8            produced, that it would take two weeks to do that.

9            My understanding is that on that issue, we were

10           coming back here today just so they could tell us how

11           long it would take.

12                THE COURT:     I -- that was my understanding as

13           well that today we were going to address how long it

14           would take to produce the metadata because I was of

15           the opinion that the metadata should be produced.

16                ATTY. SMITH:     Understood, Your Honor.      And I

17           think that Attorney Pattis in his filing here

18           believes that we have produced what is reasonably

19           usable, which is what the Practice Book calls for.           I

20           indicated to Attorney Pattis what the Court’s

21           inclination was.     And so you will also note that in

22           our response we said if the Court is going to order

23           that, then we would request an additional two weeks

24           to be able to produce that.

25                THE COURT:     So ordered.

26                All right.     Next?

27                ATTY. MATTEI:     Your Honor, in our motion we next
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1            asked that the defendants clarify the source of

2            production for the documents they have produced.             You

3            may remember that at an earlier hearing, we raised

4            this issue --

5                   THE COURT:   Well, I just want to back up for a

6            minute.     You’re asking for something more than the

7            Practice Book requires.      Practice Book requires,

8            right, the production to be made by the party making

9            the production.     You’re now asking for more details -

10           -

11                  ATTY. MATTEI:   No.

12                  THE COURT:   -- where the person who’s making the

13           production got the information from?        No?

14                  ATTY. MATTEI:   No, not at all.     What we’re

15           asking for is clarification as to which defendant has

16           produced the documents, because what they’ve -- the

17           current state of the record is that they’ve said all

18           the Jones defendants have produced all the documents.

19               But they’ve also said that every Jones defendant

20           other than Free Speech Systems is dormant and active

21           and has no function.     And so we are left with

22           inconsistent representations about which defendants

23           have produced documents.      We believe that the reality

24           is that only Free Speech Systems has produced any

25           documents to us and that the other Jones entities

26           haven’t produced any documents.       The problem is that

27           they filed responses to our request for production
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1            saying that they all have.

2                  THE COURT:     Well, I think that if the -- if the

3            responses to the request for production are -- if

4            that’s the representation, the interrogatories are

5            signed off and the responses to the requests for

6            production have been made by the parties, then I

7            think that’s your answer right there.        Whether you

8            agree that it was properly done is a different issue.

9             But then you’ve got to cue that up somehow.          But I

10           mean, when -- when it’s filed on behalf of a party,

11           if you’re now wanting to dig deeper, then you have to

12           dig deeper another way.      But you’ve already given me

13           the answer, which is they’ve indicated who’s filed

14           it.   You may disagree with it, but --

15                 ATTY. MATTEI:     Except that I think they made

16           different -- other representations in court orally.

17           And so if they want to proceed on that basis, it’s

18           going to make the depositions a little bit more

19           difficult.     But we were just hoping to have some

20           clarification on that issue.

21                 ATTY. SMITH:     Your Honor, I would stand by our

22           filing.   That’s -- we’ve taken the same position as

23           the Court.

24                 THE COURT:     I think -- I think you stand by the

25           filing.   If things were said differently in court,

26           then, you know, you can certainly inquire at the

27           depositions.    But I think that what really is -- has
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1            more value is what was actually produced and signed

2            off on.   So if the indication was that all these

3            defendants have signed off and produced the

4            documents, then that’s -- that’s what you go on.

5                 ATTY. MATTEI:     Very well, Your Honor.

6                 THE COURT:     Okay.

7                 ATTY. MATTEI:     The next has to do with the

8            manner of production.       And this is I think closely

9            related to the metadata issue.       Just so Your Honor is

10           aware, so we’ve received tens of thousands of

11           documents, some of which are bate stamped, some of

12           which are not.    The Practice Book requires that

13           materials be produced in a reasonably usable format.

14                THE COURT:     Right.

15                ATTY. MATTEI:     The biggest issue we see and the

16           one that may, I think, tease it out most clearly is

17           that they produced emails to us.        The face sheets of

18           those emails clearly show an attachment was

19           associated with the original email, but the

20           attachment has not been produced with the email

21           itself.   And so we don’t know whether we’ve received

22           any attachment.     It may -- an attachment to the email

23           may be part of the production, but if it’s -- if it’s

24           not conveyed to us in a way where we can associate it

25           with the email, it’s completely unusable to us.          And

26           so what we’re asking is for a more rational

27           production that we can actually make sense of.
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1                  THE COURT:     That doesn’t seem like an

2            unreasonable request.        How can you accommodate that?

3                  ATTY. SMITH:    Your Honor, I believe, as Attorney

4            Mattei alluded to, that will probably be resolved by

5            virtue of getting everything in the native format

6            with the metadata.

7                  THE COURT:     All right.

8                  ATTY. SMITH:    So I think that will fold into

9            that.

10                 THE COURT:     Let’s -- okay.    Let’s proceed on

11           that with that hope, okay?

12                 ATTY. MATTEI:    Thank you, Your Honor.

13                 THE COURT:     Okay.

14                 ATTY. MATTEI:    The next issue has to do with Mr.

15           Jones’s signed interrogatory responses that Attorney

16           Pattis described for the Court and which have not

17           been produced, because Attorney Pattis at the time

18           said I’m not -- I’m not satisfied with these; I’m

19           going to produce other interrogatory responses, which

20           I believe that they have.        But the record as it

21           stands right now is that Mr. Jones, a party to the

22           case, signed interrogatory responses that have not

23           been produced to us.

24                 THE COURT:     Okay.    So here’s -- this is news to

25           me.     So here’s what I would say on that.      I now

26           retract my prior comments that there has been

27           substantial compliance, good-faith, substantial
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1            compliance because any interrogatory responses --

2            anything that’s been produced without the client’s

3            signature is really meaningless.         And I say that

4            every day in every case.         So the product -- the

5            responses need to be signed off by the party or

6            they’re -- so tell me how you’re going to solve that

7            problem.

8                   ATTY. SMITH:     Well, Your Honor, I think that

9            that’s not what Attorney Mattei is representing here.

10            What Attorney Mattei is representing, and Your Honor

11           may recall, when we were in Waterbury --

12                  THE COURT:     No, I do.    I don’t want to -- do you

13           agree or disagree that the responses have not been --

14           it’s just the interrogatory responses that need to be

15           signed, not the production.

16                  ATTY. MATTEI:     No.    What I’m saying, Your Honor,

17           is that earlier in the discovery process, Mr. Jones

18           apparently completed --

19                  THE COURT:     No.     I don’t want to -- I don’t want

20           to revisit that.       I’m just trying to figure out if

21           there’s consensus or not.         So the interrogatory

22           responses, have you received them signed by Mr.

23           Jones?

24                  ATTY. MATTEI:     We’ve received a version of it,

25           yes.

26                  THE COURT:     Okay.    The current version, the

27           update -- supplemental, current version has -- so I’m
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1            getting -- Attorney Smith --

2                 ATTY. SMITH:     Yes, Your Honor.

3                 THE COURT:     -- is saying they have been signed.

4                 ATTY. MATTEI:     Correct.

5                 THE COURT:     So we have -- so you have signed

6            interrogatories.

7                 ATTY. MATTEI:     We do have them, yes, a version

8            of them.

9                 THE COURT:     Okay.

10                ATTY. MATTEI:     What we don’t have is the version

11           that Mr. Jones previously signed that Attorney Pattis

12           has described for the Court and which were responses

13           to our request for production, they simply declined

14           to produce them.

15                THE COURT:     I don’t see why they have to.       They

16           don’t -- they can -- not have to produce.         If they --

17           if they’re working with their client and they have a

18           set of -- first of all, I thought it was just

19           interrogatory responses that got signed, not

20           production.

21                ATTY. MATTEI:     Correct.

22                THE COURT:     Okay.

23                ATTY. MATTEI:     But what we asked for in our

24           request for production and which the Court authorized

25           were statements like those Mr. Jones made in his

26           interrogatories, which he signed.        So in essence what

27           we have is we have a party who has made a signed
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1            statement about matters at issue in this case which

2            are responsive to requests for production that have

3            not been produced.

4                 THE COURT:     Well, you’re arguing that it’s a

5            signed statement, and I actually don’t agree with

6            that.   I think that people can work with their

7            clients, have signed versions of interrogatory

8            responses, and if they decide not to let it go any

9            further, they don’t have to produce it.         I don’t

10           think that signing interrogatory responses makes it a

11           statement under the Practice Book.        So if he decided

12           that he did not think that those were sufficient

13           discovery responses and wants to rip it up and throw

14           it in the garbage, I don’t think there’s anything

15           wrong with that.     I think that’s a normal practice if

16           you don’t think that this -- just pulling on my own

17           practice, I would get responses back from my client

18           signed, and I would look at them and I would say I’m

19           not going to turn these over because this is

20           insufficient or whatever.      So I would start a new

21           version.    And then when I was satisfied that the

22           party had met their obligations under the Practice

23           Book and that nothing was misleading or omitted, then

24           I would produce the interrogatory responses.

25                You’re pretty much saying that that’s a

26           statement of Mr. Jones and should be produced, and I

27           disagree.    So if those were not proper answers, then
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1            he can rip them out and throw them out as far as I’m

2            concerned.

3                 ATTY. MATTEI:     Thank you, Your Honor.

4                 THE COURT:     Okay.   What else?

5                 ATTY. MATTEI:     The employee chart.      We were

6            provided with an employee chart in response to our

7            request for production that -- and which the Court

8            authorized, required a listing of all employees from

9            December 14th, 2012, to the present.       What we

10           understand is that they provided us with a list of

11           current employees, not a list that covers the

12           required time period.

13                THE COURT:     Okay.

14                ATTY. MATTEI:     And so what we’re asking for is

15           an update --

16                THE COURT:     Attorney Smith, do you agree or

17           disagree that that’s what was produced?

18                ATTY. SMITH:     I think, Your Honor, as far as I

19           understand, it is not going back entirely to 2012.

20           We have taken that back to the clients and said we

21           need the following.     And in our written response

22           here, Attorney Pattis indicates one week.         I believe

23           that might be an error.      I think he probably meant

24           two weeks given that we’re trying to get the metadata

25           and all that within that time period.        But whatever

26           the Court orders --

27                THE COURT:     How long -- how long is the list of
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1            employees to date?

2                    ATTY. SMITH:     The --

3                    THE COURT:     Roughly.

4                    ATTY. SMITH:     -- the list --

5                    THE COURT:     Just roughly.

6                    ATTY. SMITH:     Right.   So presently the list is

7            like 80 of present employees.          And so I don’t know

8            exactly how much there would be in that going back to

9            2012.     But we expect that that would be produced in

10           the course of doing this data dump for all the

11           metadata.

12                   THE COURT:     Does that make a difference, a week

13           or two?

14                   ATTY. MATTEI:     Well, on this one it does because

15           we have depositions scheduled for next week.

16                   THE COURT:     It’s got to be done in advance of

17           the depositions.        That’s the problem.   I mean, as you

18           can imagine.

19                   ATTY. SMITH:     I can imagine, Your Honor.

20                   THE COURT:     So what do you suggest?    When is the

21           deposition that you need it for?

22                   ATTY. MATTEI:     The first is scheduled for the

23           15th.

24                   THE COURT:     So that’s next -- a week from

25           tomorrow.

26                   ATTY. SMITH:     Yes.

27                   THE COURT:     So I think you’ve got to do it in a
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1            week, at least give them 24 hours beforehand.          Okay?

2                 ATTY. SMITH:     Yes, Your Honor.

3                 THE COURT:     All right.

4                 ATTY. MATTEI:     The sixth item I think has been

5            resolved by Attorney Pattis’s response.

6                 THE COURT:     All right.

7                 ATTY. MATTEI:     And I think that that’s it with

8            respect to that motion, Your Honor.

9                 THE COURT:     All right.    What do you have next?

10           Or what do any of the defendants have that needs to

11           be adjudicated?

12                ATTY. MATTEI:     So this is number 5, Your Honor.

13            This has to do with their responses to requests for

14           production relating to marketing a business

15           materials.    In their response on file with the court,

16           what they’ve said is we have no records relating to

17           marketing specific to the Sandy Hook massacre.          The

18           request for production is much broader than that.

19           And in their filing today they’ve clarified that we

20           have no -- you have all the marketing materials of

21           any kind that are responsive to this request.

22                I guess what we’d ask is that the request for

23           production be updated to reflect that, just as you

24           had them do previously.      And the reason that’s

25           important is because we’ve reviewed the --

26                THE COURT:     I agree that it should be updated.

27           I don’t think that’s burdensome to update it and then
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1            there can be no confusion.

2                 ATTY. MATTEI:     Yeah.

3                 ATTY. SMITH:     To -- to update as regards to

4            marketing and the analytics, Your Honor?

5                 THE COURT:     Right.     Because the --

6                 ATTY. SMITH:     If we have some, yes.      As a -- to

7            this point, we have provided everything.         And then I

8            think that --

9                 THE COURT:     Right.     But I think that you just

10           need to update the production response to indicate

11           that.

12                ATTY. MATTEI:     That’s correct.

13                THE COURT:     That’s it.    That’s not burdensome.

14           Just so there can be no confusion.        All right.    What

15           else does the plaintiff have?

16                ATTY. MATTEI:     That’s it, Your Honor.

17                THE COURT:     Okay.    What do the defense have?       I

18           did read Attorney Pattis’s comments about having

19           regular status conferences.       And listen, I’m happy to

20           have them never or as often as you need them to keep

21           you on track.     So I defer -- I’ve deferred to the

22           group of you every time.       I will tell you, every time

23           you’ve come here, we have needed to tackle these

24           issues.   So what’s the thought now about the next

25           time we have to reconvene?

26                ATTY. SMITH:     I suspect it should be after the

27           depositions.    So I would say maybe two weeks, three
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1            weeks, whatever --

2                 ATTY. MATTEI:     I think that’s right, Your Honor.

3                 THE COURT:     Okay.   So I leave it to you.      If,

4            again, if you want to do it in Waterbury where the

5            case is now pending, look for a Monday or Friday.

6            Otherwise, a Tuesday, Wednesday, or Thursday here.

7            And honestly, I don’t care where you do it; whatever

8            works for everyone’s schedule is fine with me.

9                 All right.     Is that it for today?

10                ATTY. MATTEI:     Thanks, Judge.

11                ATTY. SMITH:     Yes, Your Honor.

12                THE COURT:     All right.    Good luck.

13

14                                  *****

15                (END OF TRANSCRIPT)

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        NO: UWY-CV18-6046437 S                       SUPERIOR COURT
        SHERLACH, WILLIAM                            JUDICIAL DISTRICT
                                                    OF FAIRFIELD
        V.                                          AT BRIDGEPORT, CONNECTICUT
G       JONES, ALEX, ET AL.
        NO: UWY-CV18-6046438 S
                                                    MAY 7, 2019
                                                     SUPERIOR COURT
        LAFFERTY, ERICA, ET AL.                      JUDICIAL DISTRICT
                                                    OF FAIRFIELD
        v.                                          AT BRIDGEPORT, CONNECTICUT
        JONES, ALEX EMRIC, ET AL.                   MAY 7, 2019
        BBflBBBBBaaBBBBiiaBaBBBBaBBBBBBBflBflBaBBaBaaBaaBaaaBBaaBBBBBBaBaBBflBBBBBBflBB
        NO: UWY-CV18-604 64 36 S                    SUPERIOR COURT
        SHERLACH, WILLIAM, ET AL.                   JUDICIAL DISTRICT
                                                    OF FAIRFIELD
        v.                                          AT BRIDGEPORT, CONNECTICUT
        JONES, ALEX EMRIC, ET AL.                   MAY 7, 2019




                                CERTI FICATION




                 I hereby certify the foregoing pages are a true and
        correct transcription of the audio recording
                                            %
                                                     of the above-
        referenced case, heard in Superior Court, Judicial District of
        Fairfield, at Bridgeport, Connecticut, before the Honorable
        Barbara N. Beilis, Judge, on the 7th day of May, 2019.




                 Dated this 17th day of May, 2019, in Bridgeport,
        Connecticut.


                                                 V.
                                                      lleen Birhey U
                                                      urt Recording Monitor



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               EXHIBIT F
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         Redacted Pursuant to
           Protective Order
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               EXHIBIT G
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         Redacted Pursuant to
           Protective Order
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               EXHIBIT H
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DKT NO:    X06-UWY-CV18046436-S       :   COMPLEX LITIGATION

ERICA LAFFERTY                        :   JUDICIAL DISTRICT WATERBURY
v.                                    :   AT WATERBURY, CONNECTICUT
ALEX EMRIC JONES                      :   JUNE 2, 2021


DKT NO: X06-UWY-CV186046437-S

WILLIAM SHERLACH
V.
ALEX EMRIC JONES


DKT NO:    X06-UWY-CV186046438-S

WILLIAM SHERLACH
V.
ALEX EMRIC JONES




                          STATUS CONFERENCE

          BEFORE THE HONORABLE BARBARA N. BELLIS, JUDGE




A P P E A R A N C E S :


   Representing the Plaintiff (s):
     ATTORNEY CHRISTOPHER MATTEI
     ATTORNEY ALINOR STERLING

   Representing the Defendant (s):
     ATTORNEY JAY MARSHALL WOLMAN for the defendant Alex Jones



                                      Recorded and Transcribed by:
                                      Debbie Ellis
                                      Court Recording Monitor
                                      400 Grand Street
                                      Waterbury, CT 06702
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 1                   THE COURT:   Good morning everyone.     We're on the

 2            record in the Lafferty versus Jones matter.         So I'm

 3            going to ask counsel for the plaintiffs first to

 4            identify themselves for the record.

 5                   ATTY. STERLING:   Good morning, your Honor.       Alinor

 6            Sterling from Koskoff Koskoff and Bieder for the

 7            plaintiffs.    And with me today is my law partner Chris

 8            Mattei.

 9                   THE COURT:   All right.   Good morning.     And for the

10            Jones defendant.

11                   ATTY. WOLMAN:   Good morning, your Honor.      This is

12            Jay Wolman of Randazza Legal Group for Alex Jones, Free

13            Speech Systems Infowars, Infowars Health and Prison

14            Planet TV.

15                   THE COURT:   Thank you.

16                   And I know we did hear from counsel for Genesis

17            and we informed them that they were not required to

18            participate since the matter today did not involve them

19            and I think they are not participating.

20                   So we are on the record with respect to the RFA

21            for motion for protective order entry number 348.          So I

22            did read everything.     I have the protective order at

23            348.   I have the plaintiffs June 1st --

24                   ATTY. WOLMAN:   You still with us?

25                   THE COURT:   I'm still here.    The camera is a

26            little shaky.

27                   June 1st objection and then we have June 2nd
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 1            objection.    Attorney Ferraro, maybe you can help me.

 2            Thank you.    Attorney Ferraro is the jack of all trades

 3            here.    He fixes it all.

 4                    And then I have the supplemental objection that

 5            was filed today.     So my first question is, Attorney

 6            Wolman, have you had an opportunity to review that

 7            supplemental objection?

 8                    ATTY. WOLMAN:   I did review it this morning, your

 9            Honor, and I don't believe that it necessarily means

10            what the plaintiffs imply it means.

11                    THE COURT:   Okay.    I just want to make sure that

12            you reviewed it.     I guess I want to make sure that I

13            didn't miss anything.        Those are the filings.   And I

14            understand you put it down as an emergency motion.

15                    I think I pointed out in the past that when -- and

16            I expect that on occasion we will have very time

17            sensitive things and I appreciate the fact that an RFA

18            was filed, but I think what I had said in the past too

19            if you really have something that's urgent, you're

20            worried about missing a deadline or something, to also

21            e-mail Attorney Ferraro as that e-mail will get right

22            to him and it'll be even more responsive.         Although I

23            do think he was very responsive with this.

24                    So in the future certainly file your RFA but if

25            you are really looking for a quick ruling, also e-mail

26            Attorney Ferraro and copy each other on it obviously.

27            So I understand that you want a ruling on this.          You're
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 1            not looking to file a reply?

 2                  ATTY. WOLMAN:    Correct, your Honor.

 3                  THE COURT:    Okay.   I don't really need argument on

 4            it.   It was all pretty self-evident.       The only thing

 5            that I would ask for argument on is the issue that was

 6            just raised today in the supplemental objection with

 7            respect to the discussions in February and March of

 8            2020 with Attorney LaTronica.

 9                  ATTY. WOLMAN:    Yes.

10                  THE COURT:    Who I believe is from Attorney Pattis'

11            office and plaintiffs' counsel.       If that's something,

12            Attorney Wolman, you want to respond to and then I'll

13            also hear from plaintiffs on that issue as well, if you

14            want to.

15                  ATTY. WOLMAN:    Certainly.    Your Honor,

16            Mr. Latronica's e-mails were during the appellate stay

17            on this case.    There was no obligation to do anything

18            at that point.     Certainly, and once this case returned

19            from the courts of appeals, the Supreme Court of

20            Connecticut.    The case still as we dealt with the Midas

21            and Sklanka anti-SLAPP motions precluded discovery from

22            our clients and although your Honor did not reach that

23            issue, that was the position, certainly that had been

24            taken.   And we also had a large period between

25            certainly mid-November and early April when this case

26            was again in federal court.      But during that entire

27            time we had taken the position that if the supreme
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 1            court sustained the anti-SLAPP dismissal termination by

 2            your Honor, that the discovery request attended to it

 3            died with it.

 4                   And Mr. LaTronica's e-mails do not countermand

 5            that or contradict that in any way but rather, in fact,

 6            seem almost hopeful that should there be prevailing,

 7            and your Honor's order reversed, then of course we'd be

 8            back in the discovery phase of this case regarding the

 9            anti-SLAPP motion.     So, in that contexts his e-mails

10            make perfect sense.

11                   And so, while your Honor, on May 14th did rule

12            that, allow the motion to re-compel compliance and

13            overrule our argument, this was certainly an issue of

14            first impression and our belief that this was not a

15            requirement that those discovery requests were not

16            outstanding was a reasonable one.       And Mr. LaTronica's

17            e-mails, which were not raised I should note, in

18            response to the motion to re-compel were not raised at

19            that time, should not otherwise affect how the court

20            views this.

21                   I should also, because the court asked the parties

22            to essentially meet and confer yesterday, we did do so.

23            And I'd like to certainly report on some of that if I

24            may.

25                   THE COURT:   Please.

26                   ATTY. WOLMAN:   We proposed removing certain terms

27            which had the largest hit that would potentially, you
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 1            know, be the most irrelevant as well; sales, marketing

 2            and traffic.    The plaintiffs were not willing to do

 3            that.    They did ask if we could be able to sort, for

 4            example, by custodian of records to maybe figure that

 5            out.    We are unable to sort by e-mail box.       We can sort

 6            by senders of e-mails and the largest person in that

 7            respect would be somewhere in the order of 7,500.          I

 8            don't think that that really gets us anywhere in terms

 9            of narrowing.

10                    And on the issue of the Goggle analytics, you

11            know, we finally got a better sense that what they're

12            asking for is to export the entire Google analytics

13            account.

14                    And so I have spoken with IT folks and I can

15            report that that is not a feature that Google analytics

16            has, unless you are a premium member.        And my

17            understanding is that to become a premium member of

18            Google analytics, one must pay at least $150,000.          If

19            the plaintiffs would like to pay $150,000 for that

20            membership, and I don't know that that's to be baseline

21            costs, we can entertain that.

22                    However, I should note that in terms of the cost

23            benefit relationship of this case as we noted in our

24            motion, we're talking when you look at the amount of

25            sales overall, Sandy Hook did not represent 3 percent

26            of sales.    It did not represent three-tenths of a

27            percent --
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 1                 THE COURT:    I don't want to interrupt you,

 2            Attorney Wolman, but I wasn't going to have argument on

 3            the entire motion since there's no argument of right

 4            and I just wanted to get your thoughts on what was just

 5            filed today with respect to Attorney LaTronica's

 6            continued discovery objections.       But as I understand

 7            your position he was, during the stay, while the case

 8            was on appeal with the Connecticut Supreme Court, he

 9            was continuing those discovery objections, although

10            there was a stay in the hopes that he won.

11                 ATTY. WOLMAN:     In the event of a win, then we

12            would have been back in the anti-SLAPP discovery phase.

13                 THE COURT:    Okay.

14                 ATTY. WOLMAN:     Certainly it's appropriate for him

15            and our client to consider what do we need to do to

16            then comply with your Honor's orders.

17                 THE COURT:    Okay.    Thank you.

18                 Who's arguing for the plaintiffs?

19                 ATTY. STERLING:     Your Honor, I am.

20                 THE COURT:    Whenever you're ready.

21                 ATTY. STERLING:     It's Alinor Sterling for the

22            record.

23                 THE COURT:    If you want to just narrow your

24            comments to what Attorney Wolman raised.         Okay.   So he

25            also talked about the Google analytics and the search

26            and --

27                 ATTY. STERLING:     Yes, your Honor.
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 1                 THE COURT: -- other things.       I didn't expect to go

 2            that far but certainly.

 3                 ATTY. STERLING:     Yes.   So, your Honor, I don't

 4            think that Attorney Wolman's reading of Attorney

 5            LaTronica's correspondence with us is a fair read.          At

 6            that time the only discovery, in effect, was the

 7            plaintiffs' first set of interrogatories and request

 8            for production.

 9                 And Attorney LaTronica is indicating that the

10            Jones defendants understand they have an obligation to

11            respond to those.     It does not indicate that that

12            obligation to respond is contingent on the Supreme

13            Court's Ruling.    He simply indicates that they

14            understand they need an ESI consultant and that they

15            need to review discovery in files so that they can get

16            their discovery responses in order.

17                 So what your Honor has been presented with is a

18            sort of excuse for not following the court's orders

19            which is that the defendants claim they had interpreted

20            the termination of the anti-SLAPP motion to have

21            necessarily terminated the limited discovery served in

22            connection with that motion.       And I'm quoting their

23            filing.

24                 Attorney LaTronica's correspondence with us is

25            simply not consistent with that understanding.          And so

26            what I am suggesting the court do is not credit that

27            representation which is a representation concerning the
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 1            Jones defendants' subjective state of mind.         And really

 2            is presenting an excuse for non-compliance, you know,

 3            similarly with regard to the claim that this is a

 4            question of first impression.

 5                 If it's a question of first impression, then and

 6            it involves violation of a court order, then the

 7            recourse that the Jones defendants had was to make a

 8            motion to the court for clarification on what they

 9            viewed as a question of first impression.

10                 So I'm not going to go further then that, because

11            the court has asked me to limit my remarks in that

12            regard.    But from where we stand, these continued

13            excuses look very similar to the excuses that were made

14            in 2019.

15                 With regard to the meet and confer yesterday, so

16            it appears that although they understood in 2020 that

17            they needed an ESI consultant, the Jones defendants

18            still don't have one.     And this came out in a couple

19            different ways.    Number one, counsel was indicating or

20            at least indicated yesterday that he did not understand

21            how to produce the Google analytics data.

22                 We have worked with various ESI consultants, data

23            acquisition protocols are available.        That can be

24            accomplished, you know, the continued inability to

25            produce that information appears from our perspective

26            to be will.    And I would add to that, your Honor, we

27            believe, although we don't know because it's not
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 1            identified that what was submitted as Exhibit C to the

 2            defendants' motion for protective order, which is a

 3            printout based on which Attorney Wolman was arguing, is

 4            a Google analytics printout.

 5                 What that demonstrates, it's never been produced

 6            to us before.    What it demonstrates is that his client

 7            has the ability to manipulate the data.        If he's

 8            indicating that he's completely incapable of finding an

 9            ESI consultant and working with a protocol, then maybe

10            we need to return to the idea of giving us a login to

11            the account.    I know the court didn't want to do that

12            but that would be one way to access the data.         The

13            other would be for them to work with an ESI consultant

14            on a limited basis and come up with a protocol.

15                 You know, we were unable to substantively discuss

16            this yesterday because Attorney Wolman didn't have a

17            protocol to provide us with.       And by a protocol, I mean

18            a production protocol which is the kind of thing that's

19            used when this kind of information is produced.          The

20            lack of an ESI consultant also comes up as a problem,

21            again, when we inquired whether the 300,000 e-mails

22            that Attorney Wolman is referencing were duplicative of

23            anything that's already been produced.        That came up in

24            the contexts of considering whether the burden to

25            review might be significantly less because these

26            e-mails may have already been produced.

27                 Attorney Wolman was unable to tell us whether any
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 1            of these 300,000 e-mails have been produced.         He just

 2            couldn't tell us.     You know, there are other ways to

 3            deal with the claim of burden based on privilege.          You

 4            know, one way to alleviate a concern about privilege is

 5            simply to sort documents for, you know, attorney's

 6            e-mail addresses.     That could reduce the burden claimed

 7            based on privilege substantially.

 8                 But again, there was not a proposal presented to

 9            us yesterday for a streamlined approach to handling

10            this that we could consider.       And after two years of

11            waiting for these documents to be produced, we are at a

12            loss as to how to respond.      So I'll suspend my comments

13            there unless the court has questions.

14                 ATTY. WOLMAN:     Your Honor --

15                 THE COURT:     I do not.

16                 ATTY. WOLMAN:     -- may I respond because I believe

17            Attorney Sterling misrepresented what the conference

18            was yesterday.

19                 THE COURT:     Attorney Wolman.     Attorney Wolman, can

20            you wait.

21                 ATTY. WOLMAN:     Yes, your Honor.

22                 THE COURT:     Okay.   Thank you.    I was actually

23            going to tell you that I'll give you an opportunity to

24            respond to Attorney Sterling's arguments but I first

25            would like you to explain to me, if you can, what

26            Exhibit C is.

27                 ATTY. WOLMAN:     Yes, your Honor.
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 1                 THE COURT:    Please.

 2                 ATTY. WOLMAN:     Thank you.

 3                 Only recently did we have our clients run through

 4            Google analytics what basically if you do a search on

 5            Sandy Hook to find out how many sales are from referral

 6            articles.   So if there's an article that uses the term

 7            Sandy Hook in it and somebody then goes to the store

 8            having read that article and then purchases a product,

 9            that would be captured as related as a sale that was

10            generated from that.     That is only a piece of data that

11            was generated specifically for the purpose of this

12            litigation and was not something that my clients

13            generally had around.

14                 I had asked, can we get this kind of data to find

15            out and then learn as a result, yes, it is three

16            thousands of a percent of all sales are attributable to

17            Sandy Hook as opposed to, for example --

18                 THE COURT:    No. No.    Attorney Wolman, so that is

19            your explanation to the court as to what Exhibit C is?

20            I just want to make sure I'm understanding it.

21                 ATTY. WOLMAN:     Yes, your Honor.

22                 THE COURT:    Okay.    And then my next question

23            before I will then give you an opportunity to respond

24            to Attorney Sterling's argument is, given the

25            discussions during the stay that Attorney LaTronica had

26            with plaintiffs' counsel and given your statement that

27            this was an issue of first impression, I'm just
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 1            wondering why the Jones defendants would wait almost

 2            six months to even object to the plaintiffs' November

 3            12th motion asking for the compliance.

 4                 ATTY. WOLMAN:     Certainly, your Honor.      That's --

 5            Attorney Sterling says that it was our obligation to

 6            raise it as a motion with the court, well, not

 7            necessarily on an issue of first impression.         Somebody

 8            is going to raise it either as -- they're saying that

 9            it's still due and we're saying it's not.         They move to

10            re-compel, we object.

11                 You know, we had met and conferred back in

12            November.   We addressed this back in November.         The

13            reason why it then took afterwards is, later is because

14            we had removed it to federal court depriving this court

15            of jurisdiction, necessarily terminating that even if

16            they were live discovery requests before this court,

17            they certainly would not have been live discovery

18            requests in the federal court where the April 26th

19            conference had not yet occurred under federal rules of

20            civil procedure.     So certainly they would have been

21            improper during that time.

22                 Then once this case returned to this court, your

23            Honor sent a briefing schedule and we filed a timely

24            opposition.

25                 THE COURT:    I'm just trying to figure out if there

26            was a concern that potentially, right, you had this

27            discovery compliance that the clock was ticking on, I
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 1            agree, not when it was in federal court but at least

 2            when it was remanded back, I'm just wondering if there

 3            was a concern that deadlines had been missed and that

 4            you might be overdue with the answers and that you

 5            would want direction on that if you were concerned that

 6            you had discovery obligations that were overdue.

 7                 ATTY. WOLMAN:     Well, parties typically, your

 8            Honor, do not expend resources when there is not a live

 9            discovery issue.     So once your Honor issued the order

10            that stated that as a matter of first impression, that,

11            yes, we still had to comply with discovery that was

12            limited to anti-SLAPP motion that it terminated

13            anti-SLAPP motion but that we still necessarily had to

14            continue to produce.

15                 We then, went, we are using a discovery vendor,

16            that's a misrepresentation.      Experting Google analytics

17            is not something that is common, your Honor.         And it's

18            a misrepresentation to say that we don't have the

19            information because you know what, I asked for was

20            saying how do you want it produced?        How?   I asked

21            point blank.    And she couldn't say how.      She said, oh,

22            it's my job to figure it out.       No it's not.    If you're

23            asking for something, tell me what you're asking for.

24            And then we can follow the instructions.          I do this all

25            the time, your Honor.     Whenever I ask someone to export

26            their Facebook data, I give them step by step

27            instructions as to how to do that to comply, so that
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 1            there's never a question that I'm not getting what I'm

 2            asking for.    So, you know --

 3                 THE COURT:    Can you give me one moment, please,

 4            and I'll let you continue.

 5                 Thank you.    On that point, I was just referencing

 6            the Practice Book because I thought there were Practice

 7            Book provisions that dealt with that issue that you

 8            just raised about how, in what form and such, but in

 9            any event, go ahead.     Continue.

10                 ATTY. WOLMAN:     Thank you, your Honor.

11                 And so we asked for that information as to how

12            they wanted it and she would not provide it saying you

13            figure it out.    Throwing her hands up.      So, you know,

14            I've asked our IT people and they said that there is an

15            export method and that you have to be a premier member.

16            And it would cost at least $150,000 to do so.

17                 As to the inability to deduplicate based on what

18            Attorney Pattis had produced, we have at this time we

19            have an electronic discovery vendor.        At the time

20            Attorney Pattis was doing it, one was not being used.

21            So to be able to integrate what he produced into that

22            and figure out and deduplicate that is not something

23            that we are currently able to do because it's not from

24            the same time.

25                 Similarly we cannot simply eliminate and sort for

26            things with attorney's names or domain names on it

27            because it appears often in messages where somebody
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 1            will forward an e-mail containing privileged matter or

 2            reply or something to an e-mail that has privileged

 3            information on it.     Each individual e-mail does

 4            necessarily have to be reviewed and has to be reviewed

 5            for relevance as well.

 6                 And I should also note that I disagree with the

 7            reading of Mr. LaTronica's e-mails because they also

 8            contemplate that of course there would be discovery in

 9            this case afterwards.     If your Honor's orders sustained

10            they've served two more sets of discovery, of course

11            there would have to be discovery afterwards.

12                 THE COURT:    So Attorney Wolman, getting back to

13            the format, did the and I don't have it in front of me,

14            did the request for production specify the form for

15            producing the electronically stored information?

16                 ATTY. WOLMAN:     No.   All they're asking for now is

17            our Google analytics data.      So they're asking for

18            expert --

19                 THE COURT:    -- the point that you raised.        When I

20            look at 13-9e, right 13-9 subsection e, if information

21            has been electronically stored and if a request for

22            production does not specify a form for producing a type

23            of electronically stored information, the responding

24            party, right, the Jones defendants, shall produce the

25            information in a form in which it is ordinarily

26            maintained or a form that is reasonably usable.          A

27            party need not produce the same electronically stored
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 1            information in more than one form.

 2                 So I know you were saying you asked in what form

 3            and you didn't get an answer but doesn't the Practice

 4            Book control on that?

 5                 ATTY. WOLMAN:     If it's kept in a form not by us.

 6            It's not under our control.

 7                 THE COURT:    The Practice Book doesn't --

 8                 ATTY. WOLMAN:     We do not ordinarily maintain it in

 9            a form.

10                 THE COURT:    Attorney Wolman, the Practice Book

11            controls here since it wasn't -- it doesn't matter.

12            You're the producing party and that's what that

13            Practice Book section refers to.       So I would just, you

14            should probably just take a look at that if there are

15            any further issues.     Okay.

16                 ATTY. WOLMAN:     It will cost, my understanding is

17            150,000 and the cost should be borne by them.

18                 THE COURT:    Okay.    All right.    Anything else, sir?

19                 ATTY. WOLMAN:     Just that the amount of labor

20            otherwise required is not proportionate to the needs of

21            this case and I want to highlight that again.         Three

22            thousands of a percent barely scratches the surface of

23            any justification for the whole theory of the case, is

24            that our clients are somehow motivated to do Sandy Hook

25            stories to get money.      Seems like this is a loser of a

26            story in terms of moneymaking.       It doesn't make money.

27            There's no evidence of that.       We now have this data and
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 1            so the court should look at it from a cost benefit

 2            analysis that all this labor, if it's going to take me

 3            if I have to do, you know, April to review 1,000

 4            e-mails a day because I've got other cases and I'm the

 5            only attorney here admitted in Connecticut, then that's

 6            going to take me 300 work days.

 7                 THE COURT:     Okay.   So I will rule on it in writing

 8            probably within the hour.      Okay.   Anything else that we

 9            need to deal with today that doesn't involve the other

10            defendant, I don't want to have any discussions that

11            will impact him since he's not here?        We are all on the

12            same page as to what other filings, the deadlines are

13            for the other filings?

14                 ATTY. STERLING:     We are, your Honor.      This is

15            Attorney Sterling for the record.       I have one issue.

16            We will be filing a motion to amend the protective

17            order shortly.    We'd like to add an attorneys' eyes

18            only designation.     When we do file that, your Honor, I

19            think it would be important to set a briefing schedule

20            because we'd like to have that ruling in place before

21            our clients are deposed or we respond with written

22            production.    So I just wanted to flag that to the court

23            and inquire whether we should e-mail Attorney Ferraro

24            when we file it or file an RFA.

25                 THE COURT:     Can I suggest that you talk to

26            Attorney Wolman first because you definitely don't have

27            any problems agreeing on briefing schedules as far as I
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 1            can see.   So why don't you have that discussion off the

 2            record with Attorney -- and also Attorney --

 3                 ATTY. WOLMAN:     Cerame.

 4                 THE COURT:    Thank you.    Since he would be involved

 5            in that protective order as well.       So have the

 6            discussion with all counsel in the case and see if you

 7            can come to an agreement.      You'll file such and such a

 8            motion on this date, the objection on this date, the

 9            reply on this date or however you're going to proceed

10            and then you can either jointly e-mail Attorney Ferraro

11            or you can file something with the court laying out the

12            deadlines.

13                 ATTY. WOLMAN:     Your Honor, if I may respond

14            briefly.   I'm not necessarily adverse to an AEO

15            designation.    In fact, this was part of what we

16            originally sought back in February 2019 and was

17            objected to.

18                 THE COURT:    Right.    The only --

19                 ATTY. WOLMAN:     One second.    May I --

20                 THE COURT:    No.   Attorney Wolman, Attorney Wolman

21            here's the problem.

22                 ATTY. WOLMAN:     It goes to this issue.

23                 THE COURT:    No. No. No. Attorney Wolman, I didn't

24            require Attorney Cerame to participate today and we're

25            now touching upon issues that would affect him and I'm

26            very uncomfortable doing that.       So just the general

27            concept of reaching out to him with a briefing schedule
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 1            but I don't want to get into the nuts and bolts of

 2            attorneys' eyes only because it would affect him in

 3            discovery and I just really am uncomfortable doing that

 4            today.    So I'm going to stop you there and have you

 5            reach out jointly and hopefully you can all get on the

 6            same page as to a briefing schedule.

 7                 ATTY. WOLMAN:     Your Honor, it affects the order

 8            you're about to issue, though because if there's going

 9            to be an attorneys' eyes only provision, we should be

10            entitled to invoke it as well and we'll need to be able

11            to review and mark for that as well.

12                 THE COURT:    Okay.    So I suggest then when we get

13            off the record here, you immediately -- we'll go off

14            the record.    You sure can stay on and if you want to

15            try to invite Attorney Cerame to join you right now and

16            you can get a briefing schedule and if you make it

17            expedited enough, you'll get a ruling on the attorneys'

18            eyes only issue in time to satisfy you I'm sure.          Okay.

19            Unless anybody has anything else, we're going to go off

20            the record.    I'm going to exit.     Attorney Ferraro will

21            exit but you can have at least your discussions if you

22            want since I won't be involved in that and if you want

23            to invite the other attorney to participate and then

24            you can get something filed right away, Attorney

25            Wolman.

26                 ATTY. WOLMAN:     I understand.    But the order, your

27            Honor's about to issue, if there's going to be
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 1            attorneys' eyes only, we will need time to as part of

 2            this 300,000 e-mail document review to be able to

 3            designate those as well as to the extent some are AEO

 4            appropriately.

 5                 THE COURT:    Okay.    All right.    So I am going to go

 6            off the record.    Thank you, counsel.      Stay well.

 7                 ATTY. WOLMAN:     Thank you, your Honor.

 8                 ATTY. STERLING:       Thank you, your Honor.

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 2     DKT NO:    XO6-UWY-CV18046436-S        COMPLEX LITIGATION

 3    ERICA LAFFERTY                          JUDICIAL DISTRICT WATERBURY
      v.                                      AT WATERBURY, CONNECTICUT
 4    ALEX EMRIC JONES                        JUNE 2, 2021

 5
       DKT NO: X06-UWY-CV186046437-S
 6
      WILLIAM SHERLACH
 7    V.
      ALEX EMRIC JONES
 8

 9     DKT NO:    X06-UWY-CV186046438-S

10    WILLIAM SHERLACH
      V.
11    ALEX EMRIC JONES

12
                             ELECTRONIC
13                         CERTIFICATION

14                I hereby certify the electronic version is a true and

15    correct transcription of the audio recording of the

16    above-referenced case, heard in Superior Court, G.A. 4 of

17    Waterbury, Connecticut before the Honorable Barbara N. Beilis,

18     Judge, on June 2, 2021.

19

20               Dated this 3rd day of June, 2021 in Waterbury,

21    Connecticut.

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25                                        &JjL
26                                        Debbie A. Ellis
                                      Court Recording Monitor
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                EXHIBIT I
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            NO.      X06-UWY-CV-XX-XXXXXXX-S                 :       SUPERIOR COURT

            ERICA LAFFERTY, ET AL.                           :       COMPLEX LITIGATION DOCKET

            V.                                               :       AT WATERBURY
                                                                              23
            ALEX EMRIC JONES, ET AL.            :     AUGUST ___, 2021
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            NO.      X-06-UWY-CV18-6046437-S                 :       SUPERIOR COURT

            WILLIAM SHERLACH                                 :       COMPLEX LITIGATION DOCKET

            V.                                               :       AT WATERBURY

            ALEX EMRIC JONES, ET AL.            :              23 2021
                                                      AUGUST ___,
            _____________________________________________________________________________

            NO.      X06-UWY-CV-XX-XXXXXXX-S                 :       SUPERIOR COURT

            WILLIAM SHERLACH, ET AL.                         :       COMPLEX LITIGATION DOCKET

            V.                                               :       AT WATERBURY

            ALEX EMRIC JONES, ET AL.                         :       AUGUST 23
                                                                            ___, 2021


                                           AFFIDAVIT OF JORDAN CAMPBELL

                     I, JORDAN CAMPBELL, declare as follows:

                     1.      I am over eighteen and believe in the obligation of an oath.

                     2.      I make this affidavit after consideration of the Notice of Compliance dated June 28,

            2021 filed by Alex Jones and Free Speech Systems, LLC, and the correspondence between

            Attorneys Christopher Mattei and Jay Wolman on June 24 and 25, 2021.

                     3.      I am the owner and operator of Good Soup Media, an online marketing agency, in

            London, Ontario, Canada.

                     4.      I am an expert in the use of Google Analytics and have worked extensively with




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            the program for 3+ years. I have spent upwards of $20,000 on online courses and education

            materials in order to increase my knowledge and expertise in my field. I have been working

            alongside my clients in their website development, monitoring and advertising efforts including,

            but not limited to the use of Google Ads, LinkedIn Advertising, Google Analytics, Website Design

            and Website Maintenance.

                     5.      In connection with the preparation of this affidavit, I have reviewed what I

            understand to be the production of the Google Analytics summary reports produced to date by

            Defendant Free Speech Systems, LLC in this litigation, which include one recently produced 5-

            page document consisting of screenshots of some Google Analytics information (Exhibit A) and

            one 35-page set of scanned images of more Google Analytics information (Exhibit B). I have also

            reviewed the Jones defendants’ Emergency Motion for Protective Order, to which the 5 pages of

            Google Analytics screen shots were attached. I have also reviewed the Notice of Compliance

            concerning the production of Google Analytics data and correspondence between Jay Wolman and

            Christopher Mattei dated June 24 and 25, 2021 (Exhibits C and D, respectively).

                     What Google Analytics Does

                     6.      Google Analytics is a web analytics service offered by Google that is specifically

            built to collect, track, and report on website traffic and visitor information. Google Analytics

            collects and stores website visitor data. Some well-known examples of data that Google Analytics

            collects are: Users (number of website visitors), Sessions (number of times the website has been

            accessed), Average Time Spent on Site, Bounce Rate (percentage of users who leave after one

            page visit without interacting), Pages/Session (number of pages a user visits before leaving the

            site) etc.




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                     7.      Google Analytics also has an ecommerce tracking function. “Ecommerce tracking

            is a feature of Google Analytics that tracks shopping activity on your website.”

            https://www.hotjar.com/google-analytics/glossary/ecommerce-tracking/. The sales and payments

            data collected using the ecommerce function can be used in reports or exported like other Google

            Analytics data. It appears from the information shown on Exhibit A, in the Revenue column, that

            a user of the Infowars.com site set up ecommerce tracking within their Google Analytics account,

            so that ecommerce data is being collected as well.

                     How to Export Data Collected by Google Analytics

                     8.      Google Analytics data may be exported using the application’s built-in function to

            export data. This export function allows the user to export the Google Analytics data in 4 different

            formats: PDF, Google Sheets, XLSX and CSV. Exporting in those formats keeps the data

            organized and allows it to be manipulated by the recipient, as the original user could do. Clicking

            the EXPORT button enables direct export of the selected data in a format, e.g., as an Excel

            spreadsheet, suitable for analysis. Data so exported will be the actual data with 100% accuracy. In

            order to use the export function, the account user uses the report function to define the data to be

            exported and clicks the EXPORT button located at the top of the page.

                     9.      Like all Google Analytics users, the users of the Infowars.com Google Analytics

            account have access to the Export function. The EXPORT button is clearly visible on Exhibit A,

            as shown through the highlight below:




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                     10.     It is my understanding that the Jones defendants have been ordered to produce the

            data from the relevant Google Analytics accounts for multiple years. While that is a substantial

            amount of data, by using the free export function described above, a user of the relevant account

            could easily export complete, accurate and readily useable data as Excel (xlsx) files. In preparation

            to make this affidavit I considered and tested the export mechanism, and it is simple to use and

            functions correctly. I believe exporting the data would take a computer literate user following a

            simple protocol under a week to complete the exports and possibly would require even less time.

            (By a computer literate user, I mean someone with simple data entry skills.) The development of



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            an appropriate export approach took me approximately 30 minutes. Following a step-by-step

            protocol, which could be provided, would be a simple process.

                     11.     The Jones Defendants state in the Notice of Compliance that “Free Speech Systems

            understands that, to export the dataset, one must be a Google Analytics 360 user. See

            https://marketingplatform.google.com/about/analytics/compare/ (noting that “access to raw data”

            is checked off only for Analytics 360, the non-free solution).” As described above, it is not true

            that “to export the dataset, one must be a Google Analytics 360 user.” There are multiple ways to

            export the dataset, one of which I have described above.

                     The Google Analytics Information that Has Been Produced

                     12.     The Google Analytics information that has been produced in this case has not been

            produced either in the format in which Google Analytics information is usually stored or in another

            comparably usable format. Exhibit A appears to be screenshots of what appears to be a Google

            Analytics report. Exhibit B appears to be image copies of PDF reports. These formats deprive the

            recipient of the ability to access and manipulate the underlying data directly.

                     13.     The Google Analytics information that has been produced through Exhibits A and

            B also contain only a tiny fraction of the Google Analytics data that the application collects. For

            example, the information on Exhibits A and B is not organized day by day, but rather, the

            information is presented in yearly increments (and in some cases random time intervals). Daily

            data is available, and provides a far more complete dataset which, if produced in a format, such as

            Excel files, would be immediately suitable for and ready for analysis. These exhibits also do not

            provide any data related to Demographics (Age and Gender of website visitors), Location (where

            in the world the users accessed the website from), Ad Campaign Performance (including keywords

            used in campaigns and searches used to find the site), Source of the Traffic (where visitors were



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            before arriving on the Jones Defendants’ website), User Interests, Browser and Operating System

            Information, or Custom Variables (metrics created by the Jones Defendants to track website

            specific performance). The reports provide very limited information on Individual Page

            Performance, Language, New vs. Returning Users, and Ecommerce information (sales

            performance, time to purchase, etc.).

                     14.     Exhibit A, unlike Exhibit B, contains some revenue data. Revenue data is available

            through Google Analytics’ ecommerce function. In order for the ecommerce function to work, the

            user must set up ecommerce tracking. Google Analytics instructs:

                                 To see Ecommerce data in your Analytics reports, you need to:
                                 Enable Ecommerce for each view in which you want to see data.
                                 Add code to your site to collect the ecommerce data and send it to Analytics. To
                                 complete this task, you need to be comfortable editing HTML and coding in
                                 JavaScript, or have help from an experienced web developer.

            https://support.google.com/analytics/answer/1009612?hl=en#zippy=%2Cin-this-article. A user

            with the technical capability to set up ecommerce tracking would certainly have the technical

            capability to understand that there are multiple means to export Google Analytics data.

                     15.     The Jones defendants state in their Emergency Motion for Protective Order that “In

            fact, Defendants' records show that, at most, they made $342.55 in sales from article and

            video page referrals that contained the term "Sandy Hook" out of a total of $10.6 million in

            overall sales generated from site traffic.” In support of this statement, they reference the

            information that is attached to my affidavit as Exhibit A. (This same information was

            attached as Exhibit C in support of their Emergency Motion for Protective Order.) For the

            Google Analytics application to capture e-commerce data – that is, revenue information – for

            the time period shown on Exhibit A (Dec. 14, 2012 to March 29, 2021), the e-commerce

            function would have had to be enabled on or before December 14, 2012. If the e-commerce

            function was enabled throughout that entire period, then there is very significant additional

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            revenue data available that has not been provided to the plaintiffs. If the e-commerce function

            was not enabled as of December 14, 2012, then Google Analytics data cannot establish

            revenue for the entire period, and the claim that revenue is $342.55 is not supported by

            Exhibit A.

                     16.     Based on the description provided in their correspondence of June 24 and 25,

            2021 (Exhibits C and D), the Jones defendants’ proposed “sandbox approach” suffers from

            multiple technical defects. First, it offers the plaintiffs only limited-time access to the data.

            Second, through mirroring or other methods, it would allow the Jones defendants to observe,

            surveil, and/or record all the plaintiffs’ actions within the Google Analytics account,

            including any searches or other analysis that the plaintiffs or their experts might perform on

            the data while they had access to it. Under this arrangement, plaintiffs or their experts would

            be unable to assure or verify that the Jones defendants did not do so. Having access to this

            information could give the Jones defendants key insight into plaintiffs’ counsel’s mental

            impressions, conclusions, opinions, or legal theories.

                     17.     I attach a copy of my curriculum vitae as Exhibit E.



                     I declare under penalty of perjury that the foregoing is true and correct to the best of my

            knowledge and belief.

                                              ____________________________________
                                              JORDAN CAMPBELL


                                                     23
              Subscribed and sworn to before me this ____ day of August, 2021.



                                                             ______________________________
                                                             Notary Public

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                                                                                          N/A LSO# 59685G
                                                                   My commission expires: __________

              This affidavit was sworn by the affiant present in the City of London, in the County of Middlesex, in
              the Province of Ontario, via videoconferencing technology, before me, a Commissioner of Oaths,
              present in the City of London, in the County of Middlesex, in the Province of Ontario, pursuant to O.
              Reg. 431/20: Administering Oath Or Declaration Remotely.




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                                                This is Exhibit “A” referred to in the
                                       Affidavit of Jordan Campbell sworn before me
                                                     this 23rd day of August, 2021.

                                        DocuSigned by:



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ole                                                                                                                                          »«nn«i jaj\n            0                     \ rftui»'a fios o: etx«//                *<a*» «•« S3    OJ *ry,   «.(■                      •* In Wnt-aito» Mt an}                      \oirajx aoo\ |3 o#flio>               \xn»u n*ixiu»).<E**mui


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             2    ■lihx |i«u*« («itl lUliimnit       .*ur«ly huo*.'                                                                                  b                   32                              as                                          43 10%                     3 75                   000236               227%                  1 ■. ..                               SSI SO      •


             3.   >'it«* tc<u>a tiil <irfi<ni»rii m lii»iJuuj »uulr'Uu* u«>uJ.'                                                                      0                                                   10                .                         60 00%                     250                    00 0042              000%                 0 n ur* i                                    00


             4        i,<U*{QIM4-»Sl4lli tOtlMilMil or- raSu Iw'.anl ix-tlp                                                                          0                    2                               4                                          5000%                      4SCi                   0001.20              000%                 o                                       50 00

             S        i il«xtUUT>TtS«JClfd^lU-IU|-<lv IrJOtL Ulli IlM UrtwjhliMiJli'                                                                 ti                   7        -                     11    PUT)                                  7273%                      345                    0001 11              000%                 O    OKn)                               50 00

             6    f'thx |c(>M-san4y*o(A4rtil«ei4tfcAur>)»»iaiK(y/                                                                                    b                    2                               3                                          3333%                      133                    00 00 27             000%                 0                                       5000

             7        i'uWIiiihU   s»clkii<44(iiruiTii«unitd M-dr-tioakii Ulwiil 1U1I. k-a^iil iJusm.'                                               0                    1                               1                                          50 00%                     1 50                   00 0027              000%                                                         50 00

             8    fetMiKlteiAvet'ioOitoeMtdylMMkAiuak?                                                                                               0                    7                              12        -       I                         41 67%                     4 02                   00 01 57             000%                 0         •                             5000

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            10    i''Xiik kJHrfit 'tifri irio^seiidy h'jQfc wtinui ur.mipi’                                                                          b                    5                               5                                          4000%                      180                    00 0036              0 00%                0    t        •                         5000
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            11        I'nukutadMiiiufNt-iaiiroiili Kia»n8rlii>4*;eNU-f«»ii set-.p.'                                                                  6                   14    ■                         17            -                             64 71%                     2.65                   00 02 57             000%                                                         5000

            12        i Mjiusul IMllu<MgM ifi Ii.tjv iilii^huc*             14/                                                                      o .. .               1                               2    ■                                    10000%                      100                    0000.00              000%                 0        -I.,                           5000

            13    r,f*k»n»iM-tniU!*mi>‘aiid<lJim»1552m»EiHt»oo(ingi -auM dimly liu-Jo                                                                0                   0    paiy                        5                                          20 00%                     520                    00 0323              000%                 O iac<rt)                               50 oo

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            19    •'>uiMft!-sMmnMic4ca-d»Ml'ia*i4*4ca crilil>wii‘                                                                                    b          ■        0 tacot)                         1    lll-n.                                 000%                      500                    0001.26              000%                 0    linn.                              50.00

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            21    >.u!k]« dlt/Ais tuTali f«u3 lunii-j » duu (■miejCiHi tinaiini. q«o* matwu«i‘                                                       b                   77   .< .                      10*    .                                      183%                      4.05                   000840               000%                 O                                       50 O0

            22        /uAiwiuliviluoUktrii liumaanOrlUKAahcdtoi licuK’inukt a*t t»ciU)                                                               0                    1                               2                                           080%                      200                    00 0800              000%                 0                                       50 00

            23.       r*<Vdku :ufiBS iwtponlilu auuVI'O’-A v4iiii<iu>                                                                                0                                                   47                                          5106%                      298                    0001 57              213%                 1 taimi                                36141


            24         m' iJlx-ili. ti .aikrfil j*./»i6itjkiduw.rli« ifckiaUMl^litKA                                                                 g                    5                              16        i                                 62.50%                     3.81                   00 021*              008%                 0    mot!                               5000

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            26    ''-?4gd<*ttS£*'i'SOM< up lilriilQa ujMit tivuitldJUai tuuir •OuxJ                                                                  b                    3            -                  5                                          6080%                       1 40                  00 0800              000%                 0                                       50 00

            27.       i‘-Titcii uaf. liCMK- kUL^iv ill kjifJi huik lUd ki i.-mi uW> yilMV                                                            0    naiv            0                               s                .                         66 67%                    1267                    00284*               000%                 0 i m .                                 5800

            28        i -’i/sur/dMiil/ltCKA-AcUit dlfti tgciinriptfuSluO                                                                             b                    3   H*vi.i                      3    uan)                                  3333%                      200                    00 0841              008%                 0    mot.                               50 OO

            29        "vU’TosrrtkfcMktxxutw iMlr ARM Tiidatoeior aKrri'                                                                              b                    2    ......                     5 .              T.                        6000%                      280                    00 0 84*             0 00%                0                                       50 00

            30    i'eutc&'l4l*! K>ne9*4n<«titl»ys«>tJl'filcrMM»r«u>!4alonttip Mill laid/AuUk/                                                        0     occv           4                               e                                          3750%                     1238                    0005 56              0 00%                0 i. i‘i-.                              50 00

            31    .         I bkllilk irutk-. <!1U,UI ull»jf^ti''tiUi.!li         llti'.k. llOi}.'                                                   b     n l/r\         1   rtETV)                      1 u mi                                      000%                      300                    00 0 023             000%                 0    nun-                               50-00

            32        t-Uitirt tuiiMk<tukui n'^ui iiirrMiriCMniMitdinauidyliCrtAinwlit tiiui,'                                                       b                    3                               6                                          3333%                     II 17                   00 09 46             1667%                 1 oa oo»)                             37544      .


            33    •>(i<i8/«4uk1iulMi«ikb4iiHMi0yun4E6V                                                                                               b                    1   K«V>                        1 «m)                                     10000%                      i oo                   000800               000%                 0 i Kin.I                               50 00

            34                            MjurtiUuaiiiTikSCal uml fttiy lli* IM"8ui»l1t>it diuutr-MTii'’                                             b     o c«m .        1                               1    nm                                     080%                      200                    00 00 00             0 00%                0             •                         50 00

            35        'idiud tlK>al>ra)-ewiK1 Ur»4Mnu1-M«i urtfr (KRk tmviUpiUMti’                                                                   b                    2                               3                     •                    66 67%                     1.33                   OOOOOO               000%                 0    m-Mi                               5800

            3b    ■‘I’witaiO/ 'tick ttcitc ifcitlwIilltrytaClHi la««81n>»-spMili>                                                                    0                    1 wrrvi                                                                   10000%                       too                   00 0800              008%                 0                                       50 00
                                                                                                                                                                                                                                                                                                                                                                                                            Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 135 of 190




            37.   i‘»i1im41i fjlu neviSi piy op trtun U's*lt cUimk4h* &ur» loiui                        <uui Xuldn^luai <u>»-1                       b                    1   BMV                         7                                          50 00%                     3.00                   000828               800%                                                         5000

            38    •'xti'MISilv iVtkt k>nibpiultr.>iv tu‘ UJk-ilB'.iinu ktiul/ ilutjk1                                                                0                   0    jocov                       1    U i                                  10080%                      100                    oooooo               0 00%                0 11un•                                 5000

            39    iVdM MVIMMt&Uh utiOjlMMlO/tlKbL'                                                                                                   b                    1   «HV                         1    I! 11V,                                000%                      1200                   00 04 2*             000%                 6    nun.                               5800

            40.       I'Aitliit Ubx ju-ot tw» ivf pttttuj iinvjtgk' fai uniitf tmik ptranU.'                                                         b                   0    ia«iV!                      4                                          5000%                      200                    00 0233              0 00%                0                                       50 00

            41    I'ftliul at*x iaifci t*±»t C-*itrv«k limi/: aimVIitKiki                                                                            b                   35                              42                                          57 14%                     3.07                   000215               D0O%                 o nctn)                                 50 00

            42    fM'.fttxutiu Hi t ik mu A hack. i»6 tmtw                                                                                           0                    3    K-                         2 narvi                                    66 67%                     1.33                   00 00 38             0 00%                0    nun                                50 OO

            43        >j«ilulvCuikUit      lu-dt tnuk .idk-v.'                                                                                       0     n K>x          4        .                     II                                          41 67%                     488                    00 0542              000%                 0 nun.                                  5800

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                                                                                                                                                                                                                                                                                                                                                                    I ob SPiill m 13.16-M RU tWi.i-iRKw
    free Speech Systems, L_ > Infowars Store                                                                                        Loading...                                                                                                                                                   ■a
                                                       Q,         Try searching "Top channels by users"                                                                                                                                                                               4          aa      ©         ;                                                                                                     )
    All Web Site Data '

                    Referral Traffic 9                                                                                                                                                                                                        k) SAVE        li) EXPORT    < SHARE         /“     EDfT
                                                                                                                                                                                                                                                                                                              % INSIGH
                     ALL » SOURCE, infowars.com ^                                                                                                                                                                                                                             Dec 14. 2012-Mar 29. 2021
                                  All Users                                                   + Add Segment
                                  12.63% Use**
                                                                                                                                                                                                                                                                                                                                                            DocuSign Envelope ID: EE54F1C9-84B3-4A58-B8EE-52A83F0636F3




                      Explorer

                      Summary       Site Usage   Goal Set 1          Goal Set 2   Ecommerce


                        Users ▼                                                                                                                                                                                                                                                      Day   Week       Month     d •*.

                     Primary Dimension Referral Path    Otlre.'

                        Secondary dimenwon ▼     Sort Type.        Delault ▼                                                                                                                                                           | sandy-hook             ■- i Ct i advanced    [H]Q|g|t.|$|im|

ium                                                                                                           Acquisition                                                 Behavior                                                             Conversions    eCdWimeroe ▼

                        Referral PMh
                                                                                                                                                                                                 Pages f Session      Avg. Session Duration    Ecommerce Conversion
                                                                                                                 Users        *   New Users           Sessions             Bounce Rate                                                                                    Transactions                   Revenue
                                                                                                                                                                                                                                                      Rate


e                                                                                                                            0                309                520                 40.38%                3.82             00:02:06                          0.96%                         5                 $342.55
                                                                                                               % of Total 0 00%    % of Total 0 00%    % of Total 0 00%    Avg for View 3273%    Avg for View: 5 99   Avg for V-ew 0003.34         Avo lor View: 7 73%       \ of Total. 0 00%              % of Total D 00%
                                                                                                                       (11.963)        04,470.555)         (32063.657)                 (2340%)            (-36.21%)               (-4120%)                   (-87 56%)             (2478,0191             ($263,439,669.64)
                                                                                                                                                                                                                                                                                                                       Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 136 of 190
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                Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 137 of 190




                                               This is Exhibit “B” referred to in the
                                       Affidavit of Jordan Campbell sworn before me,
                                                    this 23rd day of August, 2021.

                                         DocuSigned by:




                                     tt-GGMMISSIONER FOR TAKING AFFIDAVITS
   I                  4      hUp://www,infowars.com
«ll Analytics www.infowars.com                                                                                                               Go to report E


Audience Overview

             All Users                                                                                                           Jan 1,2012-Dec31, 2012
   O         100.00% Users



 Overview
           n


# Users
 1,000,000




 600,000




                          March 2012                  May 2012                July 2012         September 2012               November 2012
                                                                                                                                                                                                   DocuSign Envelope ID: EE54F1C9-84B3-4A58-B8EE-52A83F0636F3




                                                                                                            ■ New Visitor     ■ Returning Visitor
 Users                                 New Users                   Sessions

40,152,262                             38,413,391                  119,107,058
                                       iujlU.
                                                      -iu*UWwJ«.   wJ*.                JU,wJ>


 Number of Sessions per User           Pageviews                   Pages / Session                               M
2.97                                   284,866,233                 2.39
                                                                                   i

Avg. Session Duration                  Bounce Rate

00:05:22                               56.41%
                  I


         Service Provider
                                                                                                                    Users      % Users
   1. service provider corporation
                                                                                                                 1,137,641     | 13.16%

   2. celleo partnership dba Verizon wireless
                                                                                                                  809,503      | 9.37%

   3     comoast cable communications inc.                                                                        567,629      | 6.57%

   4. mad runner holdco He
                                                                                                                  530,693      | 6.14%

   5. sprint hextel corporation
                                                                                                                  407,969      | 4.72%

   6. at&t internet services
                                                                                                                  376,275 | 4.35%
   7. verizon online He
                                                                                                                  369,602      | 4.28%

   8. (not set)
                                                                                                                  238,061      I 2.75%

   9. t-mobile usa Inc.
                                                                                                                  208,989      | 2.42%

   10. cox communications
                                                                                                                  190,163      | 2.20%
                                                                                                                                                              Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 138 of 190




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           *                 ,        http://www.infowftrs.CDm
         •II Analytics www.infowars.com                                                                                                                  Go to report E


        Audience Overview

            o         All Users
                      100.00% Users
                                                                                                                                             Jan 1,2013- Dec 31,2013



        j Overview




         • Users
          3,000,000


          2,000,000


          1,000,000


                                 March 2013                      May 2013              July 2013             September 2013              November 2013


                                                                                                                         ■ New Visitor    ■ Returning Visitor
         Users                                  New Users                   Sessions
         60,896,317                             58,454,408                  179,324,958
             X                                      JL                             X                     i
                                                                                                         ■




         Number of Sessions per User            Pageviews                   Pages / Session
         2.94                                   436,145,187                 2.43
                                                                                           **v*~<»»***


         Avg. Session Duration                  Bounce Rate

         00:17:02                               60.25%
                                            I




                 Service Provider                                                                                                 Users     % Users
            1. service provider corporation                                                                                   2,376,251    | 10.28%
            2. cellco partnership dba veriton wireless                                                                        1,569,696     g 6.79%
            3. Comcast cable communications inc.                                                                              1,294,506    | 5.60%
            4. (not set)                                                                                                      1,269,750    | 5.50%

            5. at&t Internet services                                                                                         1,021,110     | 4.42%
            6. sprint nextel corporation                                                                                        905,939       3.92%
            7. Verizon online lie                                                                                               881,541    | 3.82%
            8. amazon.com Inc.                                                                                                  846,380    | 3.66%
            9. time warnei cable Internet lie                                                                                   778,211     | 3.37%
            10. road runner hofdco lie                                                                                          646,535     I 2.80%




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           g                 4        http://www-infowar<;.coJTn
         •II Analytics www.infowars.com                                                                                                                        Go to report E


        Audience Overview
                                                                                                                                                   Jam,2014-Dec 31,2014
            O         Alt Users
                      100.00% Users



        • Overview '




         ^ Users
          1,500,000



          1,000,000




         fifl
                                  March 2014                       May 2014              July 2014        September 2014                     November 2014


                                                                                                                      ■ New Visitor              ■ Returning Visitor
         Users                                 New Users                      Sessions

          57,506,817                            55,869,830                    183,862,383
                             «*<*<Ju                                                                 .i


         Number of Sessions per User 1 Pageviews                              Pages / Session

          3.20                                 411,548,207                    2.24
                                                                                                 -^v



         Avg, Session Duration                 Bounce Rate

          00:19:31                              64.73%


                 Service Provider                                                                                                       Users     % Users
            1. (not set)                                                                                                         3,446,870        f 11.36%

            2. service provider corporation                                                                                     .2,385,219        | 7.86%

            3. time Warner cable Internet He                                                                                     1,961,074        | 6.46%

            4. celleo partnership dba verizon wireless                                                                           1498,303         | 4.94%
            5. at&t internet services                                                                                            1,450,113        | 4.78%
            6. Comcast cable communications inc.                                                                           •     1,402,659        | 4,62%
            7. sprint nextei corporation                                                                                             1,311,061    | 4.32%
                                                                                                                               .X.
            8. verizon nnline He                                                                                                 1,158,766           3.82%
            9. charter communications                                                                                                 867,052     I 2.86%
            10. t-mobileusa inc.                                                                                                      780,604     | 2.57%




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           a                 #        http://www.infowars.com
         ,11 Analytics www.infowars.com                                                                                                                     Go to report 12

        Audience Overview

            o         All Users
                      100.00% Users
                                                                                1
                                                                                ;
                                                                                                                                                Jan 1,2015-Dec 31,2015


        [ Overview !




         © Users
          3,000,000


          2,000,000



          1,000,000


                                 March 2015                     May 2015                           July 2015    September 2015              November 2015


                                                                                                                            ■ New Visitor    il Returning Visitor
         Users                                New Users                                 Sessions
         64,126,790                           62,914,640                                191,984,644
                  L                                     L                                        Ju
         Number of Sessions per User          Pageviews                                 Pages / Session
         2.99                                 393,422,524                               2.05
                                                                    1                   **                •VW




         Avg. Session Duration                Bounce Rate

         00:02:50                             65.06%                                I
                                                            tit*’** -Ai*.**"*

                                                                                    I


                 Service Provider                                                                                                   Users      % Users
            1. (not set)                                                                                                         7,885,701    ■ 18.74%
            2. time Warner cable internet Ik:                                                                                    2,246.416    | 5.34%
            3. service provider corporation                                                                                      2,058,158    | 4.89%
            4. at&t mobility lie                                                                                                 1.707,000    | 4.06%
            5. verizon online lie                                                                                                1,562,156    | 3.71%
            6. cellco partnership dba verizon wireless                                                                           1,420,387    | 3.38%
            7. charter communications                                                                                            1,174,115    | 2.79%
            8. Comcast cable communications inc.                                                                                 1,131,853    | 2.69%
            9. at&t Internet services                                                                                            1,087,285    | 2.58%
            10. cox communications                                                                                                795,294     | 1.89%




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            »                ,         http://www.infowars.com
         #1* Analytics www.infowars.com                                                                                                             Go to report B


        Audience Overview
                                                                                                                                         Jan 1,2016-Dec 31,2016
            O         All Users
                      10G.tm Users


        [ Overview |




          • Users
          2.000,000




          1.000,000                                                                            1


                                 :
                                     March 2016                  May 2016               July 2016         September 2016            November 2016


                                                                                                                      ■ New Visitor ■ Returning Visitor
          Users                                   New Users                  Sessions

          73.749,848                              72,118,976                |218,709,812
                        ,u                                                      •Hf
                                                                                                      i

          Number of Sessions per User             Pageviews                  Pages / Session

          2.97                                    462,481,331                2.11

          Avg. Session Duration                   Bounce Pate

          00:03:03                                60.39%
          •.wlmw'Mfr-w.eM.m.i,



                  Service Provider                                                                                             Users    % Users
            1. (not set)                                                                                                   14,714,613        27 85%
            2. time Warner cable internet he                                                                                2,772,965   | 5.25%
            3. at&t mobility He                                                                                             2,717,392   l 5.14%
            4. service provider corporation                                                                                 1,999,756   | 3.79%
            5. charter communications                                                                                       1,660,629   | 3.14%

            6. cellc.o partnership dba verizon wireless                                                                     1,159,158   j 2.19%
            7. coincasl cable communications inc.                                                                           1,078,205   | 2.04%
            8. mci communications services inc. d/b/a verizon business                                                      1,039,698   | 1.97%
            9. at&t internet services                                                                                       1,022,195   | 1.93%
             10. Comcast ip services l.lc.                                                                                  1,010,817   | 1.91%




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                                       http://www.irjfowars.com
         #|| Analytics                                                                                                                                 Go to report 21
                                       www.infowars.com
         Audience Overview

                                                                                                                                            Jan 1,2017-Dec 31,2017
               O       All Users
                       100.00% Users


          Overview



          # Users
          1,500,000


          1,000,1

           A  Ann
          ,500(0^
                    !^4sh/WV\
                                  March 2017                      May 2017                July 2017        September 2017              November 2017


                                                                                                                       ■ New Visitor     B Returning Visitor
          Users                                 New Users                      Sessions
          54,966,386                             52,108,330                    178,788,381
                          u___ c*

          Number of Sessions per User

          3.25
                                                 a——A.


                                                Pagevlews

                                                388,814,008
                                                                      1

                                                                               Pages / Session

                                                                               2.17
                                                                                                      u.
                                                                                                                            J     \%




                                                                       JwM*.   *<**rr*


          Avg. Session Duration                | Bounce Rate

          00:03:04                               57.48%
                           *



                    Service Provider                                                                                            Users     % Users
               1. (not. set)                                                                                                12,491,560           34 25%
               2. atSt mobility lie                                                                                          1.787,472    | 4.90%
               3. lime Warner cable Internet Hr;                                                                             1,756,709    | 4.82%
               4. mci communications services inc. d/b/a verizon business                                                    1,071,697    | 2.94%
               5. charter communications                                                                                     1,022,690    | 2.80%
               6. at&t internet services                                                                                      680,720     | 1.87%
               7. Comcast ip services l.l.c.                                                                                  618,121     | 1.69%
               8. cellco partnership dba verizon wireless                                                                     592,009     | 1.62%
               9. Comcast cable communications Inc.                                                                           580,920     | 1.59%
               10. qwest communications company lie                                                                           568,042     | 1.56%




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                                       http://www.infowars.com
         jf Analytics www.infowars.com                                                                                                              Go to report 13


        Audience Overview
                                                                                                                                         Jan 1,2018-Dec 31,2018
              O       All Users
                       100.00% Users


        r
          Overview




            ® Users
            600,000


            400,000


          ml200,000



                                    March 2010                   May 201B                  July 2018    September 2018              November 2018


                                                                                                                    jS   New Visitor ■ Returning Visitor
            Users                                New Users                      Sessions

            35,143,582



            3.78
                                                 33,373,209

            Number of Sessions per User j Pageviews

                                                 322,660,710
                                                                            !
                                                                                132,867,188

                                                                                Pages / Session

                                                                                2.43
                                                                                       f*y>r
                                                                                                   6.
                                                                                                                          M
                                             !
            Avg. Session Duration                Bounce Rate

            00:03:20                             53.46%


                    Service Provider                                                                                           Users    % Users
               1. (not set)                                                                                                 4,661,056   ■ 19.56%
               2. cellco partnership dba verizon wireless                                                                   1,562,546   | 6.56%

               3. time warner cable internet He                                                                             1,388,162   | 5.82%

               4. comcast cable communications He                                                                           1,180,283   | 4.95%

               5. al&t mobility He                                                                                           815,034    | 3.42%

               6. charter communications                                                                                     717,740    | 3.01%

              7. mcl communications services inc. d/b/a verizon business                                                     707,107    | 2.97%

               8. atSamp.t mobility He                                                                                       605,826    | 2.54%

               9 t-mobile usa Inc.                                                                                           568,075    | 2.39%

               10. at&amp;t corp.                                                                                            393,428    | 1.65%




                                                                                       © 2019 Google
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               |                  .      Infowars Store
            •If Analytics                ah               sjte Qa^a                                                                                            Go to report E
|
            Audience Overview

                                                                                                                                                   Janl,2015-Dec 31,2015
                O        All Users
                         100.00% Users                                  :

            | Overview i i



             # Users
              30,000


              20,000



              10,000


                                                                                                                                                         A
                                      March 2015                 May 2015                  July 2015              September 2015              November 2015



                                                                                                                                   There is no data for this view.
             Users                                 New Users                    Sessions

             319,533                               319,533                  I 481,817
                                            A                                                              .A*-
             Number of Sessions per User           Pageviews                    Pages / Session

             1.51                                  2,014,486                    4.18
                                                                  .—A*-                     ........ .f--
             Avg. Session Duration                 Bounce Rate

             00:03:01                              54.01%                   i

                              ...........



                       Language                                                                                                         Users    % Users

                                                                                There Is no data for this view.




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                         Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 146 of 190
             |                   .        Infowars Store
         •II Analytics                         vyeb site Data                                                                                     Go to report 153


        Audience Overview


              o          All Users
                         •100.00% Users
                                                                                                                                   Jan 1,2016-Dec 31, 2016


        j Overview




         # Users
          150,000


          100,000



          50,000



                                      March>0l6                 May 2016              July 2016       er2Q16



                                                                                                          ■ New Visitor         9. Returning Visitor
          Users                                   New Users                Sessions

          2,653,423                               2,605,128                5,112,772
                                                                             i                    x
                                                                                                               A
                                                                                                               30.714
                                                                                                                                                  i
          Number of Sessions per User             Pageviews                Pages / Session

          1.93                                     34,287,444              6.71                                                             60,


                                                       X                                                       1                                  f
         Avg. Session Duration                    Bounce Rate

          00:03:48                                29.52%
          <*!f^




                    Language                                                                                        Users        % Users
              1. etvus                                                                                             89,342                             83.60%

                  2. c                                                                                              8.158        | 7.63%

              3. en-gb                                                                                              3,913        | 3.66%

              4. en-ca                                                                                                  1,855    I 1.74%

              5. en-au                                                                                                   792     I 0.74%

              6. nl                                                                                                      216     I 0.20%

              7, de                                                                                                      215     I 0.20%

              8. en                                                                                                      168     I 0.16%

              9. sv-se                                                                                                   163     1 0.15%

              10.fr                                                                                                      144     I 0.13%




                                                                                  © 2019 Google
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              i                  .      Infowars Store
        #11 Analytics an Web Site Data                                                                                     Go to report (3

        Audience Overview

              o         All Users
                        100.00% Users
                                                                                                                   Jan 1,2017-Dec 31,2017



        r~............ ""j
        \ Overview \




          # Users
           40,000



           h:20.000
                 •
          I                                                                                                  ; .... .



                                                                                            ■ New Visitor    ■ Returning Visitor
          Users                                 New Users            Sessions

          3,132,247                              3,057,641           7,531,369
                                                         J-

          Number of Sessions per User j Pageviews                    Pages / Session

          2.40                                   34,282,728          4.55
                                                 uu,Jk   X     JO.


          Avg. Session Duration                  Bounce Rate

          00:03:42                              48.64%



                      Language                                                                       Users      % Users
               1. en-us                                                                          2,780.017                    88.50%
              2. rn-(ji)                                                                          123,241      | 3.92%
               3. en-ca                                                                             58,528      | 1.85%
              4. en-au                                                                              23,738      | 0.76%
              5. o                                                                                  21,569      | 0.69%
               6. es-419                                                                            10,074      ) 0.32%
               7. en                                                                                 9,623      | 0.31%
              8. es                                                                                  9,140      | 0.29%
              9. de                                                                                  8,876      [ 0.28%
               10. pt-br                                                                             8,249      | 0.26%




                                                                            © 2019 Google
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                               #     Itifowars Store
         •li Analytics                                  s;te Data                                                                   Go to report B

        Audience Overview


            o        All Users
                     100.00% Users
                                                                                                                         Jan 1,2018-Dec 31,2018


         Overview




         * Users
          40,000




         20.000
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                                                        J'^r
                                   March 2018                                  July 2018   September 2018           November 2018


                                                                                                       ■ New Visitor U Returning Visitor
          Users                                 New Users           Sessions

          2,319,702                             2,249,348           5,887,859
                                                               X

         Number of Sessions per User            Pageviews           Pages / Session

          2.54                                  27,081,597          4.60
                        v,:'
                                                        k

         Avg. Session Duration                  Bounce Rate
                                            I
          00:03:37                          i
                                                46.86%
                                   *T"C*?*V i   —*■—.




                   Language                                                                                    Users    % Users
            1. en-us                                                                                        2,100,574                  90.19%
            2. en-gb                                                                                           77,136   | 3.31%
            3. en-ca                                                                                           45,789   | 197%
            4. en-au                                                                                           18,442   | 0 79%
            5. de-cie                                                                                           7,040   | 0.30%
            6. en                                                                                               6,950   | 0.30%
            7. sv-se                                                                                            4,642   | 0.20%
            8. nl-nl                                                                                            4,504   | 0.19%
            9. pt-ijr                                                                                           4,120   | 0.18%
            10. es-es                                                                                           3,912   | 0.17%




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           |                  ,      Infowars Shop
        ,|| Analytics                ah yyek site          Data                                                                                          Go to report 13


        Audience Overview


           o         All Users
                     '10000% Users
                                                                                                                                             Jan 1,2014-Dec31, 2014




         Overview j




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         6,002


                                  March 201^                 May 2014                July 2014              September 2014              November 2014


                                                                                                                             There is no data for this view.
         Users                                 New Users                  Sessions

         1,402,377                             1,401,792                  2,097,803
                                  __                                ..

         Number of Sessions per User           Pageviews                  Pages / Session

         1.50                                  7,594,153                  3.62
                                  -SUe.                           ___ _                              .Lj
         Avg. Session Duration                 Bounce Rate

         00:03:28                              48.60%
                                               f



                   Language                                                                                                       Users    % Users
                                                                          There is no data for this view.




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            a                 .        StDre.lntowars.com
           •11 Analytics                   v\/eb             Data                                                                                          Go to report a


        Audience Overview


             o        All Users
                      10U.00% Users
                                                                                                                                              Jan 1,2014-Dec 31,2014


        > Overview !
       J


           • Users
           20,000




           10,000




                                  March 2014                     May 2014              July 2014              September 2014              November 2014


                                                                                                                               There is no data for this view.
           Users                               New Users                    Sessions

           638,543                             633,189                      1,227,787

           Number of Sessions per User | Pageviews                          Pages / Session

           1.92                                8,610,108                    7.01
                    ____                                    ..... ..                                  4^




           Avg. Session Duration               Bounce Rate

           00:03:20                            14.19%


                    Service Provider                                                                                                Users    % Users
                                                                            There Is no data for this view.




                                                                                     © 2019 Google
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           g                          Store.mfowars.com
         .11 Analytics A|| Web Site Data                                                                                                                   Go to report B


        Audience Overview

            o         All Users
                      100.00% Users
                                                                                                                                               Jan 1,2015-Dec 31,2015


        | Overview



            Users
          1,000,000




          500,000




                                 March 2015                  May 2015                  July 2015              September 2015              November 2015


                                                                                                                               There is no data for this view.
         Users                                New Users                 i Sessions

         12,427,399                           12,366,595                i   31,089,027
                                                            ___ ___ _                                 __

         Number of Sessions per User          Pageviews                     Pages / Session

         2.50                                 82,033,098                    2.64
          -Trr


         Avg. Session Duration                Bounce Rate

         00:02:52                             59.53%
                                              -4                n__„

                 Service Provider                                                                                                   Users    % Users
                                                                            There Is no data for this view.




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             «                  _        Store.intowars.com
           •ll Analytics /^u y\/eb Site Data                                                                                                                       Go to report ®


        Audience Overview

                                                                                                                                                       Jan 1,2016-Dec 31,2016
              O         All Users
                        '100.00% Users


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           Overview |
       j




           * Users
            15,000



            10,000


           5,000



                                     March 2016                  May 2016                  July 2016                   September 2016              November 2016



                                                                                                                                   K New Visitor    ■ Returning Visitor
           Users                                  New Users                     Sessions

           1,238,750                              1,186,990                     2,064,364
                                                   *V»**«M*’                                  •***A,p*-*H**.>iuk+J*r
                                                                AW




           Number of Sessions per User i Pageviews                              Pages / Session

           1.67                                   15,840,378                    7.67
                                                      1         ■Jk                A—-        -»*

           Avg. Session Duration                  Bounce Rate
                                                                            I
           00:03:48                               0.67%
                                                  1__


                     Service Provider                                                                                                      Users     % Users
              1. (not set)                                                                                                                  8,370            35.31%

              2. time Warner cable internet He                                                                                              1,14B    | 4.84%

              3. at&t mobility He                                                                                                           1,118    | 4,72%

              4. charier communications                                                                                                      855        3.61%
              5. mci communicetions services Inc. d/b/a verizon business                                                                     591     I 2.49%

              6. qwest communications company lie                                                                                            464     | 1.96%

              7.     at&l internet services                                                                                                  453     1 1,91%

              8      cellco partnership dba verizon wireless                                                                                 3B9     I 1.64%

              9. comcasl ip services 1.1 c.                                                                                                  376     I 1.59%

              10. service provider corporation                                                                                               360 | 1.52%




                                                                                         © 2019 Google
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             a                            Store.ihlowars.com
            •11 Analytics                     Web Site Data                                                                                              Go to report a


        Audience Overview
        r
                                                                                                                                             Jan 1,2017-Dec 31,2017
              O         All Users
                        •100.01)% Users
                                                                           J
            Overview
       J


            • Users
            10,000




            ^VvvaJU
                                     March 2017                      May 2017                  July 2017   SeplembarJOl?                 November 2017


                                                                                                                           New Visitor    Kl Returning Visitor
            Users                                 New Users                         Sessions

            573,653                                565,648                          887,608
            i~ji                                   y-—ui

            Number of Sessions per User           Pageviews                         Pages / Session

            1.55                                   6,634,137                    I   7.47
                 “r>r



            Avg. Session Duration                 Bounce Rate

            00:03:26                              0.24%
                                                   >kU>v       jt.




                     Service Provider                                                                                            Users      % Users
               1. (not set)                                                                                                      96,570            34 01%
                 2. time wamer cable internet lie                                                                                11,541     | 4.07%

               3. at&l mobility lie                                                                                               9,652       3.40%

               4. charier communications                                                                                          7,875     I 2.77%

                 5. mci communications services inc. d/b/a verbon business                                                        6,623     I 2.33%

                 6. qwest communications company lie                                                                              4,644     I 1.64%

              7. Comcast ip services t.I.c.                                                                                       3,696     I 1.30%

                 8. al&t Internet services                                                                                        3,525     I 1.24%
               9. Comcast cable communications inc.                                                                               3,500     I 1.23%

               10. cellco paitnershlp dba Verizon wireless                                                                        3,395     I 1.20%




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              m                  ,        Store.infowars.com
:
            #|S        Analytics               Web Site Data                                                                                     Go to report 12

           Audience Overview

                                                                                                                                     Jan 1,2018-Dec 31,2018
               O         All Users
                         i arum users

           r Overview 'I



             ♦ Users
             3,000


             2,000


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                                     March 2010                 May 2018                July 2018    September 2010              November 2018


                                                                                                                 ■ New Visitor    ■ Returning Visitor
             Users                                New Users                  Sessions

             219,487                              213,073                    326,323
                                                                A.

             Number of Sessions per User          Pageviews                  Pages / Session

             1.49                                 2,161,727                  6.62

             Avg. Session Duration                Bounce Rate

             00:02:57                             0.30%


                       Service Provider                                                                                   Users     % Users
                1. (not set)                                                                                             22,232     B 19 19%

                2. hughes network systems                                                                                 4,991     I 3.88%
                3. time warner cable internet lie                                                                         4,443     I 3.84%
                4. cellco partnership dba verizon wireless                                                                4.288     I 3.70%

                5. Comcast cable communications lie                                                                       3,136     I 2.71%

                6. at&t mobility lie                                                                                      2,397     1 2.07%

                7. charter communications                                                                                 2,357     I 2.03%

                8. t-mobile usa Inc.                                                                                      2,351     I 2.03%

                9. mol communications services ino. d/b/a verizon business                                                2,031     I 1.75%
                10. shaw communications ino.                                                                              1,842     I 1.59%




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                             ni-i}/,/; pr

 .11 Analytics prisonplanet.tv                                                 Go to report                                                      12


 oidience Overview

    o        All Users
             100.00% Users
                                                                                                                              Jan 1,2012- Dec 31,2012


 Overview     i




  • Users
  20,000




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                         March 2012                        May 2012              July 2012   September 2012              November 2012



                                                                                                              There is no data for this view.
 Users                                      New Users                 Sessions

  1,764,974                                 1,732,093                 5,786,016

 Number of Sessions per User                Pageviews

 3.28                                       9,879,368
                                                   tr‘.r

                                       i

 Avg. Session Duration                      Bounce Rate

 00:01:47                                   57.38%


                                                                                             j^oM'
           Language                                                                                                         % Users
                                                                      IT




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 » || Analytics prisonplanet.tv                                                 Go to report                                                             0


  audience Overview


    o        All Users
             100.00% Users                                    !
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                        March 2013                 May 2013                  July 2013              September 2013              November 2013



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  Users                              New Users                    Sessions

  1,920,622                          1,865,236                    7,064,061

  Number of Sessions per User        Pageviews                    Pages / Session

  3.68                               22,317,587                   3.16

 Avg. Session Duration               Bounce Rate

  00:03:30                           30.19%
                                           MimihWWrwWi




           Language                                                                                                       Users    % Users
                                                                  There Is no data for this view.




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  ill Analytics prisonplanettv                                                  Go to report                                                                                                      13

  Ludience Overview


     o        All Users
              100.011% Users
                                                                                                                                                                                Jan 1,2014-Dec 31,2014


  Overview




  • Users
   20,000



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   y>.oc6



                          March 2014                 May 2014                July 2014                                                         September 2014              November 2014



                                                                                                                                                                There is no data for this view.
  Users                                New Users                  Sessions

  1,127,638                            1,071,115                  3,569,978

  Number of Sessions per User          Pageviews                  Pages / Session

  3.17                                 11,021,098                 3.09
                               ±~r-    WwfrmliWt,»w»irre^ _____              .    ....... ................................... ’   ''^i:1   '




  Avg. Session Duration                Bounce Rate

  00:03:11                             30.58%


            Language                                                                                                                                                 Users    % Users
                                                                  There is no data for this view.




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 ill Analytics ^|| yyeb gjte Data                                                                                                                                                             Go to report K


 audience Overview


    o        All Users
             "i 00.00% Users
                                                                                                                                                                                  Jan 1,2014-Dec 31,2014




 Overview




 • Users
  20,000




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                          March 2014                                May 2014                                              July 2014              September 2014              November 2014



                                                                                                                                                                  There is no data for this view.
 Users                                  New Users                                   Sessions

 478,463                                478,244                                     1,533,631
                                    \   ___ T..rr.r~. „ ..   -mil   u                 ....... ............................................




 Number of Sessions per User            Pageviews                                   Pages / Session

 3.21                                   4,642,383                                   3.03
                                                                        jWtotelmi   _                                                        r
 Avg. Session Duration                  Bounce Rate

 00:02:44                               31.90%


           Language                                                                                                                                                    users    % Users
                                                                                    There is no data for this view.




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      .11 Analytics All Web Site Data                                                                                                                 Go to report ^


I     aidience Overview


        o        All Users
                 100.00% Users
                                                                                                                                         Jan 1,2015-Dec 31,2015



      Overview




      # Users
      15,000




                             March 2015                 May 2015                  July 2015              September 2015             November 2015



                                                                                                                          There is no data for this view.
      Users                               New Users                    Sessions
                                                                   .
      1,084,793                           1,058,039                    3,570,065

      Number of Sessions per User         Pageviews                    Pages ! Session

      3.29                                10,779,174                   3.02
                                                                                              4*
      ---------------- -- ---------

      Avg. Session Duration               Bounce Rate

      00:02:36                            31.81%



               Language                                                                                                        Users    % Users
                                                                       There is no data for this view.




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 M Analytics All Web Site Data                                                                                                          Go to report 13


 ludience Overview


     o        All Users
              100.00% Users
                                                                                                                            Jan 1,2016-Dec 31,2016



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 • Users
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  10,000


 15,000


                          March 2015                   May 2016              July 2016   September 2016              November 2016


                                                                                                     ■ New Visitor       ■ Returning Visitor
  Users                                  New Users                Sessions

  926,919                                 898,954                 2,944,151
                                                        «»#
                                                                                                          A
                                                                                                          37.0%

  Number of Sessions per User j Pageviews                         Pages / Session

  3.18                                 I 8,423,176                2.86                                                              «,sv..
                      '“""'“"“"T'1 i                                                                      t                             f
  Avg, Session Duration                  Bounce Rate

  00:02:18                               35.69%


           Language                                                                                           Users       % Users
      1. en-us                                                                                                25,923                         88.41%

     2. en-gb                                                                                                  1,257      | 4.29%
     3. en-ca                                                                                                     552     | 1.88%
     4. en-au                                                                                                     206     | 0.70%
      5. en                                                                                                        94     j 0.32%
     6. de                                                                                                         89     | 0.30%
     7. c                                                                                                          86     | 0.29%
     8. fr                                                                                                           3    | 0.25%
     9. nl-nl                                                                                                        6    | 0.23%
     10. nl                                                                                                          9    ] 0.20%




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       l! Analytics ^|j    gjte                                                     Go to report                                                              ®
!
1     Ludience Overview


         o
                                                                           "i
                  All Users                                                                                                            Jan 1,2017-Dec 31,2017
                   100.00% Users



      Overview




      • Users
       10,000




      j^opo.
        V
                              March 2017                            May 2017               July 2017   September 2017              November 2017



                                                                                                                   H New Visitor    ■ Returning Visitor
      Users                                       New Users                     Sessions

      506,221                                    490,104                        1,651,783

      Number of Sessions per User                 Pageviews                     Pages / Session

      3.26                                        4,764,686                     2.88

      Avg. Session Duration                       Bounce Rate

      00:02:24                                    35.25%
      •*—*» •i:   r-*»(1*^**Ar*v*»^




                Language                                                                                                   Users      % Users
         1. en-us                                                                                                        449,908                     88.66%

         2. en-gb                                                                                                          21,075    | 4.15%

         3. en-ca                                                                                                           9,808     j 1.93%

         4. en-au                                                                                                           3,555    | 0.70%

         5. en                                                                                                              1,703    | 0.34%

         6. fr                                                                                                              1,598    | 0.31%

         7. c                                                                                                               1,523     j 0.30%

         8. zh-cn                                                                                                           1,291    [ 0.25%

         9. de                                                                                                              1,224     | 0.24%

         10. pt-br                                                                                                           966     | 0.19%




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                        Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 162 of 190
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 .If Analytics All Web Site Data                                                                                                          Go to report 1:3

 kudience Overview

    o       All Users
            100.00% Users
                                                             i                                                               Jan 1,2018-Dec 31,2018



 Overview



 • Users
  6,000



  4,000



  2.M0'



                         March 2018                   May 2018                  July 2018   September 2018               November 2018



                                                                                                        * New Visitor     ■ Returning Visitor
 Users                                  New Users                    Sessions
 287,199                                276,141                      918,042                                   A
                                                                                                                 1S/'*




 Number of Sessions per User            Pageviews                | Pages / Session
                                                                 i
 3.20                                   2,722,174                    2.97
                                                                                                                                  1.13%
                                                                                                                                      v
 Avg. Session Duration                  Bounce Rate

 00:02:38                               36.35%



          Language                                                                                              Users       % Users
    1. en-us                                                                                                  261,387                        90.59%
    2. en-gb                                                                                                     8,739     | 3.03%
    3. en-ca                                                                                                     5,103     | 1.77%
    4, en-au                                                                                                     1,996     | 0.69%
    5. c                                                                                                           ,227    | 0.43%
    6. de-de                                                                                                       791     | 0.27%
    7. nl-hl                                                                                                       636     j 0.22%
    8. fr                                                                                                          635     j 0.22%
    9. pt-br                                                                                                       620     | 0.21%
    10. zlv-cn                                                                                                     606     | 0.21%




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                         Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 163 of 190
 ,11 Analytics infowarshealth.com                                                                                                           Go to report ^

 Ludience Overview


    o       AH Users
            ‘'00.00% Users
                                                                                                                                Jan 1,2012-Dec 31,2012



 Overview




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 Users
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 Number of Sessions per User

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          Language                                                                                                   Users    % Users
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                     Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 164 of 190
 .l! Analytics infowarshealth.com                                                                                                           Go to report B


 audience Overview
                                                         ;
    o       All Users
            100.00% Useis
                                                         i
                                                                                                                                Jan 1,2013-Dec 31,2013




 Overview




 • Users
  2,000




  1,000


                 w     March 2013                 May 2013              July 2013              September 2013              November 2013



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 Users                              New Users                Sessions

  135,193                           133,084                  182,012

  Numberof Sessions per User i Pageviews                     Pages / Session

  1.35                              256,625                  1.41    V*«




 Avg. Session Duration              Bounce Rate

  00:01:35                          75.49%
                                                       rw-




          Language                                                                                                   Users    % Users
                                                             There is no data for this view.




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  i II Analytics infowarshealth.com                                             Go to report                                                                     B


 ludience Overview


    o         All Users
              100.00% Users
                                                                                                                                               Jan 1,2014-Dec 31,2014


  Overview



  • Users
  1,000




  500




                         March 2014                          May 2014                  July 2014              September 2014              November 2014



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  Users                                        New Users                    Sessions

  57,814                                       55,127                       75,585

  Number of Sessions per User                  Pageviews                    Pages / Session
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  1.31                        i „;*■>«.wWii
                                               105,682                      1.40
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  Avg. Session Duration                        Bounce Rate

  00:01:25                                     75.07%


          Language                                                                                                                  Users    % Users
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  .11 Analytics infowarshealth.com                                                                                                                              Go to report 12


  Ludience Overview


    o        All Users
             100.00% Users
                                                                         i                                                                          Jan 1,2015-Dec 31,2015




  Overview




  e Users
  1,000




  500




                        March 2015                            May 2015                  July 2015                  September 2015              November 2015



                                                                                                                                    There is no data for this view.
  Users                               j New Users                            Sessions

  44,152                              I 42,868                               58,145
                                      i

  Number of Sessions per User              Pageviews                         Pages / Session

  1.32                                     84,199                            1.45
                                           i.        L               -t


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 Avg. Session Duration                     Bounce Rate

  00:01:39                                 73.93%


          Language                                                                                                                       Users    % Users
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  if Analytics infowarshealth.com                                                                                                           Go to report ^

  mdience Overview

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    o         Ail Users
              100.00% Users
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                                                                                                                               Jan 1,2016-Dec31,2016




  Overview



  • Users
  600


  400




                          March 2016                           May 2016                  July 2016   September 2016       November 2016


                                                                                                                      M New Visitor
  Users                            | New Users                                Sessions

  25,260                           i 24,727                                   33,387
                                   '

  Number of Sessions per User            Pageviews                            Pages / Session

  1.32                                    197,181..                           5.91
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  Avg. Session Duration                  Bounce Rate

  00:03:09                               24.73%
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          Language                                                                                                    Users   % Users
      1. ru                                                                                                              13                  76.47%

      2. nr-ru                                                                                                           4         23.53%




                                                                                     © 2019 Google
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  wdience Overview


        o       All Users
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  Overview |



  • Users
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                              March 2017                        May 2017                     July 2017   September 2017               November 2017


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  Users                                      New Users                            Sessions

  220                                        218                                  247
                                                                            ...              X;

  Number of Sessions per User                Pageviews                            Pages / Session

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  Avg. Session Duration                      Bounce Rate

  00:00:10                                   97.17%
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           Language                                                                                                            Users       % Users
        1. ru                                                                                                                   160                       72.73%

        2. ru-ru                                                                                                                  55             25.00%

        3. en-ue                                                                                                                      3    j 1.36%

        4. c                                                                                                                          1    | 0.45%

        5. zb-cn                                                                                                                      1 ' | 0.45%




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: (|f Analytics infowarshealth.com                                                                                                 Go to report E

  audience Overview



      o       All Users
              100.00% Users                                 ;
                                                                                                                         Jan 1,2018-Dec 31,2018


  Overview



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                          March 2018                 May 2018                  July 2018      September 2018       November 2018


                                                                                                               K New Visitor
  Users                                New Users                    Sessions
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  Number of Sessions per User          Pageviews                    Pages/Session                                      1*1%



  1.00                                 3                            1.50
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           Language                                                                                            Users   % Users
        1. en-us                                                                                                  2                    100.00%




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               August 16. 2018




               VIA FEDEX

                Philipp Schindler
                Senior Vice President
                Google LLC
                1600 Amphitheatre Parkway
                Mountain View, CA 94043


                Dear Mr. Schindler:

                We represent Free Speech Systems. LLC (“Free Speech”) in certain federal court matters, Free
                Speech has forwarded to us your letter of August 9, 2018 regarding notice of termination of a
                Content Hosting Services Agreement ("CHSA”), dated December 12. 2013 and as amended on
                July 24. 2015. In accordance with its obligations in the court cases referenced above (as well as
                other litigated matters), Free Speech is required to preserve evidence including documents and
                videos posted pursuant to the CHS A.

                It is not clear from your letter the specific grounds upon which Google is relying to terminate the
                CHSA. It is also not clear what is meant by your statement that “your Content Owner will be
                dissolved, but any active channels within that Content Owner and any live videos on those
                channels will remain,” Please clarify what you mean by this statement and send us a copy of the
                CHSA, including all amendments, and any other documents that define “Content Owner” as
                referenced in the statement above.

                Further, in light of its preservation obligations, Free Speech asks that Google refrain from
                deleting, destroying, dissolving, or otherwise rendering inoperable any videos or other
                documents posted by Free Speech or Alex Jones (or others at their direction) until Free Speech
                has retrieved all of the materials. We understand that Free Speech is currently unable to access
                these materials because its account is frozen.

                 You can email a copy of the CHSA to me at                             L Please do so as soon as
                 possible.


                                                                                                                      exhibit
                                                                                                                       m
                                                                                                                       ■
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               August !6, 2018
               Page 2


               Thank you for your attention to this matter and please feel
                                                                           free to contact me if you have any
               questions or would like to discuss further.

               Sincerely,
                      //.■/




                Tinner
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                     -'.X1   'W         3


                August S, 2018
                                                                                               Via Federal Express and Email
                Google LLC
                1600 Amphitheatre Parkway
                Mountain View. CA 94043

                Attn: Alex Jones and Buckley Hamman
                Free Speech Systems. LLC (“Partner”)
                3019 Alvin DeVane Blvd Suite 350
                Austin Texas 78741
                  ?'4mstaMlIg@araa!.l.sam. »xifl>;te/@i.nfQwar6 com
                Attention: Legal Department
                Ro: Termination ol Content Agreements

                Dear Sir

                We write on behalf of Google LLC f/Wa Google
                                                                Inc. ('Google') to inform you that we are exerc
                contractual rights to terminate the Content Hosti                                               ising our
                                                                  ng Services Agreement (‘‘CHSA"), dated Dece
                and as amended on July 24, 2015. This letter                                                    mber 12, 2013.
                                                              serves as written notice that Google is exercising
                terminate the CHSA on 30 days prior written notice                                                its right to
                                                                     under section 11.2.
                Accordingly, the CHSA will be terminated as of
                                                                September 10, 2018. The Sections that are descr
                surviving in the CHSA will survive termination.                                                    ibed as
                                                                Upon termination, your Content Owner will be
                active channels within that Content Owner and                                                  dissolved but any
                                                                any live videos on those channels will remain.

                This notice is not a waiver of any claims or defen
                                                                   ses available to Google, including those set forth
                agreements                                                                                            under the

                Signed by an authorized representative of Goog
                                                               le:

                By

                Name:                                         2018.08.10
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                                                              07:08:00 -Oy'OO’
                 Date




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                                                This is Exhibit “C” referred to in the
                                       Affidavit of Jordan Campbell sworn before me,
                                                     this 23rd day of August, 2021.

                                        DocuSigned by:



                                    ^AaCOMWHSSIONER FOR TAKING AFFIDAVITS
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                                                                                          Jay Marshall Wolman, JD
                                                                                       Licensed in CT, MA, NY, DC




                                                                                                  24 June 2021

                 Via Email Only

                 Christopher Mattei
                 <cmattei@koskoff.com>

                 Matthew Blumenthal
                 <mblumenthal@koskoff.com>

                 Alinor Sterling
                 <asterling@koskoff.com>


                         Re:      June 28, 2021 | Deadline for Production of Google Analytics

                 Dear Counsel,

                 As discussed today, and as you are aware, the deadline for production of the Google
                 Analytics is on June 28, 2021. The full dataset cannot be produced as an export, which
                 thus means the only method of production is by live access to the dataset for your
                 inspection. And, the Court previously declined to order us to provide you with a log-in. As
                 a result, the only method for your inspection is the sandbox approach referenced during
                 today's deposition. I recall previously making this offer to you, either during a telephone
                 conversation or during the June 2 hearing (the transcript of which we are requesting to
                 verify), but was not memorialized in writing and which Attorney Mattei did not recollect.

                 This method of inspection is akin to traditional paper discovery, where the requesting party
                 is let into the storeroom of documents organized as kept in the ordinary course of business.
                 You will have full liberty to run whatever searches Google Analytics permits and have full
                 access to inspect the dataset. We envision two possible ways for this sandbox approach-
                 -we can provide you with a TeamViewer access to a Free Speech Systems computer
                 connected to the Google Analytics or we can meet you at an agreed-upon location with
                 a clean, new computer, where we will log-in the computer during the period of your
                 inspection.

                 //

                 //

                 //

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                                    100 Pearl Street, 14th Floor, Hartford, Connecticut 06103
                                               jmw@randazza.com | 702.420.2001
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                Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 175 of 190
                 Randazza Legal Group
                 Page 2 of 2




                 Let us know which approach you prefer so that we can know if we are to meet up with
                 you on or before the 28th.

                 Thank you for your attention to this matter.

                                                                Sincerely,



                                                                Jay M. Wolman
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                                               This is Exhibit “D” referred to in the
                                       Affidavit of Jordan Campbell sworn before me,
                                                     this 23rd day of August, 2021.

                                        DocuSigned by:



                                    'sACQMWU&SIONER FOR TAKING AFFIDAVITS
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                                                                                          Jay Marshall Wolman, JD
                                                                                       Licensed in CT, MA, NY, DC




                                                                                                  25 June 2021

                 Via Email Only

                 Christopher Mattei
                 <cmattei@koskoff.com>

                         Re:      Lafferty v. Jones | Google Analytics

                 Dear Attorney Mattei:

                 To be clear, there is no inconsistency. As set forth on June 2, to export the raw data, one
                 must be an Analytics 360 member, i.e. a premium member. Free Speech Systems is not an
                 Analytics 360 member, therefore it is impossible for it to export the data. As further offered
                 on June 2, if Plaintiffs wish to make Free Speech Systems an Analytics 360 member, they
                 have been welcome to do so. This offer was made on the record. Plaintiffs have declined
                 this manner of production so far.



                                                                Sincerely,



                                                                Jay M. Wolman



                 cc:     mblumenthal@koskoff.com, asterling@koskoff.com




                                    100 Pearl Street, 14th Floor, Hartford, Connecticut 06103
                                               jmw@randazza.com | 702.420.2001
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                                               This is Exhibit “E” referred to in the
                                       Affidavit of Jordan Campbell sworn before me
                                                    this 23rd day of August, 2021.

                                        DocuSigned by:



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      Jordan Campbell
      275 Callaway Road, Unit 80  London, Ontario CANADA N6G 0N8
      Phone: (1) 416-500-2105  E-Mail: goodsoupmedia@gmail.com




     Experience

     Digital Marketing Consultant                                          2017 - Present
     Good Soup Media – London, Canada

     Development and implementation of online marketing strategies for companies across North America including the use of Google
     Search and Display Ads, LinkedIn Sponsored Content and Sponsored Messaging Ads, Google Analytics tracking, Facebook Advertising
     and Email Campaign Planning & Distribution. Providing website design and website analysis services.

         •    Designing unique and custom-made online marketing strategies for clients
         •    Set-up and install appropriate website-based tracking tags for Google Analytics and ads purposes
         •    Detailed weekly reporting on campaign results and impact on website/landing page traffic


     Education

     Digital Social Media Consulting Course (DSMC)
     Tai Lopez Knowledge Society - Online                                  2019
     Focus on the latest software developments for streamlining workflows and developing the most up to date advertising
     strategies. Strategic planning for ad campaign design and metrics reporting.

     Social Media Master Plan Seminar
     Tai Lopez Knowledge Society - Seminar                              2018
     In person intensive course designed to provide the latest and hands on experience in working with all online advertising
     platforms and data tracking/analysis programs (including Google, Facebook, Instagram, Snapchat, Twitter etc.) Detailed one-
     on-one coaching from professional online marketers.

     Social Media Marketing Agency (SMMA)
     Tai Lopez Knowledge Society - Online                                  2016-2017
     Had the opportunity to learn some of the most cutting-edge sales strategies and online marketing techniques based on the
     latest cognitive research and software tools available from one of the most successful online marketers of the last decade, Tai
     Lopez.


     Skills

 •    Google Analytics
 •    Google Ads
 •    LinkedIn Advertising
 •    Facebook Business Manager
 •    Website Design
 •    Email Marketing
 •    Social Media Content Development
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                EXHIBIT J
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                                                         THE
                                                         THE ALEX JONES RADIO SHOW
                                                         LISTEN NOWWATCH NOW




RADIO SHOWNEWSVIDEOSSTORE
BREAKING NEWSCONTACT                                           WATCH LIVE

                   BREAKING                      STORE
         Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 182 of 190



GOOGLE’S ANALYTICS PROVE INFOWARS HAS NO SANDY HOOK MARKETING
Specialist destroys MSM agenda
The Alex Jones Show - JUNE 12, 2019




                                                                   IMAGE CREDITS: TSTOKES / PIXABAY.

 Michael Zimmerman joins Alex Jones live in-studio to show and prove how,
 contrary to Democrat attorneys and judges, Infowars has no alleged ‘Sandy Hook
 marketing’ and makes no money from Sandy Hook video views, which happen to
 be less than 1% of all views.
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Don’t miss:

        Fake News Exploits Generational Tech Gap To Smear Alex Jones




Many of America’s governmental representatives are not familiar with how modern
social media and Big Tech algorithms actually work. Alex exposes how fake news
can be used to smear him and other patriots because of the generational technology
gap.
Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 184 of 190

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  UP TO 75% OFF DOZENS
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                            news alerts.


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THE IMPEACHMENT AND GUN CONFISCATION FANTASY MUST END
          Case 22-33553 Document 278-14 Filed in TXSB on 05/12/23 Page 186 of 190
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       Last Name
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to a state of healthy relaxation. The perfect pair with Brain Force or Turbo Force for “calm and clear” energy.
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  Cory Booker
  Elizabeth Warren
  Joe Biden
  Amy Klobuchar
  Julian Castro
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Julian Castro
Bernie Sanders
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